Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 1 of 156



              IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                              PALM BEACH COUNTY, FLORIDA

                                                         GENERAL JURISDICTION                    DIVISION
                                                         CASE NO.:

   KDH ARCHITECTURE INC.
   a/a/o 921 EVERGREEN DRIVE
   AND 730 WHITEMORE, LLC,

          Plaintiff,

   vs.

   WESTERN WORLD INSURANCE
   COMPANY,

          Defendant.
                                                         /

                         COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff, KDH Architecture Inc. a/a/o 921 Evergreen Drive and 730 Whitemore, LLC, by

   and through the undersigned attorney, sues the Defendant, Western World Insurance Company,

   and alleges as follows:

                                     GENERAL ALLEGATIONS

          1.      This is an action for damages for greater than $15,000.00, exclusive of interest,

   costs, and attorney’s fees.

         2.       At all times material hereto, Plaintiff was and is a Florida corporation with principal

   place of business in PALM BEACH County, Florida.

          3.      At all times material hereto, Western World Insurance Company was and is a

   corporation duly licensed to transact business in the State of Florida and does business, has offices,

   and/or maintains agents for the transaction of its customary business in PALM BEACH County,

   Florida.




                                                                                               ILG File #: 11984
                                                                                                 Claim #: 137081
                                                                           Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 2 of 156



          4.      At all material times hereto, Insured (“Insured/Assignor”) owned the property

   insured by Defendant located at 921 Evergreen Drive, Lake Park , Florida 33403 (the “Property”).

          5.      The policy of insurance written and issued by Defendant, Western World Insurance

   Company, was issued to the insured in PALM BEACH County, Florida.

          6.      Jurisdiction and venue are proper in PALM BEACH County, Florida.

          7.      In consideration for the premiums paid to it, prior to December 15, 2017, Defendant

   issued an insurance policy, number NPP8357671, to the Insured for the Insured’s property located

   at 921 Evergreen Drive, Lake Park , Florida 33403 in PALM BEACH County, Florida (the

   “Policy”). A true and correct copy of the Policy is not in the possession of Plaintiff, but is in the

   care, custody, and control of Defendant. The Policy will be produced during discovery and will

   be filed by Plaintiff after receipt from the Defendant.

          8.      Defendant’s Policy is an “all risk” policy that covers all direct physical losses to

   the Property that are not otherwise expressly excluded.

          9.      The Policy issued by Defendant provided coverage for the dwelling and for

   architectural services necessary to restore the property to its pre-loss condition.

          10.     At all times material hereto, including on December 15, 2017, the date of loss, the

   Policy was in full force and effect.

          11.     All conditions precedent to obtaining payment of said benefits under the policy

   have been complied with, met, or waived.

                               COUNT I – BREACH OF CONTRACT

          12.     Plaintiff brings this action based upon an after-loss assignment of insurance

   proceeds by the Insured (“Insured/Assignor”) to the Plaintiff. See copy of the assignment attached

   hereto and incorporated herein as Exhibit “A.”




                                                                                                ILG File #: 11984
                                                                                                  Claim #: 137081
                                                                            Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 3 of 156



           13.     On or about December 15, 2017, Insured/Assignor’s property was damaged by a

   covered loss (the “Loss”).

           14.     Plaintiff and/or Insured/Assignor gave timely notice of the Loss and resulting

   damage to Defendant and/or its authorized agents, employees, or representatives.

           15.     Defendant responded to the Loss by assigning claim number 137081 (the “Claim”).

           16.     The property damage sustained on or about December 15, 2017 required

   architectural services in relation to all damaged building elements, including but not limited to

   structural, electrical, mechanical, and/or other damaged elements.

           17.     Plaintiff provided necessary architectural services for the Insured/Assignor’s

   Property in relation to all damaged building elements, including but not limited to structural,

   electrical, mechanical and/or other damaged elements, and in exchange, Insured/Assignor agreed

   to assign his/her right to be paid for the services rendered by Plaintiff in accordance with Plaintiff’s

   Invoice. See Exhibit “A.”

           18.     The Assignment was signed by the Insured(s), the spouse of the Insured, and/or a

   person authorized by the Insured(s) to sign the Assignment on the Insured’s behalf. See Exhibit

   “A.”

           19.     Insured/Assignor contracted with Plaintiff for Plaintiff to provide architectural

   services in relation to all damaged building elements, including but not limited to structural,

   electrical, mechanical and/or other damaged elements. See copy of Contract Agreement for

   Architectural Services, attached hereto and incorporated herein as Exhibit “B.”

           20.     Plaintiff’s architectural services are required by the Florida Building Code.

           21.     Plaintiff’s architectural services are covered under the subject policy in relation to

   the Loss.




                                                                                                 ILG File #: 11984
                                                                                                   Claim #: 137081
                                                                             Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 4 of 156



          22.     Plaintiff prepared and submitted to Defendant reasonably priced bills for the

   architectural services provided and/or for additional services to be provided, which are required

   by the Florida Building Code and necessary to restore the property to its pre-loss condition. See

   copy of the invoice attached hereto and incorporated herein as Exhibit “C.”

          23.     Defendant was afforded the opportunity to fully inspect the Loss, investigate the

   cause of the Loss, quantify the amount of the Loss, and evaluate Plaintiff’s Assignment of Benefits

   and Invoice.

          24.     Defendant did inspect the Loss and Property during its investigation of the

   Insured’s Loss and Plaintiff’s Invoice.

          25.     Defendant failed and/or refused to pay the full amount of Plaintiff’s Invoice.

          26.     Defendant breached the Policy by denying coverage for the Loss, and/or by failing

   and/or refusing to pay the full amount of Plaintiff’s invoice.

          27.     Plaintiff has been damaged as a result of the Defendant’s failure to pay the full

   amount of Plaintiff’s invoice and breach of the Policy.

          28.     As a direct and proximate result of Defendant’s conduct, Plaintiff has been

   obligated to retain the undersigned attorney to bring this action, and is entitled to a reasonable

   attorney’s fee pursuant to Section 627.428, Florida Statutes.

          29.     In the alternative, should this Court find the written assignment of benefits between

   Plaintiff, KDH Architecture Inc., and the named insured, 921 Evergreen Drive and 730

   Whitemore, LLC, to be invalid or unenforceable for any reason, it will be necessary for the Court

   to effectuate the parties’ (Plaintiff and named insured) plain intent and find that Plaintiff has

   standing by means of an equitable assignment to demand that Defendant pay for Plaintiff’s

   services.




                                                                                              ILG File #: 11984
                                                                                                Claim #: 137081
                                                                          Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 5 of 156



           WHEREFORE, Plaintiff sues Defendant for damages, together with interest, costs and

   attorney’s fees pursuant to Fla. Stat. Section 627.428, or in the alternative Fla. Stat. Section

   626.9373, or any other applicable attorney’s fees statute, and further demands trial by jury of all

   issues triable as of right.



                                           CERTIFICATE

   THIS COMPLAINT IS DATED and Signed this 5th day of August, 2019 and was filed by:

                                                 INSURANCE LITIGATION GROUP, P.A.
                                                 Attorney for Plaintiff
                                                 1500 N.E 162nd Street
                                                 Miami, Florida 33162
                                                 Telephone: (786) 529-0090
                                                 Facsimile: (866) 239-9520
                                                 E-Mail: service@ILGPA.COM

                                                 By:    /s/ Kimesha S. Smith_______
                                                        KIMESHA S. SMITH, ESQ.
                                                        FL Bar No. 116466




                                                                                             ILG File #: 11984
                                                                                               Claim #: 137081
                                                                         Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 6 of 156




                      EXHIBIT “A”
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 7 of 156
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 8 of 156




                       EXHIBIT “B”
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 9 of 156
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 10 of 156
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 11 of 156
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 12 of 156
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 13 of 156




          EXHIBIT “C”
 Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 14 of 156
                                           KDH Architecture, Inc.
                                                               AA 26002538
                                                        1440 Coral Ridge Drive
                                                     Coral Springs, Florida 33071
                                                          Phone:(954) 908-9100
                                                    Email: KDH@KDH--Architect.com


11/12/2018                                                   INVOICE # 1

730 Whitmore, LLC dba 921 Evergreen .LLC                                                            Assignment of Benefits - Architecture
921 Evergreen Drive                                                                                 Western World Insurance Co.
Lake Park, FL 33403                                                                                 Claim # 137081 - Date of Loss - 12/15/2017

PROFESSIONAL SERVICES FROM:                1/07/2018 to 11/2/2018
                                                                                                     % PHASE      WORK TO STILL BE
              CATEGORY                 DESCRIPTON
                                                                                                    COMPLETED       PERFORMED
             File Review               Review of Existing plans, Documents, etc.                           100%
         Client Consulation            Established project requirements w rep                              100%
                                       Photographs                                                         100%
          Site Inspections
                                       Damage Assessment - Portal to Portal                                100%
                                       Existing Condition(s) Determination                                 100%
             Start Design
                                       Floor Plan Creation                                                 100%
                                   County                                                                  100%
      Building Code Review
                                   State                                                                    90%
                                   Adjusters                                                                TBD        FWMR
                                   Client rep                                                               TBD        FWMR
    Consultations & Meetings       Engineer(s)                                                              TBD        FWMR
                                   Insurance Company Representatives                                        TBD        FWMR
                                   General Contractor &/or Suppliers                                        TBD        FWMR
                                   Building Department                                                      TBD        FWMR
                                   Title Sheet Plan                                                        100%
                                   Construction Safety, Phasing, Etc.                                      100%
       Preliminary Design          Demolition Plan                                                         100%
                                   Architectural Plans 1-8                                                 100%
                                   M+E+P Plans                                                             100%
                                   Consult & Advise on cost & scope                                         TBD        FWMR
   Construction Cost & Scope
    Analysis & Consultations       Review Estimate(s)                                                       TBD        FWMR
                                   Scope with Contractors                                                   TBD        FWMR
                                   Title Sheet Plan                                                          0%         Open
                                   Construction Safety, Phasing, Etc.                                       0%          Open
                                   Demolition Plan                                                          0%          Open
 Construction Documents (Sealed
                                   Architectural Plans 1-6                                                  0%          Open
            Drawings)
                                   Plumbing Plan                                                            0%          Open
                                   Mechanical Plan                                                          0%          Open
                                   Electricial Plan                                                         0%          Open
                                   Permit Narrative Responses                                               0%          Open
                                   Structural Certifications                                                0%          Open
Local Building Dept Requirments
                                   Submittal Requirements                                                   0%          Open
                                   Other Requeetsed Submissions                                             0%          Open
                                   Distribution of Construction Documents to Bidders
Bidding & Selection of Contractors                                                                                      Open
                                                                                                            0%
                                       Pre-bid meeting                                                      0%          Open
                                       Addressing bidders concerns                                          0%          Open
                                       Bid evaluation                                                       0%          Open
                                       Contract Award                                                       0%          Open
                                       Project coordination meeting                                         0%          Open
                                       Construction evaluation                                              0%          Open
   Construction Administration         Request for payment evaluation                                                   Open
                                                                                                            0%
                                       Subcontractors submittals evaluation                                 0%          Open
                                       Supplemental & clarification drawings                                0%          Open
                                       Corrective work list                                                 0%          Open
                                       Construction evaluation (corrective work)                            0%          Open
                                       Construction evaluation (final)                                      0%          Open

SUBTOTAL - FOR WORK PERFORMED TO DATE. FURTHER ARCHITECT WORK IS REQUIRED                                         $      68,545.00

REIMBURSABLE EXPENSES:
             DESCRIPTION                                                                               CHARGE         LINE TOTAL

Drawings, Blueprinting, Travel, etc.                                                                                      1,369.79

                                                                                                     SUBTOTAL     $       1,807.34

GRAND TOTAL THIS INVOICE                                                                                          $ 70,352.34

                               Please make checks payable to: KDH Architecture, Inc. and mail to:
                                                    1440 Coral Ridge Drive
                                                    Coral Springs, FL 33071

    This invoice is for the work shown, and may be modified in future invoices in accordance with the contract which states:
                   COMPENSATION          Will be based on the greater of ...percentage plus hourly ... or hourly
                                          TBD - To Be Determined       FWMR - Furhur Work Maybe Required
                                                                               *19-000210396*
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 15 of 156
                                                                                             *19-000210396*




KDH ARCHITECTURE INC., A/A/O 921                              CASE #:          50-2019-CA-010125-XXXX-MB
EVERGREEN DRIVE AND 730 WHITEMORE, LLC                        COURT:           CIRCUIT COURT
                                                              COUNTY:          PALM BEACH
PLAINTIFF(S)                                                  DFS-SOP #:       19-000210396

VS.

WESTERN WORLD INSURANCE COMPANY

DEFENDANT(S)
_______________________________________/
SUMMONS, COMPLAINT, DISCOVERY, X1-CIVIL COVER SHEET FORM 1.PDF.PDF, X3-KDH REQUESTS FOR
ADMISSION-DENIAL 1.PDF.PDF, X4-DESIGNATION OF EMAIL ADDRESS 1.PDF.PDF




                          NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on Thursday,
August 8, 2019 and a copy was forwarded by ELECTRONIC DELIVERY on Friday, August 9, 2019 to
the designated agent for the named entity as shown below.


          WESTERN WORLD INSURANCE COMPANY
          ANTHONY LEONE
          300 KIMBALL DRIVE SUITE 500
          PARSIPPANY, NJ 07054




*Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not responsible
for transmittal of any subsequent filings, pleadings, or documents unless otherwise ordered by the Court
pursuant to Florida Rules of Civil Procedure, Rule #1.080




                                                               Jimmy Patronis
                                                               Chief Financial Officer
 cc to:


 FAITH EVERETT
 INSURANCE LITIGATION GROUP
 17021 NE 6TH AVE L-R
 NORTH MIAMI BEACH, FL 33162
                                                                                                     JJ1




                                 Office of the General Counsel - Service of Process Section
                    200 East Gaines Street - P.O. Box 6200 - Tallahassee, FL 32314-6200 - (850)413-4200
               RECEIVED AS STATUTORY REGISTERED AGENT
on 08 August, 2019 and served on defendant or named party on 09 August, 2019
                by the Florida Department of Financial Services
                                                                               Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 16 of 156
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 17 of 156



  FORM 1.997.       CIVIL COVER SHEET

  The civil cover sheet and the information contained herein neither replace nor supplement the filing and service of
  pleadings or other papers as required by law. This form shall be filed by the plaintiff or petitioner for the use of the
  Clerk of Court for the purpose of reporting judicial workload data pursuant to Florida Statutes section 25.075. (See
  instructions for completion.)



  I.         CASE STYLE
                 IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                                 PALM BEACH COUNTY, FLORIDA

KDH ARCHITECTURE                                                                     Case #:
INC. a/a/o 921
EVERGREEN DRIVE
AND 730 WHITEMORE,
LLC,,
 Plaintiff


                                                                                       Judge:
  vs.

  WESTERN WORLD INSURANCE COMPANY

  Defendant



  II.        TYPE OF CASE             (If the case fits more than one type of case, select the most definitive category.)
                                      If the most descriptive label is a subcategory (is indented under a broader
                                      category), place an x in both the main category and subcategory boxes.

  □ Condominium                                                 Homestead residential foreclosure $0 - $50,000
  X Contracts and indebtedness                                  Homestead residential foreclosure $50,001 - $249,999
  □ Eminent domain                                              Homestead residential foreclosure $250,000 or more
  □ Auto negligence                                             Nonhomestead residential foreclosure
  □ Negligence—other                                            $0 - $50,000
     □ Business governance                                      Nonhomestead residential foreclosure
       Business torts                                             $50,001 - $249,999
     □ Environmental/Toxic tort                                 Nonhomestead residential foreclosure
     □ Third party indemnification                              $250,000 or more
     □ Construction defect                                      Other real property actions $0 - $50,000
     □ Mass tort                                                Other real property actions $50,001 - $249,999
     □ Negligent security                                       Other real property actions $250,000 or more
     □ Nursing home negligence                               Professional malpractice
     □ Premises liability—commercial                           Malpractice—business
     □ Premises liability—residential                          Malpractice—medical
  □ Products liability                                         Malpractice—other professional
  □ Real property/Mortgage foreclosure                       Other
     □ Commercial foreclosure $0 - $50,000                      Antitrust/Trade regulation
     □ Commercial foreclosure $50,001 - $249,999                Business transactions
     □ Commercial foreclosure $250,000 or more                  Constitutional challenge—statute or ordinance
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 18 of 156



       □ Constitutional challenge—proposed amendment                  Libel/Slander
       □ Corporate trusts                                             Shareholder derivative action
       □ Discrimination—employment or other                           Securities litigation
       □ Insurance claims                                             Trade secrets
       □ Intellectual property                                        Trust litigation

  III.     REMEDIES SOUGHT (check all that apply):
           X monetary;
           □ nonmonetary declaratory or injunctive relief;
           □ punitive

  IV.       NUMBER OF CAUSES OF ACTION: [1]
            (specify)


  V.        IS THIS CASE A CLASS ACTION LAWSUIT?
            □ yes
            X no

  VI.       HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
            X no
            □ yes If “yes,” list all related cases by name, case number, and court.




  VII.      IS JURY TRIAL DEMANDED IN COMPLAINT?
            X yes
            □ no



  I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and
  belief.

 Signature /s/ Kimesha S. Smith              Fla. Bar # 116466
 __________________________                           ____________________
 Attorney or party                                    (Bar # if attorney)


 KIMESHA S. SMITH, Esq.                                        August 05, 2019
 ___________________________                                   ___________________________
 (type or print name)                                          Date
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 19 of 156




            IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                            PALM BEACH COUNTY, FLORIDA

                                                         GENERAL JURISDICTION DIVISION
                                                         CASE NO.:

    KDH ARCHITECTURE INC.,
    A/A/O 921 EVERGREEN DRIVE AND 730 WHITEMORE, LLC,

           Plaintiff,

    v.

    WESTERN WORLD INSURANCE COMPANY,

           Defendant.

    __________________________________/

            PLAINTIFF’S FIRST REQUEST FOR PRODUCTION TO DEFENDANT

           Plaintiff, KDH Architecture Inc., a/a/o 921 Evergreen Drive and 730 Whitemore, LLC

    (“Plaintiff”), pursuant to Rule 1.350, Fla. R. Civ. P. requests Defendant, Western World Insurance

    Company (“Defendant”), furnish copies of the following documents to the offices of the

    undersigned attorney within forty-five (45) days from the date of service of this request.

                                DEFINITIONS AND INSTRUCTIONS

           1.     The term “Plaintiff” means KDH Architecture Inc., Inc., and its agents, employees,
    independent contractors, attorneys, and all other persons acting or purporting to act on its behalf.

           2.      The term “Insured” means named insured, 921 Evergreen Drive and 730
    Whitemore, LLC, and his\her agents, employees, independent contractors, attorneys, and all other
    persons acting or purporting to act on his\her behalf.

            3.   The term “you” or “Defendant” means Western World Insurance Company, and its
    agents, employees, independent contractors, subsidiaries, divisions, parent company, holding
    company, directors, officers, attorneys, and all other persons acting or purporting to act on its
    behalf.

            4.      The term “Policy” means the policy, number NPP8357671, which Defendant issued
    to Insured for the property located at 921 Evergreen Drive, Lake Park , Florida 33403, that was in
    effect on the date of loss alleged in Plaintiff’s Complaint filed in this action.



                                                                                           ILG File #: 11984
                                                                                             Claim #: 137081
                                                                       Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 20 of 156




            5.      The term “Insured Building” or “Insured Property” means the insured structure
    and/or its contents located at the address described in Plaintiff’s Complaint filed in this action.

            6.      The term “Plaintiff’s Invoice” or “Invoice” means the invoice, which is attached to
    Plaintiff’s Complaint as Exhibit A, which Plaintiff issued after performing services to the Insured
    Property, after the Insured Property suffered damage caused by a water event on or about the date
    of loss alleged in the Complaint.

            7.      The term “Plaintiff’s Assignment of Benefits” means the assignment, which is
    attached to Plaintiff’s Complaint as Exhibit B, which the Insured gave to Plaintiff in exchange for
    Plaintiff performing services to the Insured Property on or about the date of loss alleged in
    Plaintiff’s Invoice.

          8.      The term “Loss” means the event at issue in which the Insured suffered property
    damage, on the date of loss alleged in Plaintiff’s Complaint.

           9.      The term “person” means any natural person, individual, proprietorship,
    partnership, corporation, association, organization, joint venture, firm, other business enterprise,
    governmental body, group of natural persons or other entity.

            10.      The term “document” or “documents” means any written, typed, or graphic matter
    or other means of preserving thought or expression and all tangible things from which information
    can be processed or transcribed, including the originals and all non-identical copies, whether
    different from the original by reason of any notation made on such copy or otherwise, including,
    but not limited to, correspondence, emails, memoranda, notes, messages, letters, telegrams,
    teletype, telefax, bulletins, meetings or other communications, interoffice and intraoffice telephone
    calls, diaries, claim diaries, electronic claim notes, chronological data, minutes, books, reports,
    studies, summaries, pamphlets, printed matter, charts, ledgers, invoices, worksheets, receipts,
    returns, computer printouts, prospectuses, financial statements, schedules, affidavits, contracts,
    canceled checks, statements, transcripts, statistics, surveys, magazine or newspaper articles,
    releases (and all drafts, alterations and modifications, changes and amendments of any of the
    foregoing), graphic or natural records or representations of any kind (including without limitation
    photographs, photographic negative, microfiche, microfilm, videotape, recordings, motion
    pictures, phonograph recordings, transcripts or log of such recording, projection), electronic,
    computer, mechanical, or electric records or representations of any kind (including without
    limitation tapes, cassettes, discs and records), and binders, cover notes, certificates, analysis, study
    memoranda, note lists, diaries, logs, questionnaires, bills, purchase orders, shipping orders,
    memorandum of contract, agreements, licenses, permits, orders, financial data,
    acknowledgements, computer or data procession cards, computer or data processing discs, and all
    other data compilations from which information can be obtained or translated, reports and/or
    summaries of investigations, drafts and revisions of drafts of any documents and original
    preliminary notes or sketches, no matter how produced or maintained, in your actual or
    constructive possession, custody or control, whether prepared, published or released by you or by
    any other person. If data is stored on computer or electronic media (inter-company email, for
    example), produce hard copies of each such document.” “Documents” includes all attachments
    and enclosures.


                                                                                              ILG File #: 11984
                                                                                                Claim #: 137081
                                                                          Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 21 of 156




           11.      The term “all documents” means every document or group of documents, as above
    defined, that are known to you or that can be located or discovered by reasonably diligent efforts.

           12.     The term “coverage letter(s)” means the correspondence from You to the Insured
    throughout the claim at issue regarding Your position as to coverage for the Loss.

           13.     As used herein, the singular shall include the plural, the plural shall include the
    singular, and masculine feminine and neuter shall include each of the other genders.

            14.     The terms “relating to” or “in any way related to” means in whole or in part
    constituting, containing, concerning, discussing, commending upon, describing, analyzing,
    identifying, stating, pertaining to, referring to, or forming the basis of.

           15.     The term “Prior Claim” means all claims submitted by or on behalf of an Insured
    for damage occurring prior to the date of loss alleged in Plaintiff’s Complaint, regarding the
    Insured Building or Insured Property.

           16.     The term “Subsequent Claim” means all claims submitted by or on behalf of an
    Insured for damage occurring after the date of loss alleged in Plaintiff’s Complaint, regarding the
    Insured Building or Insured Property.

              17.   The term “Plaintiff’s Complaint means the complaint filed by Plaintiff in this
    action.
          18.      This request shall be continuing in nature so as to require the filing of supplemental
    answers to the extent required under Florida law.

                                                     Requests

              1.    A certified and complete copy of the Policy that Defendant issued to the Insured

    that was in effect on or about December 15, 2017.

              2.    All documents reflecting Defendant’s inspection(s) of the Insured Property after

    December 15, 2017.

              3.    All documents reflecting Defendant’s inspection(s) of the Insured Property before

    December 15, 2017, covering the preceding five (5) years.

              4.    All documents reflecting Defendant’s inspection(s) of the Insured Property during

    the Defendant’s underwriting of the Insured’s Policy.




                                                                                            ILG File #: 11984
                                                                                              Claim #: 137081
                                                                        Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 22 of 156




           5.      All documents reflecting Defendant’s inspection(s) of the Insured Property during

    Defendant’s underwriting of all insurance policies Defendant issued to the Insured for the Insured

    Property prior to December 15, 2017.

           6.      All photographs and/or videos submitted by Plaintiff to Defendant in any way

    related to the Loss or Invoice.

           7.      All photographs and/or videos submitted by Defendant to Plaintiff in any way

    related to the Loss or Invoice.

           8.      All photographs and/or videos taken by Defendant in any way related to the Loss

    or Invoice.

           9.      All correspondence, emails and all other documents provided by Plaintiff and/or

    the Insured, to Defendant in any way related to the Loss or Invoice.

           10.     All correspondence, emails and all other documents provided by Defendant, to

    Plaintiff and/or the Insured in any way related to the Loss or Invoice.

           11.     All documents reflecting Defendant’s efforts to investigate the Loss or Invoice.

           12.     All documents documenting or supporting Defendant’s affirmative defenses, or that

    Defendant anticipates will support Defendant’s reasons for denying or failing to pay the full

    amount of Plaintiff’s Invoice.

           13.     All documents, including but not limited to estimates, reports, testing, photographs

    and/or videos created by Defendant, Defendant’s adjusters, Defendant’s loss consultants, or by

    any expert retained by Defendant, including but not limited to plumbers and engineers, in any way

    related to the Loss and/or Plaintiff’s Invoice.

           14.     All documents identified in Defendant’s Answers to Plaintiff’s First Set of

    Interrogatories.




                                                                                            ILG File #: 11984
                                                                                              Claim #: 137081
                                                                        Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 23 of 156




            15.       A current curriculum vitae and all biographical information for all person(s) who

    inspected the Insured Property for or on behalf of Defendant following the Loss.

            16.       All documents in any way related to the damage caused to the Insured Property

    from the alleged Loss.

            17.       All documents documenting or supporting Plaintiff’s claim for collection of its

    Invoice from Defendant in this lawsuit.

            18.       All documents related to Plaintiff’s Invoice or the Insured Property that support

    how Defendant determined whether to pay Plaintiff’s Invoice, and/or how much of Plaintiff’s

    invoice to pay.

            19.       All documents reflecting the relationship between Defendant and the adjuster that

    assisted Defendant in investigating, adjusting, and/or evaluating Plaintiff’s Invoice.

            20.       All documents that support any denials by Defendant of Plaintiff’s First Request

    for Admissions.

            21.       All reports relating to the damage the Insured Property sustained during or as a

    result of the Loss.

            22.       All reports relating to the condition of the Insured Property before the Loss.

            23.       All reports relating to the condition of the Insured Property after the Loss.

            24.       All documents showing when the Insured notified Defendant of the Loss.

            25.       All documents showing when Plaintiff notified Defendant of the Loss.

            26.       All electronic claim notes made by or on behalf of Defendant in any way relating

    to Plaintiff’s Invoice, the Loss, or the condition of Insured Property at the time of Loss.

            27.       The part of Defendant’s claim file that Defendant reasonably expects to rely upon

    at trial in this action.




                                                                                               ILG File #: 11984
                                                                                                 Claim #: 137081
                                                                           Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 24 of 156




            28.     The part of Defendant’s claim file that Defendant reasonably expects to use at trial

    in support of its affirmative defenses.

            29.     All documents that Defendant reasonably expects to rely upon at trial in this action.

            30.     All documents that Defendant reasonably expects to use at trial in support of its

    affirmative defenses.

            31.     The part of Defendant’s claim file that supports the action taken by Defendant in

    paying or refusing to pay Plaintiff’s Invoice.

            32.     All documents that support the action taken by Defendant in paying or refusing to

    pay Plaintiff’s Invoice.

            33.     All estimates prepared by Defendant in any way related to the amount claimed by

    Plaintiff in this action and/or to Plaintiff’s Invoice.

            34.     All estimates prepared by architecture companies that Defendant may use to

    support its reason for non-payment or partial payment of Plaintiff’s Invoice.

            35.     All estimates prepared by adjusters, contractors, loss consultants, or any other

    person or entity for Defendant, that are in any way related to the amount claimed by Plaintiff in

    this action and/or to Plaintiff’s invoice.

            36.     All estimates prepared by adjusters, contractors, loss consultants, or any other

    person or entity for Defendant, that Defendant may use to support its reason for non-payment or

    partial payment of Plaintiff’s invoice.

            37.     All documents Defendant provided to the person(s) who investigated, adjusted or

    otherwise evaluated Plaintiff’s Invoice or the Loss.




                                                                                            ILG File #: 11984
                                                                                              Claim #: 137081
                                                                        Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 25 of 156




           38.       All documents reflecting any communication between Defendant, and any of

    Defendant’s agents, independent adjusters, plumbers, engineers or other representatives, in any

    way related to Plaintiff’s Invoice or the Loss.

           39.       All underwriting documents in any way relating to the condition of the Insured

    Property before the Loss.

           40.       The underwriting file kept by Defendant regarding the Insured Property dating from

    the inception of Defendant’s Policy on the Insured Premises through the present time.

           41.       All insurance applications the Insured submitted to Defendant regarding the Insured

    Property.

           42.       All documents containing any facts supporting any of Defendant’s affirmative

    defenses.

           43.       All documents containing any facts supporting any of Defendant’s reasons for

    failing to pay and/or reducing the amount paid to Plaintiff for Plaintiff’s Invoice.

           44.       All documents supporting any allegation or contention by Defendant that Plaintiff’s

    Invoice is related to damages involving a prior claim made by Insured or prior damage sustained

    by an Insured.

           45.       All documents supporting any allegation or contention by Defendant that Plaintiff’s

    Invoice is related to damages involving a subsequent claim made by Insured or subsequent damage

    sustained by an Insured.

           46.       All documents supporting any allegation or contention by Defendant that the

    Insured’s damages from the Loss are related to damages involving a prior claim made by Insured

    or prior damage sustained by an Insured.




                                                                                            ILG File #: 11984
                                                                                              Claim #: 137081
                                                                        Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 26 of 156




            47.     All documents supporting any allegation or contention by Defendant that related to

    damages involving a subsequent claim made by Insured or subsequent damage sustained by an

    Insured.

            48.     All signed sworn proofs of loss submitted by the Insured to Defendant regarding

    the Loss.

            49.     Complete and legible copies of all building permits and all other records obtained

    from the county or other municipality, applicable to the Insured Property covering a five year span

    prior to the Loss.

            50.     All documents evidencing all payments made by Defendant to the Insured and/or

    for the Insured’s benefit involving a Prior Claim made by Insured or prior damage sustained by

    an Insured.

            51.     All documents evidencing all payments made by Defendant to the Insured and/or

    for the Insured’s benefit involving a Subsequent Claim made by Insured or subsequent damage

    sustained by an Insured.

            52.     All documents evidencing all payments made by Defendant to the Insured and/or

    for the Insured’s benefit involving the claim for the same date of Loss alleged in the Complaint

    filed in this action.

            53.     All correspondence and documents between Defendant and any third parties,

    excluding Defendant’s attorney, in any way related to (1) the condition of the Insured Property

    before the Loss; or (2) the damage to the Insured Property sustained during the Loss.

            54.     All reports relating to Plaintiff’s Invoice or to the damages sustained to Insured

    Property during or as a result of the Loss.




                                                                                           ILG File #: 11984
                                                                                             Claim #: 137081
                                                                       Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 27 of 156




           55.     All documents showing or pertaining to any repairs made to the Insured Property

    by or on behalf of the Insured prior to the Loss, including but not limited to repair invoices,

    estimates, canceled checks, credit card receipts, contracts for repair, receipts, certificates of

    completion, notices of commencement, special assessment notices, payment logs, building permits

    and building permit applications.

           56.     All documents showing or pertaining to any repairs made to the Insured Property

    by or on behalf of the Insured after the Loss, including but not limited to repair invoices, estimates,

    canceled checks, credit card receipts, contracts for repair, receipts, certificates of completion,

    notices of commencement, special assessment notices, payment logs, building permits and

    building permit applications.

           57.     All transcripts of any Examinations Under Oath given or provided by the Insured

    regarding the Loss.

           58.     All transcripts of any Examinations Under Oath given or provided by anyone

    besides the Insured regarding the Loss.

           59.     All recorded statements given or provided by the Insured regarding the Loss. This

    request seeks a copy of the recording itself, not Defendant’s transcript of the recorded statement.

           60.     All recorded statements given or provided by anyone besides the Insured regarding

    the Loss. This request seeks a copy of the recording itself, not Defendant’s transcript of the

    recorded statement.




                                                                                             ILG File #: 11984
                                                                                               Claim #: 137081
                                                                         Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 28 of 156




            61.   All Coverage Letters sent by Defendant to the Insured in any way related to the

    Loss.



                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that the foregoing was served on Defendant with the Complaint.

                                               INSURANCE LITIGATION GROUP, P.A.
                                               Attorney for Plaintiff
                                               1500 NE 162nd Street
                                               Miami, Florida 33162
                                               Telephone: (786) 529-0090
                                               Facsimile: (866) 239-9520
                                               E-Mail: service@ILGPA.COM

                                               By:   /s/ Kimesha S. Smith
                                                     KIMESHA S. SMITH, ESQ.
                                                     FL Bar No. 116466




                                                                                      ILG File #: 11984
                                                                                        Claim #: 137081
                                                                  Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 29 of 156




            IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                            PALM BEACH COUNTY, FLORIDA

                                                         GENERAL JURISDICTION DIVISION
                                                         CASE NO.:


    KDH ARCHITECTURE INC.,
    A/A/O 921 EVERGREEN DRIVE AND 730 WHITEMORE, LLC,

           Plaintiff,

    v.

    WESTERN WORLD INSURANCE COMPANY,

           Defendant.

    __________________________________/

             PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT

           Plaintiff, KDH Architecture Inc., a/a/o 921 Evergreen Drive and 730 Whitemore, LLC,

    (“WR”), pursuant to Rule 1.370, Fla. R. Civ. P., serves this First Request for Admissions, and

    requests that the Defendant within forty-five (45) days from service of this request, comply with

    the following definitions and instructions, and admit the requests that follow them.

                                 DEFINITION AND INSTRUCTIONS

           1.     The term “Plaintiff” means KDH Architecture Inc., Inc., and its agents, employees,
    independent contractors, attorneys, and all other persons acting or purporting to act on its behalf.

           2.      The term “Insured” means named insured, 921 Evergreen Drive and 730
    Whitemore, LLC, and his\her agents, employees, independent contractors, attorneys, and all other
    persons acting or purporting to act on his\her behalf.

            3.   The term “you” or “Defendant” means Western World Insurance Company, and its
    agents, employees, independent contractors, subsidiaries, divisions, parent company, holding
    company, directors, officers, attorneys, and all other persons acting or purporting to act on its
    behalf.




                                                                                           ILG File #: 11984
                                                                                             Claim #: 137081
                                                                       Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 30 of 156




            4.      The term “Policy” means the policy, number NPP8357671, which Defendant issued
    to Insured for the property located at 921 Evergreen Drive, Lake Park , Florida 33403, that was in
    effect on the date of loss alleged in Plaintiff’s Complaint filed in this action.

            5.      The term “Insured Building” or “Insured Property” means the insured structure
    and/or its contents located at the address described in Plaintiff’s Complaint filed in this action.

            6.      The term “Plaintiff’s Invoice” means the invoice, which is attached to Plaintiff’s
    Complaint as Exhibit A, which Plaintiff issued after performing services to the Insured Property,
    after the Insured Property suffered damage caused by a water event on or about the date of loss
    alleged in the Complaint.

            7.      The term “Plaintiff’s Assignment of Benefits” or “Assignment of Benefits” means
    the assignment, which is attached to Plaintiff’s Complaint as Exhibit B, which the Insured gave to
    Plaintiff in exchange for Plaintiff performing services to the Insured Property on or about the date
    described in Plaintiff’s Invoice.

          8.      The term “Loss” means the event at issue in which the Insured suffered property
    damage, on the date of loss alleged in Plaintiff’s Complaint.

           9.      The term “person” means any natural person, individual, proprietorship,
    partnership, corporation, association, organization, joint venture, firm, other business enterprise,
    governmental body, group of natural persons or other entity.

            10.      The term “document” or “documents” means any written, typed, or graphic matter
    or other means of preserving thought or expression and all tangible things from which information
    can be processed or transcribed, including the originals and all non-identical copies, whether
    different from the original by reason of any notation made on such copy or otherwise, including,
    but not limited to, correspondence, emails, memoranda, notes, messages, letters, telegrams,
    teletype, telefax, bulletins, meetings or other communications, interoffice and intraoffice telephone
    calls, diaries, claim diaries, electronic claim notes, chronological data, minutes, books, reports,
    studies, summaries, pamphlets, printed matter, charts, ledgers, invoices, worksheets, receipts,
    returns, computer printouts, prospectuses, financial statements, schedules, affidavits, contracts,
    canceled checks, statements, transcripts, statistics, surveys, magazine or newspaper articles,
    releases (and all drafts, alterations and modifications, changes and amendments of any of the
    foregoing), graphic or natural records or representations of any kind (including without limitation
    photographs, photographic negative, microfiche, microfilm, videotape, recordings, motion
    pictures, phonograph recordings, transcripts or log of such recording, projection), electronic,
    computer, mechanical, or electric records or representations of any kind (including without
    limitation tapes, cassettes, discs and records), and binders, cover notes, certificates, analysis, study
    memoranda, note lists, diaries, logs, questionnaires, bills, purchase orders, shipping orders,
    memorandum of contract, agreements, licenses, permits, orders, financial data,
    acknowledgements, computer or data procession cards, computer or data processing discs, and all
    other data compilations from which information can be obtained or translated, reports and/or
    summaries of investigations, drafts and revisions of drafts of any documents and original
    preliminary notes or sketches, no matter how produced or maintained, in your actual or


                                                                                              ILG File #: 11984
                                                                                                Claim #: 137081
                                                                          Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 31 of 156




    constructive possession, custody or control, whether prepared, published or released by you or by
    any other person. If data is stored on computer or electronic media (inter-company email, for
    example), produce hard copies of each such document.” “Documents” includes all attachments
    and enclosures.

           11.      The term “all documents” means every document or group of documents, as above
    defined, that are known to you or that can be located or discovered by reasonably diligent efforts.

           12.     As used herein, the singular shall include the plural, the plural shall include the
    singular, and masculine feminine and neuter shall include each of the other genders.

           13.    The connectives “and” and “or” shall be construed either disjunctive or
    conjunctively as necessary to bring within the scope of these requests all response that might
    otherwise be construed to be outside their scope.

           14.    The terms “coverage letter(s)” means the correspondence from You to policyholder
    throughout the claim at issue regarding Your position as to coverage for the loss alleged in the
    Complaint filed in this action.

           15.   The term “Loss” means the event at issue in which the policyholder suffered
    property damage.

            16.     The terms “relating to” or “in any way related to” means in whole or in part
    constituting, containing, concerning, discussing, commending upon, describing, analyzing,
    identifying, stating, pertaining to, referring to, or forming the basis of.

           17.     “Identify” and “identity” mean:

                   a. With respect to a natural person, to state the person’s name, title at the time in
                      question, employer and business address at the time in question and the current
                      or last known employer, business address, and home address;
                   b. With respect to an organization or entity, to state the full legal name of the entity
                      and full name by which the organization or entity is commonly known or does
                      business;
                   c. With respect to a document, to state the name(s) and title(s) of the author(s)
                      and/or signatory(ies), addressee(s), and recipient(s) of any copies; the subject
                      matter or title; the date of the document; the division, department, or unit of
                      your organization with which the author(s) and/or addressee(s) are or were
                      affiliated; and its present location and custodian; and
                   d. With respect to an oral communication to state the names and titles of all
                      persons involved in the communication, and the date and approximate time of
                      the communication.

            18.    This request shall be continuing in nature so as to require the filing of supplemental
    interrogatory answers to the extent required by Florida law.



                                                                                             ILG File #: 11984
                                                                                               Claim #: 137081
                                                                         Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 32 of 156




                                                REQUESTS

           Admit the truth of the following statements:

           1.        On December 15, 2017, the Insured had an insurance Policy with Defendant that

    was in full force and effect for the Insured Property located at 921 Evergreen Drive, Lake Park ,

    Florida 33403.

           2.        Damage caused by a sudden and accidental water loss is covered under the Policy.

           3.        Ensuing damage caused by water is covered under the Policy.

           4.        Damage caused by water is not expressly excluded from coverage under the Policy.

           5.        Ensuing damage caused by water is not expressly excluded from coverage under

    the Policy.

           6.        Architecture services are covered under the Policy.

           7.        Defendant was timely notified that the Loss occurred at the Insured Property.

           8.        The Insured has complied with all prerequisites for receiving benefits under the

    Policy for the Loss.

           9.        The above-named Defendant is properly named in this lawsuit.

           10.       The Loss that occurred on December 15, 2017 at the Insured Property is a covered

    loss under the Policy.

           11.       Before Plaintiff sued Defendant in this lawsuit, Defendant received Plaintiff’s

    Assignment of Benefits and Plaintiff’s Invoice.

           12.       Pursuant to the Assignment of Benefits, the Insured assigned to Plaintiff the right

    to sue Defendant to collect from Defendant the amount of Plaintiff’s Invoice.

           13.       Pursuant to the Assignment of Benefits, the Insured assigned to Plaintiff the

    Insured’s right to demand that Defendant pay Plaintiff’s Invoice.




                                                                                               ILG File #: 11984
                                                                                                 Claim #: 137081
                                                                           Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 33 of 156




           14.     Plaintiff is an after-loss assignee under the Policy for the services Plaintiff provided

    to the Insured Property.

           15.     Through the Assignment of Benefits, the Insured assigned to Plaintiff insurance

    benefits limited to the services Plaintiff provided to the Insured Property.

           16.     The signature on the Assignment of Benefits is that of the Insured and/or the

    Insured’s representative.

           17.     Defendant assigned claim number 137081 to the Loss.

           18.     Defendant denied coverage for payment of Plaintiff’s Invoice.

           19.     Prior to Plaintiff suing Defendant in this lawsuit, Defendant had the opportunity to

    evaluate Plaintiff’s Invoice.

           20.     Defendant’s claims file and electronic claim notes are kept in the ordinary course

    of business.

           21.     Defendant had the opportunity to inspect the Insured Property prior to issuing the

    insurance Policy to the Insured.

           22.     Defendant inspected the Insured Property prior to the Loss.

           23.     Defendant authored and/or drafted the Policy, and has a true and correct copy of

    the Policy in its possession.




                                                                                             ILG File #: 11984
                                                                                               Claim #: 137081
                                                                         Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 34 of 156




           24.    Following a covered loss under the Policy, payment may be made to an architecture

    company without the consent of the Defendant.




                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that the foregoing was served on Defendant with the Complaint.



                                                INSURANCE LITIGATION GROUP, P.A.
                                                Attorney for Plaintiff
                                                1500 NE 162nd Street
                                                Miami, Florida 33162
                                                Telephone: (786) 529-0090
                                                Facsimile: (866) 239-9520
                                                E-Mail: service@ILGPA.COM

                                                By:   /s/ Kimesha S. Smith
                                                      KIMESHA S. SMITH, ESQ.
                                                      FL Bar No. 116466




                                                                                        ILG File #: 11984
                                                                                          Claim #: 137081
                                                                    Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 35 of 156


             IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                             PALM BEACH COUNTY, FLORIDA

                                                        GENERAL JURISDICTION DIVISION
                                                        CASE NO.:

    KDH ARCHITECTURE INC.,
    A/A/O 921 EVERGREEN DRIVE
    AND 730 WHITEMORE, LLC,

            Plaintiff,

    v.

    WESTERN WORLD INSURANCE COMPANY,

            Defendant.


                                                        /

                         NOTICE OF DESIGNATION OF E-MAIL ADDRESSES

            The Insurance Litigation Group, P.A., counsel for the Plaintiff, KDH ARCHITECTURE

    INC., pursuant to Florida Rules of Judicial Administration 2.516 (b)(1)(a), designates the

    following primary and secondary e-mail addresses for e-mail service in the above-referenced

    case:

                            Primary:     service@ilgpa.com
                            Secondary:   faith@ilgpa.com


                                    CERTIFICATE OF SERVICE

            I CERTIFY that the forgoing document was served with the Complaint.

                                                  INSURANCE LITIGATION GROUP, P.A.
                                                  Attorney for Plaintiff
                                                  1500 NE 162nd Street
                                                  Miami, Florida 33162
                                                  Telephone: (786) 529-0090
                                                  Facsimile: (866) 239-9520
                                                  E-Mail: service@ilgpa.com

                                                  By:   /s/ Kimesha S. Smith
                                                        KIMESHA S. SMITH, ESQ.
                                                        FL Bar No. 116466
                                                                                          ILG File #: 11984
                                                                                            Claim #: 137081
                                                                      Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 36 of 156




             IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                             PALM BEACH COUNTY, FLORIDA

                                                          GENERAL JURISDICTION DIVISION
                                                          CASE NO.:


    KDH ARCHITECTURE INC.,
    A/A/O 921 EVERGREEN DRIVE AND 730 WHITEMORE, LLC,

           Plaintiff,

    v.

    WESTERN WORLD INSURANCE COMPANY,

           Defendant.

    __________________________________/

                               PLAINTIFF’S NOTICE OF SERVING
                        FIRST SET OF INTERROGATORIES TO DEFENDANT

           Plaintiff, KDH Architecture Inc., a/a/o 921 Evergreen Drive and 730 Whitemore, LLC,

    (“WR”), pursuant to Rule 1.340, Fla. R. Civ. P., serves this First Set of Interrogatories to be

    answered under oath and in writing, within forty-five (45) days from the date of service hereof.

                                         CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that the foregoing was served on Defendant with the Complaint.

                                                  INSURANCE LITIGATION GROUP, P.A.
                                                  Attorney for Plaintiff
                                                  1500 NE 162nd Street
                                                  Miami, Florida 33162
                                                  Telephone:     (786) 529-0090
                                                  Facsimile:     (866) 239-9520
                                                  E-Mail: service@ILGPA.COM

                                                  By:     /s/ Kimesha S. Smith,
                                                          KIMESHA S. SMITH, ESQ.
                                                          FL Bar No. 116466




                                                                                            ILG File #: 11984
                                                                                              Claim #: 137081
                                                                        Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 37 of 156




                     INTERROGATORY DEFINITION AND INSTRUCTIONS

           1.     The term “Plaintiff” means KDH Architecture Inc., and its agents, employees,
    independent contractors, attorneys, and all other persons acting or purporting to act on its behalf.

           2.      The term “Insured” means named insured, 921 Evergreen Drive and 730
    Whitemore, LLC, and his\her agents, employees, independent contractors, attorneys, and all other
    persons acting or purporting to act on his\her behalf.

            3.    The term “You” or “Defendant” means Western World Insurance Company
    and its agents, employees, independent contractors, subsidiaries, divisions, parent company,
    holding company, directors, officers, attorneys, and all other persons acting or purporting to act on
    its behalf.

            4.      The term “Policy” means the policy, number NPP8357671, which Defendant issued
    to Insured for the property located at 921 Evergreen Drive, Lake Park , Florida 33403 that was in
    effect on the date of loss alleged in Plaintiff’s Complaint filed in this action.

            5.      The term “Insured Building” or “Insured Property” means the insured structure
    and/or its contents located at the address alleged in Plaintiff’s Complaint filed in this action.

            6.      The term “Plaintiff’s Invoice” means the invoice, which is attached to Plaintiff’s
    Complaint as Exhibit A, which Plaintiff issued after performing services to the Insured Property,
    after the Insured property suffered damage caused by a water event on or about the date of loss
    alleged in the Complaint.

            7.      The term “Plaintiff’s Assignment of Benefits” means the assignment, which is
    attached to Plaintiff’s Complaint as Exhibit B, which the Insured gave to Plaintiff in exchange for
    Plaintiff performing services to the Insured Property on or about the date described in Plaintiff’s
    Invoice.

          8.      The term “Loss” means the event at issue in which the Insured suffered property
    damage, on the date of loss alleged in Plaintiff’s Complaint.

           9.      The term “person” means any natural person, individual, proprietorship,
    partnership, corporation, association, organization, joint venture, firm, other business enterprise,
    governmental body, group of natural persons or other entity.

            10.      The term “document” or “documents” means any written, typed, or graphic matter
    or other means of preserving thought or expression and all tangible things from which information
    can be processed or transcribed, including the originals and all non-identical copies, whether
    different from the original by reason of any notation made on such copy or otherwise, including,
    but not limited to, correspondence, emails, memoranda, notes, messages, letters, telegrams,
    teletype, telefax, bulletins, meetings or other communications, interoffice and intraoffice telephone
    calls, diaries, claim diaries, electronic claim notes, chronological data, minutes, books, reports,
    studies, summaries, pamphlets, printed matter, charts, ledgers, invoices, worksheets, receipts,


                                                                                            ILG File #: 11984
                                                                                              Claim #: 137081
                                                                        Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 38 of 156




    returns, computer printouts, prospectuses, financial statements, schedules, affidavits, contracts,
    canceled checks, statements, transcripts, statistics, surveys, magazine or newspaper articles,
    releases (and all drafts, alterations and modifications, changes and amendments of any of the
    foregoing), graphic or natural records or representations of any kind (including without limitation
    photographs, photographic negative, microfiche, microfilm, videotape, recordings, motion
    pictures, phonograph recordings, transcripts or log of such recording, projection), electronic,
    computer, mechanical, or electric records or representations of any kind (including without
    limitation tapes, cassettes, discs and records), and binders, cover notes, certificates, analysis, study
    memoranda, note lists, diaries, logs, questionnaires, bills, purchase orders, shipping orders,
    memorandum of contract, agreements, licenses, permits, orders, financial data,
    acknowledgements, computer or data procession cards, computer or data processing discs, and all
    other data compilations from which information can be obtained or translated, reports and/or
    summaries of investigations, drafts and revisions of drafts of any documents and original
    preliminary notes or sketches, no matter how produced or maintained, in your actual or
    constructive possession, custody or control, whether prepared, published or released by you or by
    any other person. If data is stored on computer or electronic media (inter-company email, for
    example), produce hard copies of each such document.” “Documents” includes all attachments
    and enclosures.

           11.      The term “all documents” means every document or group of documents, as above
    defined, that are known to you or that can be located or discovered by reasonably diligent efforts.

           12.     As used herein, the singular shall include the plural, the plural shall include the
    singular, and masculine feminine and neuter shall include each of the other genders.

           13.    The connectives “and” and “or” shall be construed either disjunctive or
    conjunctively as necessary to bring within the scope of these requests all responses that might
    otherwise be construed to be outside their scope.

           14.     The terms “coverage letter(s)” means the correspondence from You to the Insured
    throughout the claim at issue regarding Your position as to coverage for the Loss.

            15.     The terms “relating to” or “in any way related to” means in whole or in part
    constituting, containing, concerning, discussing, commending upon, describing, analyzing,
    identifying, stating, pertaining to, referring to, or forming the basis of.

           16.     “Identify” and “identity” mean:

                   a. With respect to a natural person, to state the person’s name, title at the time in
                      question, employer and business address at the time in question, and the current
                      or last known employer, business address, and home address;
                   b. With respect to an organization or entity, to state the full legal name of the entity
                      and full name by which the organization or entity is commonly known or does
                      business;
                   c. With respect to a document, to state the name(s) and title(s) of the author(s)
                      and/or signatory(ies), addressee(s), and recipient(s) of any copies; the subject


                                                                                              ILG File #: 11984
                                                                                                Claim #: 137081
                                                                          Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 39 of 156




                      matter or title; the date of the document; the division, department, or unit of
                      your organization with which the author(s) and/or addressee(s) are or were
                      affiliated; and its present location and custodian; and
                   d. With respect to an oral communication to state the names and titles of all
                      persons involved in the communication, and the date and approximate time of
                      the communication.

            17.    This request shall be continuing in nature so as to require the filing of supplemental
    interrogatory answers to the extent required by Florida law.




                                                                                            ILG File #: 11984
                                                                                              Claim #: 137081
                                                                        Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 40 of 156




                                         INTERROGATORIES

            1.      State the name and address of the person(s) answering these interrogatories, and, if
    applicable, the person’s official position or relationship with the party to whom the interrogatories
    are directed.

            2.     Describe any and all policies of insurance which you contend cover or may cover
    the allegations set forth in Plaintiff’s complaint, detailing as to such policies the name of the
    insurer, the number of the policy, the available limits of liability, and the name and address of the
    custodian of the policy.

           3.     State the date that Defendant first received any notice from Plaintiff and/or the
    Insured concerning a claim for benefits under the Policy as a result of the Loss.

           4.     Identify all persons, believed or known by you, your agents, or attorneys to have
    any knowledge concerning any of the issues raised in the pleadings, specifying the subject matter
    about which the witness has knowledge.

           5.     State whether you have obtained any statements (oral, written and/or recorded)
    from any witness, the dates any such witness statements were taken, by whom any such witness
    statements were taken, and who has present possession, custody and control of any such
    statements.

            6.      Does the coverage/denial letter specifically cite to each and every Policy provision
    and all facts upon which you are relying in connection with your decision to deny, or otherwise
    not make full payment to Plaintiff? If your answer is anything other than an unqualified
    affirmative, identify all other Policy provisions and facts upon which you are relying for your
    denial or partial payment of Plaintiff’s Invoice.

            7.     Do you contend that all or any portion of the Loss is not covered by the Policy(ies)
    issued by you? Unless your answer is an unqualified negative, please set forth the specific amounts
    that you contend are not covered, and for each such amount, all facts, including exclusions or other
    provisions of the Policy(ies), supporting your contention that no coverage exists.

            8.      State each and every policy provision and all facts related to each upon which you
    are relying in connection with your decision to deny, or otherwise not make full payment to
    Plaintiff, on Plaintiff’s Invoice.

            9.      With reference to each of your affirmative defenses raised in this lawsuit, please
    describe all facts upon which you rely to substantiate such affirmative defense, including
    identification of all witnesses to each such fact.

           10.     With reference to each of your affirmative defenses raised in this lawsuit, please
    describe all documents and electronically stored information upon which you rely to substantiate
    such affirmative defense.




                                                                                            ILG File #: 11984
                                                                                              Claim #: 137081
                                                                        Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 41 of 156




            11.     Identify all persons involved on your behalf in determining whether to pay
    Plaintiff’s Invoice. For each person identified, identify the person’s employer and explain the role
    of each person identified in determining whether to pay Plaintiff’s Invoice.

             12.     To the extent your decision to deny payment of Plaintiff’s invoice or to fail to pay
    the entire amount of Plaintiff’s Invoice stemmed from facts you derived from evaluating the
    Insured’s Loss (meaning the part of the Insured’s claim that he\she did not assign to Plaintiff),
    state all facts regarding the Insured’s Loss and/or your investigation of the Insured’s Loss, upon
    which you relied in making your coverage determination involving Plaintiff’s Invoice.

            13.     Identify each document sent from Defendant, to Plaintiff and/or Insured in
    reference to the Loss involved herein, including the date sent, and the name of the individual who
    sent said communication.

            14.    Regarding the Loss, identify each person, who on behalf of Defendant, inspected
    the Insured Property, including their field of expertise and date of each inspection.

            15.    With regard to any third parties (including all adjusters including your direct
    employees, independent contractors, and all other persons or entities) who provided services,
    analysis, adjusting, or otherwise rendered opinions to you in adjusting or handling your
    determination of whether to pay Plaintiff’s Invoice, please identify as to Plaintiff’s Invoice: (a)
    the name of the individual(s) who hired/retained the third party on behalf of the Defendant; (b) the
    date and nature of the services provided by each third party; (c) all documents you provided to
    such third party; and (d) all documents such third party provided to you.

            16.     Did the Defendant request the Plaintiff and/or Insured to perform any post loss
    duties for the subject claim, including to submit to an Examination Under Oath, to submit a sworn
    proof of loss, to permit inspection, etc.

            17.     If your answer to the preceding interrogatory was yes, please state for each request,
    the exact request made, the date of the request, whether the request was written or oral, and what
    did the Plaintiff and/or Insured do in response to said request.

            18.    Have you heard or do you know about any statement or remark made by or on
    behalf of any party to this lawsuit, other than yourself, concerning any issue in this lawsuit? If so,
    state and name and address of each person who made the statement or statements, the name and
    address of each person who heard it, and the date, time, place and substance of each statement.

            19.    State the name and address of every person known to you, your agents, or your
    attorneys who has knowledge about, or possession, custody or control of, any estimate, model,
    plat, map, drawing, motion picture, videotape, or photograph pertaining to any fact or issue
    involved in this lawsuit; and describe as to each, what item such person has, the name and address
    of the person who took or prepared it, and the date it was taken or prepared.

           20.     List all amounts that Defendant has paid to Plaintiff and/or the Insured regarding
    the Loss. State the date each payment was made and what each payment was for.



                                                                                             ILG File #: 11984
                                                                                               Claim #: 137081
                                                                         Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 42 of 156




            21.    If an inspection of the Insured Property was performed within the past ten (10) years
    on the Insured Property, state the nature of the inspection, the name and address of any person who
    performed the inspection, the date of the inspection, and whether any written reports or
    communications were prepared in connection with the inspection and tests, and whether any
    photographs or video was taken.

            22.    Identify all insurance claims made by the Insured over the past ten (10) years. For
    each claim, identify the date of the claim, the amount of the claim, the insurance carrier, the policy
    number, the basis of the claim, and how the claim was resolved (e.g., payment, denial, still
    pending).




                                                                                             ILG File #: 11984
                                                                                               Claim #: 137081
                                                                         Case #: **_______________________**
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 43 of 156




           I have read the foregoing Answers to Interrogatories and do swear that they are true and
    correct to the best of my knowledge and belief.



                                                X ________________________________
                                                (Defendant)


    STATE OF __________________ )

    COUNTY OF_________________)


           SUBSCRIBED and sworn to (or affirmed) before me this _____ day of ___________,
    20____, by _________________,who is [ ] personally known or [ ] produced as identification a
    ________________________________, and who [ ] did [did not] take an oath.

           Dated this ____ day of ______________, 201___.




                                                        ____________________________
                                                        NOTARY PUBLIC,

                                                       State of ______________________

                                                        Commission Expires:




                                                                                         ILG File #: 11984
                                                                                           Claim #: 137081
                                                                     Case #: **_______________________**
     Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 44 of 156
Filing # 94969413 E-Filed 08/29/2019 11:49:20 AM


                    IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                            IN AND FOR PALM BEACH COUNTY, FLORIDA
                                 GENERAL JURISDICTION DIVISION


        KDH ARCHITECTURE, INC. a/a/o 921
        EVERGREEN DRIVE and 730
        WHITEMORE, LLC,

               Plaintiff,                         CASE NO.: 50-2019-CA-010125-XXXX-MB
        vs.

        WESTERN WORLD INSURANCE
        COMPANY,

             Defendant.
        ________________________________/

                    DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

               The Defendant, WESTERN WORLD INSURANCE COMPANY (“WWIC”), by

        and through the undersigned counsel, and pursuant to the Florida Rules of Civil

        Procedure, moves this Court to dismiss Plaintiff’s Complaint.        As grounds for this

        Motion, WWIC states the following:

          I.   FACTUAL BACKGROUND

               1.      Plaintiff’s Complaint, supposedly, is based upon an insurance policy

        issued by WWIC to 921 EVERGREEN DRIVE and 730 WHITEMORE, LLC (the

        “Insureds”).

               2.      According to the Complaint, after a loss purportedly occurred on the

        Insured’s property, the Insureds contracted with Plaintiff for “architectural services.” In

        place of payment for said services, the Insureds then purportedly assigned its right to




                                                    1
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 45 of 156




    receive benefits under the insurance policy to Plaintiff.1

               3.       However, the Complaint fails to attach a copy of the policy, the contract

    claimed to be breached, in violation of Florida Rule of Civil Procedure 1.130(a).

               4.       Accordingly, WWIC requests that the Court dismiss Plaintiff’s Complaint.

        II.    ARGUMENT AND CITATION TO AUTHORITY

               5.       Florida Rule of Civil Procedure 1.420(b) provides:

                        (b) Involuntary Dismissal. Any party may move for
                        dismissal of an action or of any claim against that party for
                        failure of an adverse party to comply with these rules or any
                        order of the court.

               6.       Florida Rule of Civil Procedure 1.130(a) provides:

                        (a) Instruments Attached.         All bonds, notes, bills of
                        exchange, contracts, accounts, or documents upon which
                        action may be brought or defense made, or a copy thereof or
                        a copy of the portions thereof material to the pleadings, shall
                        be incorporated in or attached to the pleading. . ..

    (Emphasis in original) Courts have not hesitated to enforce this rule. Its requirements

    are not merely procedural niceties, nor technicalities.

               7.       In Safeco Ins. Co. of Am. v. Ware, 401 So. 2d 1129 (Fla. 4th DCA 1981),

    an insured sued an insurer for damages arising out of an automobile accident. The

    lawsuit was based on an insurance policy. But, the insured failed to attach a copy of

    that policy to the complaint. The insurer moved to dismiss pursuant to Rule 1.130. The

    trial court struck the insurer’s motion as frivolous. It then proceeded to enter a default

    judgment against the insurer. The insurer appealed.

               8.       The Fourth District Court of Appeal reversed the judgment and remanded


    1
        See Complaint at ¶ 17 (the purported “Assignment” is attached to Plaintiff’s Complaint as Exhibit “A”).
                                                               2
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 46 of 156




    the case to the trial court for further proceedings. It held the “motion to dismiss was not

    frivolous; it was perfectly appropriate.   Therefore, the order striking the motion and

    entering default judgment was erroneous.”       Ware, 401 So. 2d at 1130.       See also,

    Walters v. Ocean Gate Phase I Condo., 925 So. 2d 440 (Fla. 5th DCA 2006) (a

    complaint based on a written instrument does not state a cause of action until the

    instrument or an adequate portion thereof, is attached to or incorporated in the

    complaint).

          9.      Here, the Complaint is based upon the policy. However, Plaintiff failed to

    attach a copy of the policy to the Complaint. Thus, the Complaint fails to state a cause

    of action as a matter of law. Walters, 925 So. 2d at 440; Ware, 401 So. 2d at 1130.

    Accordingly, Plaintiff’s Complaint should be dismissed.


          WHEREFORE, Defendant, WESTERN WORLD INSURANCE COMPANY,

    respectfully requests that this Honorable Court issue an Order dismissing Plaintiff’s

    Complaint, and any and all such further relief as this Court may deem just and proper.




                                                3
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 47 of 156




                                         BUTLER WEIHMULLER KATZ CRAIG LLP




                                        TROY J. SEIBERT, ESQ.
                                        Florida Bar No.: 0084668
                                        tseibert@butler.legal
                                        MAXWELL H. STAPE, ESQ.
                                        Florida Bar No.: 1007734
                                        mstape@butler.legal
                                        Secondary: knelson@butler.legal
                                                    msmalls@butler.legal
                                        400 N. Ashley Drive, Suite 2300
                                        Tampa, Florida 33602
                                        Telephone: (813) 281-1900
                                        Facsimile: (813) 281-0900
                                        Attorneys for Defendant,
                                        Western World Insurance Company


                                 CERTIFICATE OF SERVICE

          I certify that a copy hereof has been furnished to:

                 Kimesha S. Smith, Esq.
                 Insurance Litigation Group, P.A.
                 1500 NE 162nd Street
                 Miami, FL 33162
                 Serrvice@ILGPA.com
                 Attorney for Plaintiff,
                 Kdh Architecture, Inc. a/a/o 921
                 Evergreen Drive and 730
                 Whitemore, LLC

          by E-portal on August 29, 2019.




                                                    TROY J. SEIBERT, ESQ




                                                4
     Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 48 of 156
Filing # 94969413 E-Filed 08/29/2019 11:49:20 AM


                  IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                          IN AND FOR PALM BEACH COUNTY, FLORIDA
                               GENERAL JURISDICTION DIVISION


        KDH ARCHITECTURE, INC. a/a/o 921
        EVERGREEN DRIVE and 730
        WHITEMORE, LLC,

               Plaintiff,                          CASE NO.: 50-2019-CA-010125-XXXX-MB
        vs.

        WESTERN WORLD INSURANCE
        COMPANY,

             Defendant.
        ________________________________/

                                  DEFENDANT’S NOTICE OF SERVING
                            FIRST SET OF INTERROGATORIES TO PLAINTIFF

         TO:    Kimesha S. Smith, Esq.
                Insurance Litigation Group, P.A.
                1500 NE 162nd Street
                Miami, FL 33162
                Serrvice@ILGPA.com
                Attorney for Plaintiff,
                Kdh Architecture, Inc. a/a/o 921
                Evergreen Drive and 730
                Whitemore, LLC

               Defendant, WESTERN WORLD INSURANCE COMPANY (“WWIC”), by and

        through its undersigned counsel and pursuant to Florida Rule of Civil Procedure 1.340,

        hereby files its notice of serving First Set of Interrogatories to Plaintiff, KDH

        ARCHITECTURE, INC. a/a/o 921 EVERGREEN DRIVE and 730 WHITEMORE, LLC,

        numbered 1 through 3, which are to be answered within thirty (30) days after service, by

        Plaintiff, in writing and under oath, inserting said answers upon the original and serving

        the original on Defendant’s counsel pursuant to the Florida Rules of Civil Procedure.
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 49 of 156




                                      BUTLER WEIHMULLER KATZ CRAIG LLP




                                      TROY J. SEIBERT, ESQ.
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                                      tseibert@butler.legal
                                      MAXWELL H. STAPE, ESQ.
                                      Florida Bar No.: 1007734
                                      mstape@butler.legal
                                      Secondary: knelson@butler.legal
                                                  msmalls@butler.legal
                                      400 N. Ashley Drive, Suite 2300
                                      Tampa, Florida 33602
                                      Telephone: (813) 281-1900
                                      Facsimile: (813) 281-0900
                                      Attorneys for Defendant,
                                      Western World Insurance Company


                                 CERTIFICATE OF SERVICE

          I certify that the foregoing Notice has been furnished by e-Portal and that the

    foregoing Notice and Answers have been furnished to the above-named addressee via

    e-mail on August 29, 2019.


                                                 TROY J. SEIBERT, ESQ.




                                             2
     Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 50 of 156
Filing # 96161072 E-Filed 09/23/2019 06:03:54 PM


                  IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                          IN AND FOR PALM BEACH COUNTY, FLORIDA
                               GENERAL JURISDICTION DIVISION


        KDH ARCHITECTURE INC. a/a/o
        921 EVERGREEN DRIVE AND 730
        WHITEMORE, LLC,

               Plaintiff,                            CASE NO.: 2019-CA-010125
        vs.

        WESTERN WORLD INSURANCE
        COMPANY,

             Defendant.
        ________________________________/

                    DEFENDANT’S NOTICE OF SERVING UNVERIFIED ANSWERS
                       TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

         TO:    Kimesha S. Smith, Esq.
                Insurance Litigation Group, P.A.
                1500 Northeast 162nd Street
                Miami, FL 33162-4716
                service@ILGPA.COM
                Counsel for Plaintiff, KDH Architecture, Inc.
                a/a/o 921 Evergreen Drive and 730 Whitemore, LLC


               COMES NOW, the Defendant, WESTERN WORLD INSURANCE COMPANY, by

        and through its undersigned counsel, and files this Notice of Serving its Answers to

        Plaintiff, KDH ARCHITECTURE INC. a/a/o 921 EVERGREEN DRIVE AND 730

        WHITEMORE, LLC ‘s First Set of Interrogatories propounded on August 9, 2019,

        numbered one (1) through twenty-two (22).
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 51 of 156




                                      BUTLER WEIHMULLER KATZ CRAIG LLP




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                                      400 N. Ashley Drive, Suite 2300
                                      Tampa, Florida 33602
                                      Telephone: (813) 281-1900
                                      Facsimile: (813) 281-0900
                                      Counsel for Defendant,
                                      Western World Insurance Company

                               CERTIFICATE OF SERVICE

          I certify that the foregoing Notice has been furnished by e-Portal and that the

    foregoing Notice and Answers have been furnished to the above-named addressee via

    e-mail on September 23, 2019.




                                        TROY J. SEIBERT, ESQ.




                                             2
     Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 52 of 156
Filing # 96161072 E-Filed 09/23/2019 06:03:54 PM


                    IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                            IN AND FOR PALM BEACH COUNTY, FLORIDA
                                 GENERAL JURISDICTION DIVISION


        KDH ARCHITECTURE INC. a/a/o
        921 EVERGREEN DRIVE AND 730
        WHITEMORE, LLC,

               Plaintiff,                               CASE NO.: 2019-CA-010125
        vs.

        WESTERN WORLD INSURANCE
        COMPANY,

             Defendant.
        ________________________________/

                             DEFENDANT'S RESPONSE TO PLAINTIFF'S
                                FIRST REQUEST FOR ADMISSIONS

               COMES NOW, the Defendant, WESTERN WORLD INSURANCE COMPANY, by

        and through its undersigned counsel, and responds to Plaintiff, KDH ARCHITECTURE

        INC. a/a/o 921 EVERGREEN DRIVE AND 730 WHITEMORE, LLC ‘s First Request for

        Admissions, certificate of service date August 9, 2019, as follows:

               1.      On December 15, 2017, the Insured had an insurance Policy with

        Defendant that was in full force and effect for the Insured Property located at 921

        Evergreen Drive, Lake Park , Florida 33403.

        RESPONSE:

        Admitted that the Defendant, issued a policy to the named insured covering the
        property located at 921 Evergreen Drive Lake Park, FL 33403, during the period
        extending from March 17, 2017, until March 17, 2018; otherwise, denied.

               2.      Damage caused by a sudden and accidental water loss is covered under

        the Policy.
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 53 of 156




    RESPONSE:

    Admitted that the policy speaks for itself; otherwise denied.

           3.     Ensuing damage caused by water is covered under the Policy.

    RESPONSE:

    Admitted that the policy speaks for itself; otherwise denied.

           4.     Damage caused by water is not expressly excluded from coverage under

    the Policy.

    RESPONSE:

    Admitted that the policy speaks for itself; otherwise denied.

           5.     Ensuing damage caused by water is not expressly excluded from

    coverage under the Policy.

    RESPONSE:

    Admitted that the policy speaks for itself; otherwise denied.

           6.     Architecture services are covered under the Policy.

    RESPONSE:

    Admitted that the policy speaks for itself; otherwise denied.

           7.     Defendant was timely notified that the Loss occurred at the Insured

    Property.

    RESPONSE:

    Admitted.

           8.     The Insured has complied with all prerequisites for receiving benefits

    under the Policy for the Loss.




                                               2
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 54 of 156




    RESPONSE:

    Denied.

           9.     The above-named Defendant is properly named in this lawsuit.

    RESPONSE:

    Admitted.

           10.    The Loss that occurred on December 15, 2017 at the Insured Property is a

    covered loss under the Policy.

    RESPONSE:

    Admitted that limited coverage was extended to the insured, otherwise denied.

           11.    Before Plaintiff sued Defendant in this lawsuit, Defendant received

    Plaintiff’s Assignment of Benefits and Plaintiff’s Invoice.

    RESPONSE:

    Admitted that a document titled Assignment of Insurance Benefits was received,
    otherwise denied.

           12.    Pursuant to the Assignment of Benefits, the Insured assigned to Plaintiff

    the right to sue Defendant to collect from Defendant the amount of Plaintiff’s Invoice.

    RESPONSE:

    Admitted that the document Assignment of Insurance Benefits speaks for itself,
    otherwise denied.

           13.    Pursuant to the Assignment of Benefits, the Insured assigned to Plaintiff

    the Insured’s right to demand that Defendant pay Plaintiff’s Invoice.

    RESPONSE:

    Admitted that the document Assignment of Insurance Benefits speaks for itself,
    otherwise denied.




                                                  3
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 55 of 156




           14.    Plaintiff is an after-loss assignee under the Policy for the services Plaintiff

    provided to the Insured Property.

    RESPONSE:

    Admitted that the document Assignment of Insurance Benefits speaks for itself,
    otherwise denied.

           15.    Through the Assignment of Benefits, the Insured assigned to Plaintiff

    insurance benefits limited to the services Plaintiff provided to the Insured Property.

    RESPONSE:

    Admitted that the document Assignment of Insurance Benefits speaks for itself,
    otherwise denied.

           16.    The signature on the Assignment of Benefits is that of the Insured and/or

    the Insured’s representative.

    RESPONSE:

    After diligent search, WESTERN WORLD INSURANCE COMPANY is unable to
    confirm or deny the fact set forth in Plaintiff’s Request for Admission No. 16.

           17.    Defendant assigned claim number 137081 to the Loss.

    RESPONSE:

    Admitted.

           18.    Defendant denied coverage for payment of Plaintiff’s Invoice.

    RESPONSE:

    Denied.

           19.    Prior to Plaintiff suing Defendant in this lawsuit, Defendant had the

    opportunity to evaluate Plaintiff’s Invoice.

    RESPONSE:

    Denied.



                                                   4
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 56 of 156




          20.    Defendant’s claims file and electronic claim notes are kept in the ordinary

    course of business.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.           Moreover, the requested
    information is irrelevant to this case, and not reasonably calculated to lead to the
    discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

          21.    Defendant had the opportunity to inspect the Insured Property prior to

    issuing the insurance Policy to the Insured.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.           Moreover, the requested
    information is irrelevant to this case, and not reasonably calculated to lead to the
    discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

          22.    Defendant inspected the Insured Property prior to the Loss.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.           Moreover, the requested
    information is irrelevant to this case, and not reasonably calculated to lead to the
    discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).




                                                   5
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 57 of 156




           23.    Defendant authored and/or drafted the Policy, and has a true and correct

    copy of the Policy in its possession.

    RESPONSE:

    Admitted.

           24.    Following a covered loss under the Policy, payment may be made to an

    architecture company without the consent of the Defendant.

    RESPONSE:

    Defendant objects to this Request as vague, ambiguous, and unintelligible as a
    result of Plaintiff’s failure to identify the party assumed to be making payment to
    an unidentified “architecture company.”


                                            BUTLER WEIHMULLER KATZ CRAIG LLP




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                                            Telephone: (813) 281-1900
                                            Facsimile: (813) 281-0900
                                            Counsel for Defendant,
                                            Western World Insurance Company




                                                  6
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 58 of 156




                                 CERTIFICATE OF SERVICE

          I certify that a copy hereof has been furnished to:

                 Kimesha S. Smith, Esq.
                 Insurance Litigation Group, P.A.
                 1500 Northeast 162nd Street
                 Miami, FL 33162-4716
                 service@ILGPA.COM
                 Counsel for Plaintiff, KDH Architecture, Inc.
                 a/a/o 921 Evergreen Drive and 730 Whitemore, LLC

          by eportal on September 23, 2019.




                                         TROY J. SEIBERT, ESQ.




                                                7
     Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 59 of 156
Filing # 96161072 E-Filed 09/23/2019 06:03:54 PM


                    IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                            IN AND FOR PALM BEACH COUNTY, FLORIDA
                                 GENERAL JURISDICTION DIVISION


        KDH ARCHITECTURE INC. a/a/o
        921 EVERGREEN DRIVE AND 730
        WHITEMORE, LLC,

               Plaintiff,                                CASE NO.: 2019-CA-010125
        vs.

        WESTERN WORLD INSURANCE
        COMPANY,

             Defendant.
        ________________________________/

                             DEFENDANT'S RESPONSE TO PLAINTIFF'S
                                FIRST REQUEST FOR PRODUCTION

               COMES NOW, the Defendant, WESTERN WORLD INSURANCE COMPANY, by

        and through its undersigned counsel, and responds to Plaintiff, KDH ARCHITECTURE

        INC. a/a/o 921 EVERGREEN DRIVE AND 730 WHITEMORE, LLC ‘s First Request for

        Production, certificate of service date August 9, 2019, as follows:

               1.      A certified and complete copy of the Policy that Defendant issued to the

        Insured that was in effect on or about December 15, 2017.

        RESPONSE:

        A certified copy of policy NPP8357671, effective March 17, 2017 through March
        17, 2018 will be provided contemporaneously with Defendant’s Non-Privileged
        Documents Produced Pursuant to this response.

               2.      All documents reflecting Defendant’s inspection(s) of the Insured Property

        after December 15, 2017.

        RESPONSE:

        WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 60 of 156




    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          3.     All documents reflecting Defendant’s inspection(s) of the Insured Property

    before December 15, 2017, covering the preceding five (5) years.

    RESPONSE:

    WWIC objects to this request to the extent that it seeks information which does
    not pertain to the subject claim no. 137081, as said claim is the only matter at
    issue in the above-captioned lawsuit.

          4.     All documents reflecting Defendant’s inspection(s) of the Insured Property

    during the Defendant’s underwriting of the Insured’s Policy.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.        Moreover, the requested
    documents are irrelevant to this case, and not reasonably calculated to lead to
    the discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835



                                                2
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 61 of 156




    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

          5.     All documents reflecting Defendant’s inspection(s) of the Insured Property

    during Defendant’s underwriting of all insurance policies Defendant issued to the

    Insured for the Insured Property prior to December 15, 2017.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.           Moreover, the requested
    documents are irrelevant to this case, and not reasonably calculated to lead to
    the discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

          6.     All photographs and/or videos submitted by Plaintiff to Defendant in any

    way related to the Loss or Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by



                                              3
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 62 of 156




    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          7.     All photographs and/or videos submitted by Defendant to Plaintiff in any

    way related to the Loss or Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          8.     All photographs and/or videos taken by Defendant in any way related to

    the Loss or Invoice.




                                             4
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 63 of 156




    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          9.     All correspondence, emails and all other documents provided by Plaintiff

    and/or the Insured, to Defendant in any way related to the Loss or Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not



                                                5
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 64 of 156




    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

           10.    All correspondence, emails and all other documents provided by

    Defendant, to Plaintiff and/or the Insured in any way related to the Loss or Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).




                                                6
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 65 of 156




    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

           11.     All documents reflecting Defendant’s efforts to investigate the Loss or

    Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

           12.     All documents documenting or supporting Defendant’s affirmative

    defenses, or that Defendant anticipates will support Defendant’s reasons for denying or

    failing to pay the full amount of Plaintiff’s Invoice.




                                                    7
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 66 of 156




    RESPONSE:

    WWIC has filed a motion to dismiss. If and when Plaintiff files a valid Complaint,
    WWIC will assert any and all affirmative defenses in response thereto.

          13.    All documents, including but not limited to estimates, reports, testing,

    photographs and/or videos created by Defendant, Defendant’s adjusters, Defendant’s

    loss consultants, or by any expert retained by Defendant, including but not limited to

    plumbers and engineers, in any way related to the Loss and/or Plaintiff’s Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
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    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963). Furthermore, WWIC objects to this request as it is premature.
    Discovery is ongoing and WWIC will name its experts and provide information
    regarding same in accordance with this Court’s Order requiring the disclosure of
    testifying witnesses.

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.




                                                8
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 67 of 156




           14.    All documents identified in Defendant’s Answers to Plaintiff’s First Set of

    Interrogatories.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

           15.    A current curriculum vitae and all biographical information for all person(s)

    who inspected the Insured Property for or on behalf of Defendant following the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile



                                                9
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 68 of 156




    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963). Furthermore, WWIC objects to this request as it is premature.
    Discovery is ongoing and WWIC will name its experts and provide information
    regarding same in accordance with this Court’s Order requiring the disclosure of
    testifying witnesses.

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production

          16.    All documents in any way related to the damage caused to the Insured

    Property from the alleged Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by



                                            10
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 69 of 156




    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

           17.    All documents documenting or supporting Plaintiff’s claim for collection of

    its Invoice from Defendant in this lawsuit.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.




                                                  11
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 70 of 156




           18.     All documents related to Plaintiff’s Invoice or the Insured Property that

    support how Defendant determined whether to pay Plaintiff’s Invoice, and/or how much

    of Plaintiff’s invoice to pay.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.

           19.     All documents reflecting the relationship between Defendant and the

    adjuster that assisted Defendant in investigating, adjusting, and/or evaluating Plaintiff’s

    Invoice.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.        Moreover, the requested



                                                12
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 71 of 156




    documents are irrelevant to this case, and not reasonably calculated to lead to
    the discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

           20.    All documents that support any denials by Defendant of Plaintiff’s First

    Request for Admissions.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    its responses to Plaintiff’s Request for Admissions.

           21.    All reports relating to the damage the Insured Property sustained during or

    as a result of the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,



                                               13
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 72 of 156




    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

            22.   All reports relating to the condition of the Insured Property before the

    Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by



                                              14
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 73 of 156




    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

          23.   All reports relating to the condition of the Insured Property after the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

          24.   All documents showing when the Insured notified Defendant of the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater



                                              15
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 74 of 156




    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          25.   All documents showing when Plaintiff notified Defendant of the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).




                                             16
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 75 of 156




    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

            26.    All electronic claim notes made by or on behalf of Defendant in any way

    relating to Plaintiff’s Invoice, the Loss, or the condition of Insured Property at the time of

    Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

            27.    The part of Defendant’s claim file that Defendant reasonably expects to

    rely upon at trial in this action.

    RESPONSE:

    WWIC objects to this request as discovery is ongoing. Defendant will name its
    exhibits and provide information regarding same in accordance with this Court’s
    Order requiring the disclosure of trial exhibits.




                                                 17
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 76 of 156




           28.     The part of Defendant’s claim file that Defendant reasonably expects to

    use at trial in support of its affirmative defenses.

    RESPONSE:

    WWIC has filed a motion to dismiss. If and when Plaintiff files a valid Complaint,
    WWIC will assert any and all affirmative defenses in response thereto.
    Furthermore, WWIC objects to this request as discovery is ongoing. Defendant
    will name its exhibits and provide information regarding same in accordance with
    this Court’s Order requiring the disclosure of trial exhibits.

           29.     All documents that Defendant reasonably expects to rely upon at trial in

    this action.

    RESPONSE:

    WWIC objects to this request as discovery is ongoing. Defendant will name its
    exhibits and provide information regarding same in accordance with this Court’s
    Order requiring the disclosure of trial exhibits.

           30.     All documents that Defendant reasonably expects to use at trial in support

    of its affirmative defenses.

    RESPONSE:

    WWIC has filed a motion to dismiss. If and when Plaintiff files a valid Complaint,
    WWIC will assert any and all affirmative defenses in response thereto.
    Furthermore, WWIC objects to this request as discovery is ongoing. Defendant
    will name its exhibits and provide information regarding same in accordance with
    this Court’s Order requiring the disclosure of trial exhibits.

           31.     The part of Defendant’s claim file that supports the action taken by

    Defendant in paying or refusing to pay Plaintiff’s Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,



                                                  18
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 77 of 156




    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.

           32.    All documents that support the action taken by Defendant in paying or

    refusing to pay Plaintiff’s Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by



                                             19
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 78 of 156




    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.

           33.     All estimates prepared by Defendant in any way related to the amount

    claimed by Plaintiff in this action and/or to Plaintiff’s Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

           34.     All estimates prepared by architecture companies that Defendant may use

    to support its reason for non-payment or partial payment of Plaintiff’s Invoice.



                                                   20
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 79 of 156




    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.

           35.     All estimates prepared by adjusters, contractors, loss consultants, or any

    other person or entity for Defendant, that are in any way related to the amount claimed

    by Plaintiff in this action and/or to Plaintiff’s invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.



                                                    21
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 80 of 156




    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

          36.    All estimates prepared by adjusters, contractors, loss consultants, or any

    other person or entity for Defendant, that Defendant may use to support its reason for

    non-payment or partial payment of Plaintiff’s invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).




                                                22
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 81 of 156




           37.    All documents Defendant provided to the person(s) who investigated,

    adjusted or otherwise evaluated Plaintiff’s Invoice or the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

           38.    All documents reflecting any communication between Defendant, and any

    of Defendant’s agents, independent adjusters, plumbers, engineers or other

    representatives, in any way related to Plaintiff’s Invoice or the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case



                                                 23
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 82 of 156




    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          39.       All underwriting documents in any way relating to the condition of the

    Insured Property before the Loss.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.           Moreover, the requested
    documents are irrelevant to this case, and not reasonably calculated to lead to
    the discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

          40.       The underwriting file kept by Defendant regarding the Insured Property

    dating from the inception of Defendant’s Policy on the Insured Premises through the

    present time.




                                               24
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 83 of 156




    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.           Moreover, the requested
    documents are irrelevant to this case, and not reasonably calculated to lead to
    the discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

           41.    All insurance applications the Insured submitted to Defendant regarding

    the Insured Property.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.           Moreover, the requested
    documents are irrelevant to this case, and not reasonably calculated to lead to
    the discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

           42.    All documents containing any facts supporting any of Defendant’s

    affirmative defenses.

    RESPONSE:

    WWIC has filed a motion to dismiss. If and when Plaintiff files a valid Complaint,
    WWIC will assert any and all affirmative defenses in response thereto.

           43.    All documents containing any facts supporting any of Defendant’s reasons

    for failing to pay and/or reducing the amount paid to Plaintiff for Plaintiff’s Invoice.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case



                                                  25
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 84 of 156




    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.

          44.    All documents supporting any allegation or contention by Defendant that

    Plaintiff’s Invoice is related to damages involving a prior claim made by Insured or prior

    damage sustained by an Insured.

    RESPONSE:

    WWIC objects to this request to the extent that it seeks information which does
    not pertain to the subject claim no. 137081, as said claim is the only matter at
    issue in the above-captioned lawsuit.

          45.    All documents supporting any allegation or contention by Defendant that

    Plaintiff’s Invoice is related to damages involving a subsequent claim made by Insured

    or subsequent damage sustained by an Insured.

    RESPONSE:

    WWIC objects to this request to the extent that it seeks information which does
    not pertain to the subject claim no. 137081, as said claim is the only matter at
    issue in the above-captioned lawsuit.



                                               26
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 85 of 156




          46.    All documents supporting any allegation or contention by Defendant that

    the Insured’s damages from the Loss are related to damages involving a prior claim

    made by Insured or prior damage sustained by an Insured.

    RESPONSE:

    WWIC objects to this request to the extent that it seeks information which does
    not pertain to the subject claim no. 137081, as said claim is the only matter at
    issue in the above-captioned lawsuit.

          47.    All documents supporting any allegation or contention by Defendant that

    related to damages involving a subsequent claim made by Insured or subsequent

    damage sustained by an Insured.

    RESPONSE:

    WWIC objects to this request to the extent that it seeks information which does
    not pertain to the subject claim no. 137081, as said claim is the only matter at
    issue in the above-captioned lawsuit.

          48.    All signed sworn proofs of loss submitted by the Insured to Defendant

    regarding the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.




                                            27
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 86 of 156




    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; Subject to and without
    waiving the foregoing objections; WWIC refers Plaintiff to Defendant’s Non-
    Privileged Documents Produced Pursuant to Plaintiff’s Request for Production.

           49.    Complete and legible copies of all building permits and all other records

    obtained from the county or other municipality, applicable to the Insured Property

    covering a five year span prior to the Loss.

    RESPONSE:

    WWIC objects to this request as it seeks bad faith discovery. Such a request is
    improper during an underlying contract action.           Moreover, the requested
    documents are irrelevant to this case, and not reasonably calculated to lead to
    the discovery of admissible evidence. State Farm Florida Ins. Co. v. Gallmon, 835
    So.2d 389 (Fla. 2d DCA 2003); see also State Farm Fire & Casualty Co. v. Valido
    662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater Oaks Bank, 421
    So.2d 783 (Fla. 2d DCA 1982); State Farm Mut. Auto. Ins. Co. v. O’Hearn, 975
    So.2d 633, 637-38 (Fla. 2nd DCA 2008).

           50.    All documents evidencing all payments made by Defendant to the Insured

    and/or for the Insured’s benefit involving a Prior Claim made by Insured or prior damage

    sustained by an Insured.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater



                                                   28
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 87 of 156




    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.

          51.   All documents evidencing all payments made by Defendant to the Insured

    and/or for the Insured’s benefit involving a Subsequent Claim made by Insured or

    subsequent damage sustained by an Insured.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d



                                            29
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 88 of 156




    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.

           52.    All documents evidencing all payments made by Defendant to the Insured

    and/or for the Insured’s benefit involving the claim for the same date of Loss alleged in

    the Complaint filed in this action.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.




                                               30
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 89 of 156




          53.    All correspondence and documents between Defendant and any third

    parties, excluding Defendant’s attorney, in any way related to (1) the condition of the

    Insured Property before the Loss; or (2) the damage to the Insured Property sustained

    during the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          54.    All reports relating to Plaintiff’s Invoice or to the damages sustained to

    Insured Property during or as a result of the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain



                                                31
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 90 of 156




    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

          55.    All documents showing or pertaining to any repairs made to the Insured

    Property by or on behalf of the Insured prior to the Loss, including but not limited to

    repair invoices, estimates, canceled checks, credit card receipts, contracts for repair,

    receipts, certificates of completion, notices of commencement, special assessment

    notices, payment logs, building permits and building permit applications.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the



                                               32
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 91 of 156




    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

           56.    All documents showing or pertaining to any repairs made to the Insured

    Property by or on behalf of the Insured after the Loss, including but not limited to repair

    invoices, estimates, canceled checks, credit card receipts, contracts for repair, receipts,

    certificates of completion, notices of commencement, special assessment notices,

    payment logs, building permits and building permit applications.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852



                                                33
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 92 of 156




    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          57.    All transcripts of any Examinations Under Oath given or provided by the

    Insured regarding the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          58.    All transcripts of any Examinations Under Oath given or provided by

    anyone besides the Insured regarding the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,



                                             34
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 93 of 156




    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production.

          59.    All recorded statements given or provided by the Insured regarding the

    Loss. This request seeks a copy of the recording itself, not Defendant’s transcript of the

    recorded statement.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance



                                               35
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 94 of 156




    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; none.

          60.    All recorded statements given or provided by anyone besides the Insured

    regarding the Loss. This request seeks a copy of the recording itself, not Defendant’s

    transcript of the recorded statement.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; none.




                                             36
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 95 of 156




          61.      All Coverage Letters sent by Defendant to the Insured in any way related

    to the Loss.

    RESPONSE:

    WWIC objects to this Request to the extent it seeks Attorney-Client privilege,
    carrier work product and/or information protected by the work product doctrine.
    Moreover, WWIC objects to this Request to the extent the Plaintiff seeks to obtain
    WWIC’S entire claim file regarding the subject claim as it is contrary to Florida
    law. The “materials are either irrelevant to the first-party dispute that this case
    presents or are privileged work product.” State Farm Florida Ins. Co. v. Gallmon,
    835 So.2d 389 (Fla. 2d DCA 2003); Kindl v. United Services Automobile
    Association, 49 So.3d 807 (Fla. 2d DCA 2003); Gov’t Employees Ins. Co. v.
    Rodriguez, 960 So.2d 794 (Fla. 3d DCA 2007); see also State Farm Fire & Casualty
    Co. v. Valido, 662 So.2d 1012 (Fla. 3d DCA 1995); U.S. Fire Ins. Co. v. Clearwater
    Oaks Bank, 421 So.2d 783 (Fla. 2d DCA 1982). Further, the claim file is not
    discoverable in this breach of contract action pursuant to Nationwide Insurance
    Co. of Fla. v. Demmo, 57 So.3d 982 (Fla. 2d DCA 2011), and State Farm Florida Ins.
    Co. v. Ramirez, 2012 WL 1469963 (Fla. 3d DCA April 30, 2012). WWIC relies on the
    foregoing cases in support of its objection.

    Additionally, to the extent that this Request seeks information prepared by
    WWIC’S consulting experts and/or the production of documents prepared by
    WWIC’S consulting experts said documents are not discoverable. See Ruiz v.
    Brea, 489 So.2d 1136 (Fla. 3d DCA 1986); Pinellas County v. Carlson, 242 So.2d
    714 (Fla. 1970); Motor Union (Aviation) Orion Ins. Co. v. Levenson, 153 So.2d 852
    (Fla. 3d DCA 1963).

    Subject to and without waiving the foregoing objections; WWIC refers Plaintiff to
    Defendant’s Non-Privileged Documents Produced Pursuant to Plaintiff’s Request
    for Production. Specifically, WWIC refers Plaintiff to its correspondence dated
    January 31, 2018, and the subject policy.




                                               37
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 96 of 156




                                         BUTLER WEIHMULLER KATZ CRAIG LLP




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                                         400 N. Ashley Drive, Suite 2300
                                         Tampa, Florida 33602
                                         Telephone: (813) 281-1900
                                         Facsimile: (813) 281-0900
                                         Counsel for Defendant,
                                         Western World Insurance Company

                                 CERTIFICATE OF SERVICE

          I certify that a copy hereof has been furnished to:

                 Kimesha S. Smith, Esq.
                 Insurance Litigation Group, P.A.
                 1500 Northeast 162nd Street
                 Miami, FL 33162-4716
                 service@ILGPA.COM
                 Counsel for Plaintiff, KDH Architecture, Inc.
                 a/a/o 921 Evergreen Drive and 730 Whitemore, LLC

          by e-Portal on September 23, 2019.




                                         TROY J. SEIBERT, ESQ.




                                               38
     Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 97 of 156
Filing # 96161072 E-Filed 09/23/2019 06:03:54 PM


                      IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                              IN AND FOR PALM BEACH COUNTY, FLORIDA
                                   GENERAL JURISDICTION DIVISION


        KDH ARCHITECTURE INC. a/a/o
        921 EVERGREEN DRIVE AND 730
        WHITEMORE, LLC,

                 Plaintiff,                                     CASE NO.: 2019-CA-010125
        vs.

        WESTERN WORLD INSURANCE
        COMPANY,

              Defendant.
        ________________________________/

                                 DEFENDANT’S NOTICE OF FILING PRIVILEGE LOG
                              IN RESPONSE TO PLAINTIFF’S REQUEST TO PRODUCE

                 COMES NOW the Defendant, WESTERN WORLD INSURANCE COMPANY

        (“WWIC”), by and through its undersigned counsel, and serves this Notice of Filing its

        Privilege Log.            This Privilege Log will be used in support of Defendant's Response to

        Plaintiffs’ First Request to Produce.


                              1
              Bates Range                Date      Summary      Author      Recipient      Privilege Asserted

                                                                                                                2
        WWIC-        WWIC-            6/6/2018   Claim Notes   WWIC        N/A           Carrier Work Product
        000001       000004




        1
         The Bates Ranges correspond to the following Bates label prefix: WWIC_;
        2
          As used herein, the phrase “Carrier Work Product; Proprietary” refers to the protection established by,
        but not necessarily limited to, the following cases: See Nationwide Ins. Co. of Fla. v. Demmo, 57 So. 3d
        982 (Fla. 2d DCA 2011); Seminole Cas. Ins. Co. v. Mastrominas, 6 So. 3d 1256, 1258 (Fla. 2d DCA
        2009); State Farm Florida Ins. Co. v. Ramirez, 86 So. 3d 1198 (Fla. 3d DCA 2012); State Farm Fire and
        Cas. Co. v. Valido, 662 So. 2d 1012 (Fla. 3d DCA 1995); State Farm Florida Ins. Co. v. Aloni, 101 So. 3d
        412 (Fla. 4th DCA 2012); State Farm Mutual Automobile Insurance Co. v. Tranchese, 49 So. 3d 809, 810
        (Fla. 4th DCA 2010); Travelers Indem. Co. of Connecticut v Attorney’s Title Ins.Fund, Inc., 2015 WL
        6869365 (M.D. Fla. Nov. 9, 2015).
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 98 of 156




                     1
       Bates Range          Date       Summary           Author     Recipient    Privilege Asserted


    WWIC-     WWIC-      3/17/2017    Policy            WWIC        921         Carrier Work Product
    000015    000017                  Documents                     Evergreen
                                                                    and 730
                                                                    Whitmore,
                                                                    LLC
    WWIC-     WWIC-      3/17/2017    Internal Form     WWIC        N/A         Carrier Work Product
    000030    000030


    WWIC-     WWIC-      5/8/2018     Internal Form     WWIC        N/A         Carrier Work Product
    000032    000032


    WWIC-     WWIC-      4/19/2018    Internal Form     WWIC                    Carrier Work Product
    000034    000034


    WWIC-     WWIC-      2/21/2018    Email             WWIC        Team One    Carrier Work Product
    000036    000036                                                Adjusting
                                                                    Services,
                                                                    LLC
    WWIC-     WWIC-      2/2/2018     Email             Team One    WWIC        Carrier Work Product
    000042    000042                                    Adjusting
                                                        Services,
                                                        LLC
    WWIC-     WWIC-      1/3/2018     Letter            Team One    WWIC        Carrier Work Product
    000043    000045                                    Adjusting
                                                        Services,
                                                        LLC
    WWIC-     WWIC-      12/28/2017   Photographs       Team One    WWIC        Carrier Work Product
    0000046   000087                  *Redacted*        Adjusting
                                                        Services,
                                                        LLC
    WWIC-     WWIC-      12/28/2017   Report            Team One    WWIC        Carrier Work Product
    000089    000090                                    Adjusting
                                                        Services,
                                                        LLC
    WWIC-     WWIC-      12/19/2017   Report            All4One     WWIC        Carrier Work Product
    000091    000091                                    Plumbing,
                                                        Inc.

    WWIC-     WWIC-      12/19/2017   Diagram           All4One     WWIC        Carrier Work Product
    000092    000092                                    Plumbing,
                                                        Inc.




                                                    2
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 99 of 156




                     1
       Bates Range          Date       Summary            Author      Recipient      Privilege Asserted


    WWIC-    WWIC-       12/14/2017   Invoice            All4One      WWIC          Carrier Work Product
    000093   000094                                      Plumbing,
                                                         Inc.

    WWIC-    WWIC-       12/19/2017   Email              Team One     WWIC          Carrier Work Product
    000107   000107                                      Adjusting
                                                         Services,
                                                         LLC
    WWIC-    WWIC-       4/3/2018     Email              Team One     Steve         Carrier Work Product
    000124   000124                                      Adjusting    Livingston,
                                                         Services,    WWIC
                                                         LLC
    WWIC-    WWIC-       12/20/2017   Draft              Team One     WWIC          Carrier Work Product
    000125   000156                   Estimate           Adjusting
                                                         Services,
                                                         LLC
    WWIC-    WWIC-       3/19/2018    Email              Steve        Team One      Carrier Work Product
    000157   000157                                      Livingston   Adjusting
                                                         , WWIC       Services,
                                                                      LLC
    WWIC-    WWIC-       3/12/2018    Email              Team One     Steve         Carrier Work Product
    000158   000158                                      Adjusting    Livingston,
                                                         Services,    WWIC
                                                         LLC
    WWIC-    WWIC-       3/12/2018    Report             Team One     Steve         Carrier Work Product
    000159   000161                                      Adjusting    Livingston,
                                                         Services,    LLC
                                                         LLC
    WWIC-    WWIC-       3/12/2018    Statement of       Team One     Steve         Carrier Work Product
    000162   000162                   Loss               Adjusting    Livingston,
                                                         Services,    WWIC
                                                         LLC
    WWIC-    WWIC-       12/20/2017   Draft              Team One     Steve         Carrier Work Product
    000163   000194                   Estimate           Adjusting    Livingston,
                                                         Services,    WWIC
                                                         LLC
    WWIC-    WWIC-       12/28/2017   Photographs        Team One     WWIC          Carrier Work Product
    000196   000237                   *Redacted*         Adjusting
                                                         Services,
                                                         LLC
    WWIC-    WWIC-       12/21/2017   ISO Report         ISO          WWIC          Carrier Work Product
    000238   000240                                      Claimsear
                                                         ch




                                                     3
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 100 of
                                     156




                    1
      Bates Range          Date       Summary           Author     Recipient    Privilege Asserted


   WWIC-    WWIC-       3/29/2018    Email             Team One    Team One    Carrier Work Product
   000357   000357                                     Adjusting   Adjusting
                                                       Services,   Services,
                                                       LLC         LLC
   WWIC-    WWIC-       2/22/2018    Internal Form     WWIC        N/A         Carrier Work Product
   000365   000365


   WWIC-    WWIC-       1/31/2018    Internal Form     WWIC        N/A         Carrier Work Product
   000366   000366


   WWIC-    WWIC-       1/3/2018     Email Chain       WWIC        Team One    Carrier Work Product
   000367   000368                                                 Adjusting
                                                                   Services,
                                                                   LLC
   WWIC-    WWIC-       1/4/2018     Internal Form     WWIC        N/A         Carrier Work Product
   000369   000369


   WWIC-    WWIC-       12/21/2017   ISO Report        ISO         WWIC        Carrier Work Product
   000370   000372                                     Claimsear
                                                       ch

   WWIC-    WWIC-       12/21/2017   ISO Report        ISO         WWIC        Carrier Work Product
   000373   000375                                     Claimsear
                                                       ch

   WWIC-    WWIC-       12/18/2017   Internal          WWIC        N/A         Carrier Work Product
   000376   000378                   Summary


   WWIC-    WWIC-       12/19/2017   Letter            WWIC        Team One    Carrier Work Product
   000379   000380                                                 Adjusting
                                                                   Services,
                                                                   LLC
   WWIC-    WWIC-       12/19/2017   Email             WWIC        WWIC        Carrier Work Product
   000385   000386


   WWIC-    WWIC-       12/18/2017   Email             WWIC        Team One    Carrier Work Product
   000388   000389                                                 Adjusting
                                                                   Services,
                                                                   LLC




                                                   4
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 101 of
                                     156



                                        BUTLER WEIHMULLER KATZ CRAIG LLP




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                                        Attorneys for Defendant,
                                        Western World Insurance Company

                                 CERTIFICATE OF SERVICE

        I certify that a copy hereof has been furnished to:

               Kimesha S. Smith, Esq.
               Insurance Litigation Group, P.A.
               1500 Northeast 162nd Street
               Miami, FL 33162-4716
               service@ILGPA.COM
               Counsel for Plaintiff, KDH Architecture, Inc.
               a/a/o 921 Evergreen Drive and 730 Whitemore, LLC

        by eportal on September 23, 2019.




                                         TROY J. SEIBERT, ESQ.




                                               5
         Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 102 of
                                              156

                       IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                                       PALM BEACH COUNTY, FLORIDA

                                                                   GENERAL JURISDICTION DIVISION
                                                                   CASE NO.: 50-2019-CA-010125

             KDH ARCHITECTURE INC.,
             a/a/o 921 Evergreen Drive and 730 Whitemore, LLC,

                     Plaintiff,

             vs.

             WESTERN WORLD INSURANCE COMPANY,
                 Defendant.
                                                                   /

                               PLAINTIFF'S MOTION FOR EXTENSION OF TIME
                            TO RESPOND TO DEFENDANT’S DISCOVERY REQUESTS

                     Plaintiff, KDH Architecture, Inc. a/a/o 921 Evergreen Drive and 730 Whitemore, LLC, by

             and through undersigned counsel, seeks an extension of time to respond to Defendant’s

             Interrogatories, (“Discovery Requests”), including any applicable objections, and states:

                     1.      On or about August 29, 2019, Defendant served Discovery Requests upon Plaintiff.

                     2.      Due to a heavy litigation schedule, the undersigned counsel respectfully requests

             an extension of time to serve responses to the Discovery Requests, including any applicable

             objections.

                     3.      The undersigned certifies that a good faith effort to resolve the matters set forth

             herein has been, or due to time constraints will be, made prior to the setting of a hearing on this

             motion.

                     4.      No party will be prejudiced by the granting of this motion.



                     WHEREFORE, Plaintiff, KDH Architecture, Inc. a/a/o 921 Evergreen Drive and 730

             Whitemore, LLC, respectfully requests that this Court extend the time for Plaintiff to respond to

             Defendant’s discovery requests, including any applicable objections.

                                                                                                    LOMB File #: 11984
                                                                                                        Claim #: 137081
                                                                                            Case #: 50-2019-CA-010125
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Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 103 of
                                     156
                                                      50-2019-CA-010125 | Page 2


                                     CERTIFICATE OF SERVICE

          I CERTIFY that the foregoing document is being served on October 03, 2019, via an

   automatic email generated by the Florida Courts E-Filing Portal to: Troy J Seibert, Esq., Butler

   Weihmuller      Katz       Craig             LLP,        (tseibert@butler.legal,            knelson@butler.legal,

   msmalls@butler.legal).

                                                        INSURANCE LITIGATION GROUP, P.A.
                                                        Attorney for Plaintiff
                                                        1500 NE 162nd Street
                                                        Miami, Florida 33162
                                                        Telephone:     (786) 529-0090
                                                        Facsimile:     (866) 239-9520
                                                        E-Mail: service@ILGPA.com


                                                        By:        /s/ Faith D. Everett
                                                                   FAITH D. EVERETT, ESQ.
                                                                   FL Bar No. 96339




                            ILG File #: 11984    Claim #: 137081   Case #: 50-2019-CA-010125
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 104 of
                                     156

            IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                            PALM BEACH COUNTY, FLORIDA

                                                      GENERAL JURISDICTION DIVISION
                                                      CASE NO.: 50-2019-CA-010125

   KDH ARCHITECTURE INC.,
   a/a/o 921 Evergreen Drive and 730 Whitemore, LLC,

   Plaintiff,

   vs.

   WESTERN WORLD INSURANCE
   COMPANY,

   Defendant.
                                /

         AGREED ORDER ON PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO
                RESPOND TO DEFENDANT’S DISCOVERY REQUESTS

           THIS CAUSE having come before this Court on Plaintiff ’s Motion for Extension of

   Time to Respond to Defendant’s discovery requests, and this Court, being fully advised in the

   premises, and having been advised of the agreement of counsel, it is hereby:

           ORDERED that Plaintiff ’s Motion for Extension of Time to Respond to Interrogatories

   and Request for Production, is GRANTED. Plaintiff shall have until November 7, 2019 to

   serve discovery responses to Defendant’s discovery request, including any applicable

   objections.
           DONE and ORDERED in Palm Beach County, on the 10 th day of October , 2019.




   C      C      :       Troy J Seibert, Esq. (tseibert@butler.legal,        knelson@butler.legal,
   msmalls@butler.legal)

                                             Page 1 of 2
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 105 of
   Case No. 50-2019-CA-010125-XXXX-MB 156

        Faith D. Everett, Esq. (faith@ilgpa.com, service@ilgpa.com, discovery@ilgpa.com)




                                         Page 2 of 2
         Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 106 of
                                              156


                      IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                                      PALM BEACH COUNTY, FLORIDA

                                                                   GENERAL JURISDICTION DIVISION
                                                                   CASE NO.: 50-2019-CA-010125

             KDH ARCHITECTURE INC. A/A/O
             921 EVERGREEN DRIVE AND 730 WHITEMORE, LLC
                   Plaintiff,

             v.

             WESTERN WORLD INSURANCE COMPANY,
                 Defendant.
                                         /

                   PLAINTIFF'S NOTICE OF SERVING ANSWERS TO INTERROGATORIES

                    Plaintiff, KDH ARCHITECTURE INC., by and through undersigned counsel, and
             pursuant to Florida Rule of Civil Procedure 1.340, hereby serves answers to the interrogatories
             that Defendant propounded upon Plaintiff on August 29, 2019.


                                              CERTIFICATE OF SERVICE

                     I HEREBY CERTIFY that the foregoing document is being served on November 4, 2019
             via an automatic email generated by the Florida Courts E-Filing Portal to: Troy J Seibert, Esq.,
             Butler Weihmuller Katz Craig LLP, (tseibert@butler.legal, knelson@butler.legal,
             msmalls@butler.legal).

                                                           INSURANCE LITIGATION GROUP, P.A.
                                                           Attorney for Plaintiff
                                                           1500 NE 162nd Street
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                                                           Facsimile:     (866) 239-9520
                                                           E-Mail: service@ilgpa.com


                                                           By:      /s/ Jennifer A. Ramage
                                                                   JENNIFER A. RAMAGE, ESQ.
                                                                   FL Bar No. 86808




                                                                                                     ILG File #: 11984
                                                                                                       Claim #: 137081
                                                                                           Case #: 50-2019-CA-010125
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Filing Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 107 of
       # 98514027  E-Filed 11/07/2019 09:17:57 AM
                                                156



                     IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                             IN AND FOR PALM BEACH COUNTY, FLORIDA
                                  GENERAL JURISDICTION DIVISION


        KDH ARCHITECTURE, INC. a/a/o 921
        EVERGREEN DRIVE and 730
        WHITEMORE, LLC,

                Plaintiff,                         CASE NO.: 50-2019-CA-010125-XXXX-MB
        vs.

        WESTERN WORLD
        INSURANCE COMPANY,

             Defendant.
        ________________________________/

         DEFENDANT, WESTERN WORLD INSURANCE COMPANY’S MOTION TO STRIKE
                      PLAINTIFF’S CLAIM FOR ATTORNEY’S FEES

                COMES NOW, Defendant, WESTERN WORLD INSURANCE COMPANY

        (“WWIC”), by and through its undersigned counsel, and pursuant to Florida Rule of Civil

        Procedure 1.140(f) files this Motion to Strike. As grounds therefore, WWIC states as

        follows:

              I. SUMMARY

                This action was filed on August 5, 2019, after both House Bill No. 7065 and

        House Bill No. 337 became law. Accordingly, Florida Statute § 627.7152 and Florida

        Statute § 57.105 controls claims for attorney fees by Plaintiff in this action and Plaintiff’s

        claim for attorney’s fees in this action pursuant to Florida Statute § 627.428 must be

        stricken from Plaintiff’s Complaint.

        II.     STATEMENT OF FACTS

                1.      On August 5, 2019, KDH ARCHITECTURE, INC. (“Plaintiff”) filed a one

        count Complaint against WWIC alleging breach of contract.              Plaintiff’s Complaint

                                                      1
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 108 of
                                     156



   asserts that WWIC breached an insurance contract issued to 921 EVERGREEN DRIVE

   and 730 WHITEMORE, LLC, (the “Insureds”), who assigned their rights under the

   insurance contract to Plaintiff for services performed at the Insureds’ property.1

          2.         Plaintiff alleges that Plaintiff “is entitled to a reasonable attorney’s fee

   pursuant to Section 627.428, Florida Statutes.”2

          3.         Moreover, Plaintiff demands judgment against WWIC for attorney fees

   pursuant to Florida Statute § 627.428 or in the alternative, Florida Statute § 626.9373.3


          III.       MEMORANDUM OF LAW

          A.         Standard for Motion to Strike

          Florida Rule of Civil Procedure 1.140(f) provides that “[a] party may move to

   strike or the court may strike redundant, immaterial, impertinent or scandalous matter

   from any pleading at any time.”

          B.         Paragraph Twenty-Eight, along with the “Wherefore” Clause
                     Contained within Plaintiff’s Complaint must be stricken because
                     Florida Statute § 627.7152 and Florida Statute § 57.105 controls
                     claims for attorney fees by Plaintiff in this action

          Florida Statute § 627.7152 states in pertinent part, as follows:

                                                       ***

                     (10) Notwithstanding any other provision of law, in a suit
                     related to an assignment agreement for post-loss claims
                     arising under a residential or commercial property insurance
                     policy, attorney fees and costs may be recovered by an
                     assignee only under s. 57.105 and this subsection.

                                                         ***


          1
              See Plaintiff’s Complaint at ¶¶ 12-29.
          2
              Id. at ¶ 28.
          3
              See id. at page 5, ‘WHEREFORE’ Clause.

                                                             2
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 109 of
                                     156



                    (13) This section applies to an assignment agreement
                    executed on or after July 1, 2019.4

                                                       ***

          Fla. Stat. § 627.7152 went into effect on July 1, 2019. Subsection (10) of §

   627.7152 removes the application of section § 627.428 to Assignment of Benefit

   lawsuits. Subsection (13) of § 627.7152 states that the statute applies only to

   assignment agreements executed on or after July 1, 2019; however, a late addition to

   Laws 2019, c. 2019-58, § 23, provides in pertinent part:

                                                  ***
                    Section 23. Notwithstanding subsection (13) of section
                    627.7152, as created by HB 7065, 2019 Regular Session,
                    subsection (10) of that section is effective upon becoming a
                    law.5

                                                       ***

          Subsection (10) of § 627.7152 became law when House Bill No. 337 was signed

   by the governor on May 23, 2019. Therefore, subsection (10) of Florida Statute §

   627.7152 was effective on May 23, 2019; not July 1, 2019, which is the effective date of

   the act.

          Regardless, since this action was filed on August 5, 2019, after both House Bill

   No. 7065 and House Bill No. 337 became law, Florida Statute § 627.7152 and Florida

   Statute § 57.105 controls claims for attorney fees by Plaintiff in this action and Plaintiff’s

   claim for attorney’s fees pursuant to Florida Statute § 627.428 pled in paragraph twenty-

   eight, along with the “Wherefore” clause within Plaintiff’s Complaint must be stricken as

   a matter of law.


          4
              See House Bill No. 7065, attached hereto as Exhibit 1, pages 6-7.
          5
              See House Bill No. 337, attached hereto as Exhibit 2, page 28.

                                                        3
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 110 of
                                     156



         WHEREFORE, the Defendant, WESTERN WORLD INSURANCE COMPANY,

   respectfully requests that this Honorable Court enter an Order granting its Motion to

   Strike paragraph twenty-eight, along with the “Wherefore” clause within Plaintiff’s

   Complaint, and all other relief as this Court deems just and proper.




                                        BUTLER WEIHMULLER KATZ CRAIG LLP



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                                        Western World Insurance Company




                                               4
Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 111 of
                                     156




                               CERTIFICATE OF SERVICE

        I certify that a copy hereof has been furnished to

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               Attorney for Plaintiff,
               Kdh Architecture, Inc. a/a/o 921
               Evergreen Drive and 730
               Whitemore, LLC

        by E-Portal on November 7, 2019.




                                       MAXWELL H. STAPE, ESQ.




                                             5
9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
                                156
                                    CHAPTER 2019-57

                            Committee Substitute for
                   Committee Substitute for House Bill No. 7065

        An act relating to insurance assignment agreements; creating s. 627.7152,
         F.S.; providing definitions; providing requirements and limitations for
         property insurance assignment agreements; providing a burden of proof;
         providing that an assignment agreement does not affect managed repair
         arrangements under a property insurance policy; providing that an
         assignment agreement does not confer or create authority to adjust,
         negotiate, or settle a claim without authorization under part VI of chapter
         626; providing that an acceptance by an assignee of an assignment
         agreement is a waiver by the assignee and its subcontractors of certain
         claims against an insured; specifying an insured’s payment obligations
         under an assignment agreement; requiring notice of intent to initiate
         litigation; specifying requirements for such notice; requiring a written
         response to the notice of intent to initiate litigation; specifying require-
         ments for such response; providing for an award of reasonable attorney
         fees for certain claims arising under an assignment agreement; providing
         for an award of reasonable attorney fees following a voluntary dismissal
         under certain circumstances; requiring the court to stay proceedings
         under certain circumstances; directing the Office of Insurance Regulation
         to require insurers to report specified data; requiring the Financial
         Services Commission to adopt rules; providing applicability; creating s.
         627.7153, F.S.; defining the term “assignment agreement”; authorizing
         insurers to make available property insurance policies restricting the
         assignment of post-loss benefits under certain conditions; requiring
         annual notice of coverage options; requiring a written or electronic waiver
         under certain circumstances; requiring the office to approve a waiver
         form; providing applicability; amending s. 627.422, F.S.; providing that
         residential or commercial property insurance policies may not prohibit the
         assignment of post-lost benefits; providing an exception; prohibiting
         Citizens Property Insurance Corporation from implementing rate changes
         for certain policies; providing an exception; requiring certain rate filings to
         include specified information; requiring the corporation to inform policy-
         holders of certain information; providing severability; providing an
         effective date.

        Be It Enacted by the Legislature of the State of Florida:
          Section 1.   Section 627.7152, Florida Statutes, is created to read:

          627.7152     Assignment agreements.—
          (1)   As used in this section, the term:
          (a) “Assignee” means a person who is assigned post-loss benefits through
        an assignment agreement.
                                               1
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-57     LAWS OF156
                                 FLORIDA            Ch. 2019-57

        (b) “Assignment agreement” means any instrument by which post-loss
      benefits under a residential property insurance policy or commercial
      property insurance policy, as that term is defined in s. 627.0625(1), are
      assigned or transferred, or acquired in any manner, in whole or in part, to or
      from a person providing services to protect, repair, restore, or replace
      property or to mitigate against further damage to the property.

        (c) “Assignor” means a person who assigns post-loss benefits under a
      residential property insurance policy or commercial property insurance
      policy to another person through an assignment agreement.

        (d) “Disputed amount” means the difference between the assignee’s
      presuit settlement demand and the insurer’s presuit settlement offer.

        (e) “Judgment obtained” means damages recovered, if any, but does not
      include any amount awarded for attorney fees, costs, or interest.

        (f) “Presuit settlement demand” means the demand made by the
      assignee in the written notice of intent to initiate litigation as required by
      paragraph (9)(a).

        (g) “Presuit settlement offer” means the offer made by the insurer in its
      written response to the notice of intent to initiate litigation as required by
      paragraph (9)(b).

        (2)(a)   An assignment agreement must:

        1. Be in writing and executed by and between the assignor and the
      assignee.

        2. Contain a provision that allows the assignor to rescind the assignment
      agreement without a penalty or fee by submitting a written notice of
      rescission signed by the assignor to the assignee within 14 days after the
      execution of the agreement, at least 30 days after the date work on the
      property is scheduled to commence if the assignee has not substantially
      performed, or at least 30 days after the execution of the agreement if the
      agreement does not contain a commencement date and the assignee has not
      begun substantial work on the property.

        3. Contain a provision requiring the assignee to provide a copy of the
      executed assignment agreement to the insurer within 3 business days after
      the date on which the assignment agreement is executed or the date on
      which work begins, whichever is earlier. Delivery of the copy of the
      assignment agreement to the insurer may be made:

        a. By personal service, overnight delivery, or electronic transmission,
      with evidence of delivery in the form of a receipt or other paper or electronic
      acknowledgement by the insurer; or

        b. To the location designated for receipt of such agreements as specified
      in the policy.
                                            2
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-57      LAWS OF
                                156FLORIDA            Ch. 2019-57

          4. Contain a written, itemized, per-unit cost estimate of the services to be
        performed by the assignee.

          5. Relate only to work to be performed by the assignee for services to
        protect, repair, restore, or replace a dwelling or structure or to mitigate
        against further damage to such property.

          6.    Contain the following notice in 18-point uppercase and boldfaced type:

        YOU ARE AGREEING TO GIVE UP CERTAIN RIGHTS YOU HAVE
        UNDER YOUR INSURANCE POLICY TO A THIRD PARTY, WHICH MAY
        RESULT IN LITIGATION AGAINST YOUR INSURER. PLEASE READ
        AND UNDERSTAND THIS DOCUMENT BEFORE SIGNING IT. YOU
        HAVE THE RIGHT TO CANCEL THIS AGREEMENT WITHOUT PEN-
        ALTY WITHIN 14 DAYS AFTER THE DATE THIS AGREEMENT IS
        EXECUTED, AT LEAST 30 DAYS AFTER THE DATE WORK ON THE
        PROPERTY IS SCHEDULED TO COMMENCE IF THE ASSIGNEE HAS
        NOT SUBSTANTIALLY PERFORMED, OR AT LEAST 30 DAYS AFTER
        THE EXECUTION OF THE AGREEMENT IF THE AGREEMENT DOES
        NOT CONTAIN A COMMENCEMENT DATE AND THE ASSIGNEE HAS
        NOT BEGUN SUBSTANTIAL WORK ON THE PROPERTY. HOWEVER,
        YOU ARE OBLIGATED FOR PAYMENT OF ANY CONTRACTED WORK
        PERFORMED BEFORE THE AGREEMENT IS RESCINDED. THIS
        AGREEMENT DOES NOT CHANGE YOUR OBLIGATION TO PERFORM
        THE DUTIES REQUIRED UNDER YOUR PROPERTY INSURANCE
        POLICY.

          7. Contain a provision requiring the assignee to indemnify and hold
        harmless the assignor from all liabilities, damages, losses, and costs,
        including, but not limited to, attorney fees, should the policy subject to
        the assignment agreement prohibit, in whole or in part, the assignment of
        benefits.

          (b)    An assignment agreement may not contain:

          1.    A penalty or fee for rescission under subparagraph (a)2.;

          2.    A check or mortgage processing fee;

          3.    A penalty or fee for cancellation of the agreement; or

          4.    An administrative fee.

          (c) If an assignor acts under an urgent or emergency circumstance to
        protect property from damage and executes an assignment agreement to
        protect, repair, restore, or replace property or to mitigate against further
        damage to the property, an assignee may not receive an assignment of post-
        loss benefits under a residential property insurance policy in excess of the
        greater of $3,000 or 1 percent of the Coverage A limit under such policy. For
                                                3
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-57     LAWS OF156
                                 FLORIDA            Ch. 2019-57

      purposes of this paragraph, the term “urgent or emergency circumstance”
      means a situation in which a loss to property, if not addressed immediately,
      will result in additional damage until measures are completed to prevent
      such damage.

         (d) An assignment agreement that does not comply with this subsection
      is invalid and unenforceable.

        (3) In a claim arising under an assignment agreement, an assignee has
      the burden to demonstrate that the insurer is not prejudiced by the
      assignee’s failure to:

        (a) Maintain records of all services provided under the assignment
      agreement.

        (b)   Cooperate with the insurer in the claim investigation.

        (c) Provide the insurer with requested records and documents related to
      the services provided, and permit the insurer to make copies of such records
      and documents.

        (d) Deliver a copy of the executed assignment agreement to the insurer
      within 3 business days after executing the assignment agreement or work
      has begun, whichever is earlier.

        (4)   An assignee:

        (a) Must provide the assignor with accurate and up-to-date revised
      estimates of the scope of work to be performed as supplemental or additional
      repairs are required.

        (b) Must perform the work in accordance with accepted industry
      standards.

        (c) May not seek payment from the assignor exceeding the applicable
      deductible under the policy unless the assignor has chosen to have
      additional work performed at the assignor’s own expense.

        (d) Must, as a condition precedent to filing suit under the policy, and, if
      required by the insurer, submit to examinations under oath and recorded
      statements conducted by the insurer or the insurer’s representative that are
      reasonably necessary, based on the scope of the work and the complexity of
      the claim, which examinations and recorded statements must be limited to
      matters related to the services provided, the cost of the services, and the
      assignment agreement.

        (e) Must, as a condition precedent to filing suit under the policy, and, if
      required by the insurer, participate in appraisal or other alternative dispute
      resolution methods in accordance with the terms of the policy.
                                            4
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-57      LAWS OF
                                156FLORIDA            Ch. 2019-57

          (5) An assignment agreement and this section do not modify or eliminate
        any term, condition, or defense relating to any managed repair arrangement
        provided in the policy.

          (6) An assignment agreement does not transfer or create any authority
        to adjust, negotiate, or settle any portion of a claim to a person or entity not
        authorized to adjust, negotiate, or settle a claim on behalf of an assignor or a
        claimant under part VI of chapter 626.

          (7)(a) Notwithstanding any other provision of law, and except as
        provided in paragraph (b), acceptance by an assignee of an assignment
        agreement is a waiver by the assignee and its subcontractors of claims
        against a named insured for payments arising from the assignment
        agreement. The assignee and its subcontractors may not collect or attempt
        to collect money from an insured, maintain any action at law against an
        insured, claim a lien on the real property of an insured, or report an insured
        to a credit agency for payments arising from the assignment agreement.
        Such waiver remains in effect after the assignment agreement is rescinded
        by the assignor or after a determination that the assignment agreement is
        invalid.

          (b)    A named insured is responsible for the payment of all of the following:

          1.    Any deductible amount due under the policy.

          2. Any betterment ordered and performed that is approved by the named
        insured.

          3. Any contracted work performed before the assignment agreement is
        rescinded.

           (8) The assignee shall indemnify and hold harmless the assignor from all
        liabilities, damages, losses, and costs, including, but not limited to, attorney
        fees, should the policy subject to the assignment agreement prohibit, in
        whole or in part, the assignment of benefits.

           (9)(a) An assignee must provide the named insured, insurer, and the
        assignor, if not the named insured, with a written notice of intent to initiate
        litigation before filing suit under the policy. Such notice must be served by
        certified mail, return receipt requested, or electronic delivery at least 10
        business days before filing suit, but may not be served before the insurer has
        made a determination of coverage under s. 627.70131. The notice must
        specify the damages in dispute, the amount claimed, and a presuit
        settlement demand. Concurrent with the notice, and as a precondition to
        filing suit, the assignee must provide the named insured, insurer, and the
        assignor, if not the named insured, a detailed written invoice or estimate of
        services, including itemized information on equipment, materials, and
        supplies; the number of labor hours; and, in the case of work performed,
        proof that the work has been performed in accordance with accepted
        industry standards.
                                                5
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-57     LAWS OF156
                                 FLORIDA            Ch. 2019-57

        (b) An insurer must respond in writing to the notice within 10 business
      days after receiving the notice specified in paragraph (a) by making a presuit
      settlement offer or requiring the assignee to participate in appraisal or other
      method of alternative dispute resolution under the policy. An insurer must
      have a procedure for the prompt investigation, review, and evaluation of the
      dispute stated in the notice and must investigate each claim contained in the
      notice in accordance with the Florida Insurance Code.

        (10) Notwithstanding any other provision of law, in a suit related to an
      assignment agreement for post-loss claims arising under a residential or
      commercial property insurance policy, attorney fees and costs may be
      recovered by an assignee only under s. 57.105 and this subsection.

        (a) If the difference between the judgment obtained by the assignee and
      the presuit settlement offer is:

        1. Less than 25 percent of the disputed amount, the insurer is entitled to
      an award of reasonable attorney fees.

        2. At least 25 percent but less than 50 percent of the disputed amount, no
      party is entitled to an award of attorney fees.

        3. At least 50 percent of the disputed amount, the assignee is entitled to
      an award of reasonable attorney fees.

        (b) If the insurer fails to inspect the property or provide written or oral
      authorization for repairs within 7 calendar days after the first notice of loss,
      the insurer waives its right to an award of attorney fees under this
      subsection. If the failure to inspect the property or provide written or oral
      authorization for repairs is the result of an event for which the Governor had
      declared a state of emergency under s. 252.36, factors beyond the control of
      the insurer which reasonably prevented an inspection or written or oral
      authorization for repairs, or the named insured’s failure or inability to allow
      an inspection of the property after a request by the insurer, the insurer does
      not waive its right to an award of attorney fees under this subsection.

        (c) If an assignee commences an action in any court of this state based
      upon or including the same claim against the same adverse party that such
      assignee has previously voluntarily dismissed in a court of this state, the
      court may order the assignee to pay the attorney fees and costs of the adverse
      party resulting from the action previously voluntarily dismissed. The court
      shall stay the proceedings in the subsequent action until the assignee has
      complied with the order.

        (11) This section does not apply to:

         (a) An assignment, transfer, or conveyance granted to a subsequent
      purchaser of the property with an insurable interest in the property
      following a loss;
                                             6
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-57      LAWS OF
                                156FLORIDA            Ch. 2019-57

          (b) A power of attorney under chapter 709 that grants to a management
        company, family member, guardian, or similarly situated person of an
        insured the authority to act on behalf of an insured as it relates to a property
        insurance claim; or

          (c) Liability coverage under a property insurance policy.

           (12) The office shall require each insurer to report by January 30, 2022,
        and each year thereafter data on each residential and commercial property
        insurance claim paid in the prior calendar year under an assignment
        agreement. The Financial Services Commission shall adopt by rule a list of
        the data required, which must include specific data about claims adjustment
        and settlement timeframes and trends, grouped by whether litigated or not
        litigated and by loss adjustment expenses.

          (13) This section applies to an assignment agreement executed on or
        after July 1, 2019.

          Section 2.   Section 627.7153, Florida Statutes, is created to read:

          627.7153 Policies restricting assignment of post-loss benefits under a
        property insurance policy.—

          (1) As used in this section, the term “assignment agreement” has the
        same meaning as provided in s. 627.7152.

           (2) An insurer may make available a policy that restricts in whole or in
        part an insured’s right to execute an assignment agreement only if all of the
        following conditions are met:

          (a) The insurer makes available to the insured or potential insured at the
        same time the same coverage under a policy that does not restrict the right to
        execute an assignment agreement.

           (b) Each restricted policy is available at a lower cost than the unrest-
        ricted policy.

          (c) The policy prohibiting assignment in whole is available at a lower cost
        than any policy prohibiting assignment in part.

          (d) Each restricted policy include on its face the following notice in 18-
        point uppercase and boldfaced type:

        THIS POLICY DOES NOT ALLOW THE UNRESTRICTED ASSIGNMENT
        OF POST-LOSS INSURANCE BENEFITS. BY SELECTING THIS POL-
        ICY, YOU WAIVE YOUR RIGHT TO FREELY ASSIGN OR TRANSFER
        THE POST-LOSS PROPERTY INSURANCE BENEFITS AVAILABLE
        UNDER THIS POLICY TO A THIRD PARTY OR TO OTHERWISE
        FREELY ENTER INTO AN ASSIGNMENT AGREEMENT AS THE
                                               7
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-57     LAWS OF156
                                 FLORIDA            Ch. 2019-57

      TERM IS DEFINED IN SECTION 627.7152 OF THE FLORIDA STA-
      TUTES.


        (3) The insurer shall notify the insured at least annually of the coverage
      options the insurer makes available under this section. Such notice must be
      part of and attached to the notice of premium.

        (4) A named insured must reject a fully assignable policy in writing or
      electronically. The rejection of a fully assignable policy shall be made on a
      form approved by the office. The form must state that the policy restricts the
      assignment of benefits. The heading of the form shall be in 18-point
      uppercase and boldfaced type and state:


      YOU ARE ELECTING TO PURCHASE AN INSURANCE POLICY THAT
      RESTRICTS THE ASSIGNMENT OF BENEFITS UNDER THE POLICY
      IN WHOLE OR IN PART. PLEASE READ CAREFULLY.


        (5) This section applies to a policy issued or renewed on or after July 1,
      2019.

        Section 3.   Section 627.422, Florida Statutes, is amended to read:

        627.422 Assignment of policies or post-loss benefits.—A policy may be
      assignable, or not assignable, as provided by its terms. Any such assignment
      shall entitle the insurer to deal with the assignee as the owner or pledgee of
      the policy in accordance with the terms of the assignment, until the insurer
      has received at its home office written notice of termination of the
      assignment or pledge or written notice by or on behalf of some other person
      claiming some interest in the policy in conflict with the assignment.

        (1) LIFE OR HEALTH INSURANCE POLICIES.—Subject to its terms
      relating to assignability, any life or health insurance policy under the terms
      of which the beneficiary may be changed upon the sole request of the
      policyowner may be assigned either by pledge or transfer of title, by an
      assignment executed by the policyowner alone and delivered to the insurer,
      whether or not the pledgee or assignee is the insurer. Any such assignment
      shall entitle the insurer to deal with the assignee as the owner or pledgee of
      the policy in accordance with the terms of the assignment, until the insurer
      has received at its home office written notice of termination of the
      assignment or pledge or written notice by or on behalf of some other person
      claiming some interest in the policy in conflict with the assignment.

         (2) POST-LOSS BENEFITS UNDER CERTAIN PROPERTY INSUR-
      ANCE POLICIES.—A residential or commercial property insurance policy
      may not prohibit the assignment of post-loss benefits unless it complies with
      s. 627.7153.
                                            8
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-57      LAWS OF
                                156FLORIDA            Ch. 2019-57

          Section 4. Citizens Property Insurance Corporation may not implement
        rate changes in 2019 for DP-3 and HO-3 policies unless the rate filing
        reflects projected rate savings from this act. Such rate filing must include an
        exhibit demonstrating the impact of this act on indicated rates for DP-3 and
        HO-3 policies. Citizens Property Insurance Corporation shall provide
        policyholders with details on the projected rate savings from this act.
           Section 5. If any provision of this act or its application to any person or
        circumstance is held invalid, the invalidity does not affect the remaining
        provisions or applications of the act which can be given effect without the
        invalid provision or application, and to this end the provisions of this act are
        severable.

          Section 6.   This act shall take effect July 1, 2019.
          Approved by the Governor May 23, 2019.

          Filed in Office Secretary of State May 23, 2019.




                                               9
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
                                156
                                   CHAPTER 2019-58

                           Committee Substitute for
                   Committee Substitute for House Bill No. 337

        An act relating to courts; amending s. 26.012, F.S.; revising the appellate
         jurisdiction of circuit courts; providing for future repeal; amending s.
         28.35, F.S.; modifying calculation of total combined budgets of the clerks of
         the court; providing a definition; amending s. 28.36, F.S.; providing for
         modified revenue projection relating to proposed budget of clerks of the
         court; providing a definition; amending s. 28.37, F.S.; providing for deposit
         of certain funds into specified trust funds or General Revenue Fund;
         amending s. 27.52, F.S.; providing for deposit of certain fees into General
         Revenue Fund; amending s. 28.24, F.S.; providing for deposit of certain
         fees into General Revenue Fund; amending s. 28.2401, F.S.; providing for
         deposit of certain fees into General Revenue Fund; amending s. 28.241,
         F.S.; providing for deposit of certain fees into General Revenue Fund;
         requiring specified filing fees for appeals from certain county courts;
         amending s. 34.01, F.S.; providing for deposit of certain fees into the
         General Revenue Fund; increasing the jurisdictional limit for actions at
         law by county courts on specified dates; requiring the State Courts
         Administrator to submit a report containing certain recommendations
         and reviews to the Governor and the Legislature by a specified date;
         amending s. 34.041, F.S.; providing county court civil filing fees for claims
         of specified values; providing for distribution of the fees; amending s.
         44.108, F.S.; prohibiting the levy of certain fees for mediation services in
         certain cases; amending s. 45.035, F.S.; providing for deposit of certain
         fees into General Revenue Fund; amending s. 55.505, F.S.; providing for
         deposit of certain fees into General Revenue Fund; amending s. 61.14,
         F.S.; providing for deposit of certain fees into General Revenue Fund;
         amending s. 316.193, F.S., providing for deposit of certain fees into
         General Revenue Fund; amending s. 318.14, F.S., providing for deposit of
         certain fees into General Revenue Fund; amending s. 318.15, F.S.;
         providing for deposit of certain fees into General Revenue Fund; amending
         s. 318.18, F.S.; providing for deposit of certain fees into General Revenue
         Fund; amending s. 322.245, F.S.; providing for deposit of certain fees into
         General Revenue Fund; amending s. 327.35, F.S.; providing for deposit of
         certain fees into General Revenue Fund; amending s. 327.73, F.S.;
         providing for deposit of certain fees into General Revenue Fund; amending
         s. 379.401, F.S.; providing for deposit of certain fees into General Revenue
         Fund; amending s. 713.24, F.S.; providing for deposit of certain fees into
         General Revenue Fund; amending s. 721.83, F.S.; providing for deposit of
         certain fees into General Revenue Fund; amending s. 744.365, F.S.;
         providing for deposit of certain fees into General Revenue Fund; amending
         s. 744.3678, F.S.; providing for deposit of certain fees into General
         Revenue Fund; amending s. 766.104, F.S.; providing for deposit of certain
         fees into General Revenue Fund; amending s. 938.05, F.S.; providing for
         deposit of certain fees into General Revenue Fund; providing for
                                              1
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        retroactivity; providing applicability; requiring a certain Legislative
        review; providing effective dates.

      Be It Enacted by the Legislature of the State of Florida:

        Section 1. Effective January 1, 2020, subsection (1) of section 26.012,
      Florida Statutes, is amended to read:

        26.012    Jurisdiction of circuit court.—

        (1) Circuit courts shall have jurisdiction of appeals from county courts
      except:

        (a) Appeals of county court orders or judgments where the amount in
      controversy is greater than $15,000. This paragraph is repealed on January
      1, 2023.

        (b) Appeals of county court orders or judgments declaring invalid a state
      statute or a provision of the State Constitution. and except

        (c) Orders or judgments of a county court which are certified by the
      county court to the district court of appeal to be of great public importance
      and which are accepted by the district court of appeal for review.

      Circuit courts shall have jurisdiction of appeals from final administrative
      orders of local government code enforcement boards.

        Section 2. Paragraph (f) of subsection (2) of section 28.35, Florida
      Statutes, is amended to read:

        28.35    Florida Clerks of Court Operations Corporation.—

        (2)   The duties of the corporation shall include the following:

        (f) Approving the proposed budgets submitted by clerks of the court
      pursuant to s. 28.36. The corporation must ensure that the total combined
      budgets of the clerks of the court do not exceed the total estimated revenues
      from fees, service charges, costs, and fines for court-related functions
      available for court-related expenditures as determined by the most recent
      Revenue Estimating Conference, plus the total of unspent budgeted funds
      for court-related functions carried forward by the clerks of the court from the
      previous county fiscal year and plus the balance of funds remaining in the
      Clerk of the Court Trust Fund after the transfer of funds to the General
      Revenue Fund required pursuant to s. 28.37(3)(b). The corporation may
      amend any individual clerk of the court budget to ensure compliance with
      this paragraph and must consider performance measures, workload
      performance standards, workload measures, and expense data before
      modifying the budget. As part of this process, the corporation shall:

        1. Calculate the minimum amount of revenue necessary for each clerk of
      the court to efficiently perform the list of court-related functions specified in
                                             2
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

        paragraph (3)(a). The corporation shall apply the workload measures
        appropriate for determining the individual level of review required to
        fund the clerk’s budget.

          2. Prepare a cost comparison of similarly situated clerks of the court,
        based on county population and numbers of filings, using the standard list of
        court-related functions specified in paragraph (3)(a).

          3. Conduct an annual base budget review and an annual budget exercise
        examining the total budget of each clerk of the court. The review shall
        examine revenues from all sources, expenses of court-related functions, and
        expenses of noncourt-related functions as necessary to determine that court-
        related revenues are not being used for noncourt-related purposes. The
        review and exercise shall identify potential targeted budget reductions in
        the percentage amount provided in Schedule VIII-B of the state’s previous
        year’s legislative budget instructions, as referenced in s. 216.023(3), or an
        equivalent schedule or instruction as may be adopted by the Legislature.

          4. Identify those proposed budgets containing funding for items not
        included on the standard list of court-related functions specified in
        paragraph (3)(a).

          5. Identify those clerks projected to have court-related revenues insuffi-
        cient to fund their anticipated court-related expenditures.

          6. Use revenue estimates based on the official estimate for funds from
        fees, service charges, costs, and fines for court-related functions accruing to
        the clerks of the court made by the Revenue Estimating Conference, as well
        as any unspent budgeted funds for court-related functions carried forward
        by the clerks of the court from the previous county fiscal year and the
        balance of funds remaining in the Clerk of the Court Trust Fund after the
        transfer of funds to the General Revenue Fund required pursuant to s.
        28.37(3)(b). The total combined budgets of the clerks of the court may not
        exceed the revenue estimates established by the most recent Revenue
        Estimating Conference.

          7. Identify pay and benefit increases in any proposed clerk budget,
        including, but not limited to, cost of living increases, merit increases, and
        bonuses.

          8. Identify increases in anticipated expenditures in any clerk budget
        that exceeds the current year budget by more than 3 percent.

          9. Identify the budget of any clerk which exceeds the average budget of
        similarly situated clerks by more than 10 percent.

        For the purposes of this paragraph, the term “unspent budgeted funds for
        court-related functions” means undisbursed funds included in the clerks of
        the courts budgets for court-related functions established pursuant to this
        section and s. 28.36.
                                              3
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        Section 3. Paragraph (b) of subsection (2) of section 28.36, Florida
      Statutes, is amended to read:

        28.36 Budget procedure.—There is established a budget procedure for
      the court-related functions of the clerks of the court.

        (2) Each proposed budget shall further conform to the following
      requirements:

         (b) The proposed budget must be balanced such that the total of the
      estimated revenues available equals or exceeds the total of the anticipated
      expenditures. Such revenues include revenue projected to be received from
      fees, service charges, costs, and fines for court-related functions during the
      fiscal period covered by the budget, plus the total of unspent budgeted funds
      for court-related functions carried forward by the clerk of the court from the
      previous county fiscal year and plus the portion of the balance of funds
      remaining in the Clerk of the Court Trust Fund after the transfer of funds to
      the General Revenue Fund required pursuant to s. 28.37(3)(b) which has
      been allocated to each respective clerk of the court by the Clerk of Courts
      Corporation. For the purposes of this paragraph, the term “unspent
      budgeted funds for court-related functions” means undisbursed funds
      included in the clerk of the courts’ budget for court related functions
      established pursuant to s. 28.35 and this section. The anticipated expen-
      ditures must be itemized as required by the corporation.

        Section 4.   Subsection (3) of section 28.37, Florida Statutes, is amended to
      read:

        28.37   Fines, fees, service charges, and costs remitted to the state.—

        (3)(a) Each year, no later than January 25, 2015, and each January 25
      thereafter for the previous county fiscal year, the clerks of court, in
      consultation with the Florida Clerks of Court Operations Corporation,
      shall remit to the Department of Revenue for deposit in the Clerks of the
      Court Trust Fund General Revenue Fund the cumulative excess of all fines,
      fees, service charges, and costs retained by the clerks of the court, plus any
      funds received by the clerks of the court from the Clerks of the Court Trust
      Fund under s. 28.36(3), which exceed the amount needed to meet their
      authorized budget amounts established under s. 28.35.

        (b)1. No later than February 1, 2020, the Department of Revenue shall
      transfer from the Clerks of the Court Trust Fund to the General Revenue
      Fund the sum of the cumulative excess of all fines, fees, service charges, and
      costs submitted by the clerks of court pursuant to subsection (2) and the
      cumulative excess of all fines, fees, service charges, and costs remitted by the
      clerks of court pursuant to paragraph (a) in excess of $10 million.

        2. No later than February 1, 2021, the Department of Revenue shall
      transfer from the Clerks of the Court Trust Fund to the General Revenue
      Fund not less than 50 percent of the sum of the cumulative excess of all fines,
                                             4
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

        fees, service charges, and costs submitted by the clerks of court pursuant to
        subsection (2) and the cumulative excess of all fines, fees, service charges,
        and costs remitted by the clerks of court pursuant to paragraph (a); provided
        however, the balance remaining in the Clerks of Courts Trust Fund after
        such transfer may not be more than $20 million.

          3. No later than February 1, 2022, the Department of Revenue shall
        transfer from the Clerks of the Court Trust Fund to the General Revenue
        Fund not less than 50 percent of the sum of the cumulative excess of all fines,
        fees, service charges, and costs submitted by the clerks of court pursuant to
        subsection (2) and the cumulative excess of all fines, fees, service charges,
        and costs remitted by the clerks of court pursuant to paragraph (a); provided
        however, the balance remaining in the Clerks of Courts Trust Fund after
        such transfer may not be more than $20 million.

          4. No later than February 1, 2023, and each February 1 thereafter, the
        Department of Revenue shall transfer from the Clerks of the Court Trust
        Fund to the General Revenue Fund the cumulative excess of all fines, fees,
        service charges, and costs submitted by the clerks of court pursuant to
        subsection (2) and the cumulative excess of all fines, fees, service charges,
        and costs remitted by the clerks of court pursuant to paragraph (a). The
        Department of Revenue shall transfer from the Clerks of Court Trust Fund
        to the General Revenue Fund the cumulative excess of all fines, fees, service
        charges, and costs submitted by the clerks of court pursuant to subsection
        (2). However, if the official estimate for funds accruing to the clerks of court
        made by the Revenue Estimating Conference for the current fiscal year or
        the next fiscal year is less than the cumulative amount of authorized budgets
        for the clerks of court for the current fiscal year, the Department of Revenue
        shall retain in the Clerks of the Court Trust Fund the estimated amount
        needed to fully fund the clerks of court for the current and next fiscal year
        based upon the current budget established under s. 28.35.

          Section 5. Effective upon this act becoming a law and retroactive to July
        1, 2008, paragraphs (b) and (d) of subsection (1) of section 27.52, Florida
        Statutes, are amended to read:

          27.52   Determination of indigent status.—

          (1) APPLICATION TO THE CLERK.—A person seeking appointment of
        a public defender under s. 27.51 based upon an inability to pay must apply to
        the clerk of the court for a determination of indigent status using an
        application form developed by the Florida Clerks of Court Operations
        Corporation with final approval by the Supreme Court.

          (b) An applicant shall pay a $50 application fee to the clerk for each
        application for court-appointed counsel filed. The applicant shall pay the fee
        within 7 days after submitting the application. If the applicant does not pay
        the fee prior to the disposition of the case, the clerk shall notify the court, and
        the court shall:
                                                5
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        1. Assess the application fee as part of the sentence or as a condition of
      probation; or

        2.    Assess the application fee pursuant to s. 938.29.

        (d) All application fees collected by the clerk under this section shall be
      transferred monthly by the clerk to the Department of Revenue for deposit in
      the Indigent Criminal Defense Trust Fund administered by the Justice
      Administrative Commission, to be used to as appropriated by the Legis-
      lature. The clerk may retain 2 percent of application fees collected monthly
      for administrative costs from which the clerk shall remit $0.20 from each
      application fee to the Department of Revenue for deposit into the General
      Revenue Fund prior to remitting the remainder to the Department of
      Revenue for deposit in the Indigent Criminal Defense Trust Fund.

         Section 6. Effective upon this act becoming a law and retroactive to July
      1, 2008, subsections (1), (2), (3), (4), (6), and (8), paragraph (b) of subsection
      (10), subsections (13), (14), (16), (17), (18), (19), (20), and (25), and paragraph
      (a) of subsection (26) of section 28.24, Florida Statutes, are amended to read:

         28.24 Service charges.—The clerk of the circuit court shall charge for
      services rendered manually or electronically by the clerk’s office in recording
      documents and instruments and in performing other specified duties. These
      charges may not exceed those specified in this section, except as provided in
      s. 28.345.

                                                                               Charges

        (1) For examining, comparing, correcting, verifying, and certifying
      transcripts of record in appellate proceedings, prepared by attorney for
      appellant or someone else other than clerk, per page 5.00, from which the
      clerk shall remit 0.50 per page to the Department of Revenue for deposit into
      the General Revenue Fund.

        (2) For preparing, numbering, and indexing an original record of
      appellate proceedings, per instrument 3.50, from which the clerk shall
      remit 0.50 per instrument to the Department of Revenue for deposit into the
      General Revenue Fund.

        (3) For certifying copies of any instrument in the public records 2.00,
      from which the clerk shall remit 0.50 to the Department of Revenue for
      deposit into the General Revenue Fund.

        (4) For verifying any instrument presented for certification prepared by
      someone other than clerk, per page 3.50, from which the clerk shall remit
      0.50 per page to the Department of Revenue for deposit into the General
      Revenue Fund.

        (6)    For making microfilm copies of any public records:
                                              6
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          (a) 16 mm 100′ microfilm roll 42.00, from which the clerk shall remit
        4.50 to the Department of Revenue for deposit into the General Revenue
        Fund.

          (b) 35 mm 100′ microfilm roll 60.00, from which the clerk shall remit
        7.50 to the Department of Revenue for deposit into the General Revenue
        Fund.

          (c) Microfiche, per fiche 3.50, from which the clerk shall remit 0.50 to
        the Department of Revenue for deposit into the General Revenue Fund.

          (8) For writing any paper other than herein specifically mentioned, same
        as for copying, including signing and sealing 7.00, from which the clerk
        shall remit 1.00 to the Department of Revenue for deposit into the General
        Revenue Fund.

          (10) For receiving money into the registry of court:

          (b) Eminent domain actions, per deposit 170.00, from which the clerk
        shall remit 20.00 per deposit to the Department of Revenue for deposit into
        the General Revenue Fund.

          (13) Oath, administering, attesting, and sealing, not otherwise provided
        for herein 3.50, from which the clerk shall remit 0.50 to the Department of
        Revenue for deposit into the General Revenue Fund.

          (14) For validating certificates, any authorized bonds, each 3.50, from
        which the clerk shall remit 0.50 each to the Department of Revenue for
        deposit into the General Revenue Fund.

          (16) For exemplified certificates, including signing and sealing 7.00,
        from which the clerk shall remit 1.00 to the Department of Revenue for
        deposit into the General Revenue Fund.

          (17) For authenticated certificates, including signing and sealing 7.00,
        from which the clerk shall remit 1.00 to the Department of Revenue for
        deposit into the General Revenue Fund.

          (18)(a) For issuing and filing a subpoena for a witness, not otherwise
        provided for herein (includes writing, preparing, signing, and sealing)
        7.00, from which the clerk shall remit 1.00 to the Department of Revenue for
        deposit into the General Revenue Fund.

          (b) For signing and sealing only 2.00, from which the clerk shall remit
        0.50 to the Department of Revenue for deposit into the General Revenue
        Fund.

          (19) For approving bond 8.50, from which the clerk shall remit 1.00 to
        the Department of Revenue for deposit into the General Revenue Fund.
                                             7
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        (20) For searching of records, for each year’s search 2.00, from which
      the clerk shall remit 0.50 for each year’s search to the Department of
      Revenue for deposit into the General Revenue Fund.

        (25) For sealing any court file or expungement of any record 42.00,
      from which the clerk shall remit 4.50 to the Department of Revenue for
      deposit into the General Revenue Fund.

        (26)(a) For receiving and disbursing all restitution payments, per
      payment 3.50, from which the clerk shall remit 0.50 per payment to the
      Department of Revenue for deposit into the General Revenue Fund.

        Section 7. Effective upon this act becoming a law and retroactive to July
      1, 2008, subsection (1) of section 28.2401, Florida Statutes, is amended to
      read:

         28.2401        Service charges and filing fees in probate matters.—

         (1) Except when otherwise provided, the clerk may impose service
      charges or filing fees for the following services or filings, not to exceed the
      following amounts:

        (a) Fee for the opening of any estate of one document or more, including,
      but not limited to, petitions and orders to approve settlement of minor’s
      claims; to open a safe-deposit box; to enter rooms and places; for the
      determination of heirs, if not formal administration; and for a foreign
      guardian to manage property of a nonresident; but not to include issuance of
      letters or order of summary administration............................................ $230

         (b)     Charge for caveat............................................................................. $40

        (c) Fee for petition and order to admit foreign wills, authenticated copies,
      exemplified copies, or transcript to record...............................................$230

        (d) Fee for disposition of personal property without
      administration............................................................................................$230

       (e) Fee for summary administration—estates valued at $1,000 or
      more............................................................................................................ $340

        (f) Fee for summary administration—estates valued at less than
      $1,000..........................................................................................................$230

        (g) Fee for formal administration, guardianship, ancillary, curatorship,
      or conservatorship proceedings.................................................................$395

         (h)     Fee for guardianship proceedings of person only........................ $230

         (i)    Fee for veterans’ guardianship pursuant to chapter 744.............$230

         (j) Charge for exemplified certificates.................................................... $7
                                                               8
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          (k)   Fee for petition for determination of incompetency.................... $230

        The clerk shall remit $115 of each filing fee collected under paragraphs (a),
        (c)-(i), and (k) to the Department of Revenue for deposit into the State Courts
        Revenue Trust Fund and shall remit $15 of each filing fee collected under
        paragraphs (a), (c), (d), (f), (h), (i) and (k), $1 of each filing fee collected under
        paragraph (j), $5 of each filing fee collected under paragraph (b), $25 of each
        filing fee collected under paragraph (e), and $30 of each filing fee collected
        under paragraph (g) to the Department of Revenue for deposit into the
        General Revenue Fund.

          Section 8. Effective upon this act becoming a law and retroactive to July
        1, 2008, subsections (1) and (2) of section 28.241, Florida Statutes, are
        amended to read:

          28.241    Filing fees for trial and appellate proceedings.—

          (1) Filing fees are due at the time a party files a pleading to initiate a
        proceeding or files a pleading for relief. Reopen fees are due at the time a
        party files a pleading to reopen a proceeding if at least 90 days have elapsed
        since the filing of a final order or final judgment with the clerk. If a fee is not
        paid upon the filing of the pleading as required under this section, the clerk
        shall pursue collection of the fee pursuant to s. 28.246.

          (a)1.a. Except as provided in sub-subparagraph b. and subparagraph 2.,
        the party instituting any civil action, suit, or proceeding in the circuit court
        shall pay to the clerk of that court a filing fee of up to $395 in all cases in
        which there are not more than five defendants and an additional filing fee of
        up to $2.50, from which the clerk shall remit $0.50 to the Department of
        Revenue for deposit into the General Revenue Fund, for each defendant in
        excess of five. Of the first $200 in filing fees, $195 must be remitted to the
        Department of Revenue for deposit into the State Courts Revenue Trust
        Fund, $4 must be remitted to the Department of Revenue for deposit into the
        Administrative Trust Fund within the Department of Financial Services
        and used to fund the contract with the Florida Clerks of Court Operations
        Corporation created in s. 28.35, and $1 must be remitted to the Department
        of Revenue for deposit into the Administrative Trust Fund within the
        Department of Financial Services to fund audits of individual clerks’ court-
        related expenditures conducted by the Department of Financial Services. By
        the 10th of each month, the clerk shall submit that portion of the filing fees
        collected in the previous month which is in excess of one-twelfth of the clerk’s
        total budget to the Department of Revenue for deposit into the Clerks of the
        Court Trust Fund.

          b. The party instituting any civil action, suit, or proceeding in the circuit
        court under chapter 39, chapter 61, chapter 741, chapter 742, chapter 747,
        chapter 752, or chapter 753 shall pay to the clerk of that court a filing fee of
        up to $295 in all cases in which there are not more than five defendants and
        an additional filing fee of up to $2.50 for each defendant in excess of five. Of
        the first $100 in filing fees, $95 must be remitted to the Department of
                                                  9
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

      Revenue for deposit into the State Courts Revenue Trust Fund, $4 must be
      remitted to the Department of Revenue for deposit into the Administrative
      Trust Fund within the Department of Financial Services and used to fund
      the contract with the Florida Clerks of Court Operations Corporation
      created in s. 28.35, and $1 must be remitted to the Department of Revenue
      for deposit into the Administrative Trust Fund within the Department of
      Financial Services to fund audits of individual clerks’ court-related
      expenditures conducted by the Department of Financial Services.

         c. An additional filing fee of $4 shall be paid to the clerk. The clerk shall
      remit $3.50 to the Department of Revenue for deposit into the Court
      Education Trust Fund and shall remit 50 cents to the Department of
      Revenue for deposit into the Administrative Trust Fund within the
      Department of Financial Services to fund clerk education provided by the
      Florida Clerks of Court Operations Corporation. An additional filing fee of
      up to $18 shall be paid by the party seeking each severance that is granted,
      from which the clerk shall remit $3 to the Department of Revenue for deposit
      into the General Revenue Fund. The clerk may impose an additional filing
      fee of up to $85, from which the clerk shall remit $10 to the Department of
      Revenue for deposit into the General Revenue Fund, for all proceedings of
      garnishment, attachment, replevin, and distress. Postal charges incurred by
      the clerk of the circuit court in making service by certified or registered mail
      on defendants or other parties shall be paid by the party at whose instance
      service is made. Additional fees, charges, or costs may not be added to the
      filing fees imposed under this section, except as authorized in this section or
      by general law.

        2.a. Notwithstanding the fees prescribed in subparagraph 1., a party
      instituting a civil action in circuit court relating to real property or mortgage
      foreclosure shall pay a graduated filing fee based on the value of the claim.

        b. A party shall estimate in writing the amount in controversy of the
      claim upon filing the action. For purposes of this subparagraph, the value of
      a mortgage foreclosure action is based upon the principal due on the note
      secured by the mortgage, plus interest owed on the note and any moneys
      advanced by the lender for property taxes, insurance, and other advances
      secured by the mortgage, at the time of filing the foreclosure. The value shall
      also include the value of any tax certificates related to the property. In
      stating the value of a mortgage foreclosure claim, a party shall declare in
      writing the total value of the claim, as well as the individual elements of the
      value as prescribed in this sub-subparagraph.

        c. In its order providing for the final disposition of the matter, the court
      shall identify the actual value of the claim. The clerk shall adjust the filing
      fee if there is a difference between the estimated amount in controversy and
      the actual value of the claim and collect any additional filing fee owed or
      provide a refund of excess filing fee paid.

        d.    The party shall pay a filing fee of:
                                              10
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          (I) Three hundred and ninety-five dollars in all cases in which the value
        of the claim is $50,000 or less and in which there are not more than five
        defendants. The party shall pay an additional filing fee of up to $2.50 for
        each defendant in excess of five. Of the first $200 in filing fees, $195 must be
        remitted by the clerk to the Department of Revenue for deposit into the
        General Revenue Fund, $4 must be remitted to the Department of Revenue
        for deposit into the Administrative Trust Fund within the Department of
        Financial Services and used to fund the contract with the Florida Clerks of
        Court Operations Corporation created in s. 28.35, and $1 must be remitted to
        the Department of Revenue for deposit into the Administrative Trust Fund
        within the Department of Financial Services to fund audits of individual
        clerks’ court-related expenditures conducted by the Department of Financial
        Services;
          (II) Nine hundred dollars in all cases in which the value of the claim is
        more than $50,000 but less than $250,000 and in which there are not more
        than five defendants. The party shall pay an additional filing fee of up to
        $2.50 for each defendant in excess of five. Of the first $705 in filing fees, $700
        must be remitted by the clerk to the Department of Revenue for deposit into
        the General Revenue Fund, except that the first $1.5 million in such filing
        fees remitted to the Department of Revenue and deposited into the General
        Revenue Fund in fiscal year 2018-2019 shall be distributed to the Miami-
        Dade County Clerk of Court; $4 must be remitted to the Department of
        Revenue for deposit into the Administrative Trust Fund within the
        Department of Financial Services and used to fund the contract with the
        Florida Clerks of Court Operations Corporation created in s. 28.35; and $1
        must be remitted to the Department of Revenue for deposit into the
        Administrative Trust Fund within the Department of Financial Services
        to fund audits of individual clerks’ court-related expenditures conducted by
        the Department of Financial Services; or

          (III) One thousand nine hundred dollars in all cases in which the value of
        the claim is $250,000 or more and in which there are not more than five
        defendants. The party shall pay an additional filing fee of up to $2.50 for
        each defendant in excess of five. Of the first $1,705 in filing fees, $930 must
        be remitted by the clerk to the Department of Revenue for deposit into the
        General Revenue Fund, $770 must be remitted to the Department of
        Revenue for deposit into the State Courts Revenue Trust Fund, $4 must be
        remitted to the Department of Revenue for deposit into the Administrative
        Trust Fund within the Department of Financial Services to fund the contract
        with the Florida Clerks of Court Operations Corporation created in s. 28.35,
        and $1 must be remitted to the Department of Revenue for deposit into the
        Administrative Trust Fund within the Department of Financial Services to
        fund audits of individual clerks’ court-related expenditures conducted by the
        Department of Financial Services.
          e. An additional filing fee of $4 shall be paid to the clerk. The clerk shall
        remit $3.50 to the Department of Revenue for deposit into the Court
        Education Trust Fund and shall remit 50 cents to the Department of
        Revenue for deposit into the Administrative Trust Fund within the
                                               11
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

      Department of Financial Services to fund clerk education provided by the
      Florida Clerks of Court Operations Corporation. An additional filing fee of
      up to $18 shall be paid by the party seeking each severance that is granted.
      The clerk may impose an additional filing fee of up to $85 for all proceedings
      of garnishment, attachment, replevin, and distress. Postal charges incurred
      by the clerk of the circuit court in making service by certified or registered
      mail on defendants or other parties shall be paid by the party at whose
      instance service is made. Additional fees, charges, or costs may not be added
      to the filing fees imposed under this section, except as authorized in this
      section or by general law.

         (b) A party reopening any civil action, suit, or proceeding in the circuit
      court shall pay to the clerk of court a filing fee set by the clerk in an amount
      not to exceed $50. For purposes of this section, a case is reopened after all
      appeals have been exhausted or time to file an appeal from a final order or
      final judgment has expired. A reopen fee may be assessed by the clerk for any
      motion filed by any party at least 90 days after a final order or final judgment
      has been filed with the clerk in the initial case. A reservation of jurisdiction
      by a court does not cause a case to remain open for purposes of this section or
      exempt a party from paying a reopen fee. A party is exempt from paying the
      fee for any of the following:

        1.    A writ of garnishment;

        2.    A writ of replevin;

        3.    A distress writ;

        4.    A writ of attachment;

        5.    A motion for rehearing filed within 10 days;

        6. A motion for attorney’s fees filed within 30 days after entry of a
      judgment or final order;

         7. A motion for dismissal filed after a mediation agreement has been
      filed;

        8.    A disposition of personal property without administration;

        9.    Any probate case prior to the discharge of a personal representative;

        10.    Any guardianship pleading prior to discharge;

        11.    Any mental health pleading;

        12.    Motions to withdraw by attorneys;

        13.    Motions exclusively for the enforcement of child support orders;

        14.    A petition for credit of child support;
                                              12
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          15. A Notice of Intent to Relocate and any order issuing as a result of an
        uncontested relocation;

          16.   Stipulations and motions to enforce stipulations;

          17.   Responsive pleadings;

          18.   Cases in which there is no initial filing fee; or

          19.   Motions for contempt.

          (c)1. A party in addition to a party described in sub-subparagraph (a)1.a.
        who files a pleading in an original civil action in circuit court for affirmative
        relief by cross-claim, counterclaim, counterpetition, or third-party complaint
        shall pay the clerk of court a fee of $395. A party in addition to a party
        described in sub-subparagraph (a)1.b. who files a pleading in an original civil
        action in circuit court for affirmative relief by cross-claim, counterclaim,
        counterpetition, or third-party complaint shall pay the clerk of court a fee of
        $295. The clerk shall deposit the fee into the fine and forfeiture fund
        established pursuant to s. 142.01.

           2. A party in addition to a party described in subparagraph (a)2. who
        files a pleading in an original civil action in circuit court for affirmative relief
        by cross-claim, counterclaim, counterpetition, or third-party complaint shall
        pay the clerk of court a graduated fee of:

           a. Three hundred and ninety-five dollars in all cases in which the value
        of the pleading is $50,000 or less;

         b. Nine hundred dollars in all cases in which the value of the pleading is
        more than $50,000 but less than $250,000; or

          c. One thousand nine hundred dollars in all cases in which the value of
        the pleading is $250,000 or more.

        The clerk shall deposit the fees collected under this subparagraph into the
        fine and forfeiture fund established pursuant to s. 142.01.

          (d) The clerk of court shall collect a service charge of $10 for issuing an
        original, a certified copy, or an electronic certified copy of a summons, which
        the clerk shall remit to the Department of Revenue for deposit into the
        General Revenue Fund. The clerk shall assess the fee against the party
        seeking to have the summons issued.

          (2) Upon the institution of any appellate proceeding from any lower court
        to the circuit court of any such county, including appeals filed by a county or
        municipality as provided in s. 34.041(5), or from the county or circuit court to
        an appellate court of the state, the clerk shall charge and collect from the
        party or parties instituting such appellate proceedings a filing fee not to
        exceed $280, from which the clerk shall remit $20 to the Department of
        Revenue for deposit into the General Revenue Fund, for filing a notice of
                                                13
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

      appeal from the county court to the circuit court and, in addition to the filing
      fee required under s. 25.241 or s. 35.22, $100 for filing a notice of appeal from
      the county or circuit court to the district court of appeal or to the Supreme
      Court. If the party is determined to be indigent, the clerk shall defer
      payment of the fee otherwise required by this subsection.

        Section 9. Effective January 1, 2020, subsection (1) of section 34.01,
      Florida Statutes, is amended to read:

        34.01     Jurisdiction of county court.—

        (1)    County courts shall have original jurisdiction:

        (a)    In all misdemeanor cases not cognizable by the circuit courts.;

        (b)    Of all violations of municipal and county ordinances.;

        (c) Of all actions at law, except those within the exclusive jurisdiction of
      the circuit courts, in which the matter in controversy does not exceed the
      sum of $15,000, exclusive of interest, costs, and attorney attorney’s fees:,
      except those within the exclusive jurisdiction of the circuit courts; and

        1.    If filed on or before December 31, 2019, the sum of $15,000.

        2.    If filed on or after January 1, 2020, the sum of $30,000.

        3.    If filed on or after January 1, 2023, the sum of $50,000.

         (d) Of disputes occurring in the homeowners’ associations as described in
      s. 720.311(2)(a), which shall be concurrent with jurisdiction of the circuit
      courts.

      By February 1, 2021, the Office of the State Courts Administrator shall
      submit a report to the Governor, the President of the Senate, and the
      Speaker of the House of Representatives. The report must make recom-
      mendations regarding the adjustment of county court jurisdiction, including,
      but not limited to, consideration of the claim value of filings in county court
      and circuit court, case events, timeliness in processing cases, and any fiscal
      impact to the state as a result of adjusted jurisdictional limits. The clerks of
      the circuit court and county court shall provide claim value data and
      necessary case event data to the office to be used in development of the
      report. The report must also include a review of fees to ensure that the court
      system is adequately funded and a review of the appellate jurisdiction of the
      district courts and the circuit courts, including the use of appellate panels by
      circuit courts.

        Section 10. Effective upon this act becoming a law and retroactive to July
      1, 2008, paragraphs (a), (b), (c), and (d) of subsection (1) of section 34.041,
      Florida Statutes, are amended, and paragraph (e) is added to that
      subsection, to read:
                                              14
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

           34.041       Filing fees.—

           (1)(a) Filing fees are due at the time a party files a pleading to initiate a
        proceeding or files a pleading for relief. Reopen fees are due at the time a
        party files a pleading to reopen a proceeding if at least 90 days have elapsed
        since the filing of a final order or final judgment with the clerk. If a fee is not
        paid upon the filing of the pleading as required under this section, the clerk
        shall pursue collection of the fee pursuant to s. 28.246. Upon the institution
        of any civil action, suit, or proceeding in county court, the party shall pay the
        following filing fee, not to exceed:

           1.     For all claims less than $100...........................................................$50.

           2.     For all claims of $100 or more but not more than $500................$75.

          3. For all claims of more than $500 but not more than $2,500..........$170,
        from which the clerk shall remit $20 to the Department of Revenue for
        deposit into the General Revenue Fund.

          4. For all claims of more than $2,500 but not more than
        $15,000.......................................................................................................$295.

           5.     For all claims more than $15,000..................................................$395.

          6.5. In addition, for all proceedings of garnishment, attachment,
        replevin, and distress.............. $85, from which the clerk shall remit $10 to
        the Department of Revenue for deposit into the General Revenue Fund.

          7.6. Notwithstanding subparagraphs 3. and 6. 5., for all claims of not
        more than $1,000 filed simultaneously with an action for replevin of
        property that is the subject of the claim.................................................$125.

           8.7.     For removal of tenant action...................................................... $180.

        The filing fee in subparagraph 7. 6. is the total fee due under this paragraph
        for that type of filing, and no other filing fee under this paragraph may be
        assessed against such a filing.

          (b) The first $15 of the filing fee collected under subparagraph (a)4. and
        the first $10 of the filing fee collected under subparagraph (a)8. subpara-
        graph (a)7. shall be deposited in the State Courts Revenue Trust Fund. By
        the 10th day of each month, the clerk shall submit that portion of the fees
        collected in the previous month which is in excess of one-twelfth of the clerk’s
        total budget for the performance of court-related functions to the Depart-
        ment of Revenue for deposit into the Clerks of the Court Trust Fund. An
        additional filing fee of $4 shall be paid to the clerk. The clerk shall transfer
        $3.50 to the Department of Revenue for deposit into the Court Education
        Trust Fund and shall transfer 50 cents to the Department of Revenue for
        deposit into the Administrative Trust Fund within the Department of
        Financial Services to fund clerk education provided by the Florida Clerks of
        Court Operations Corporation. Postal charges incurred by the clerk of the
                                                               15
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

      county court in making service by mail on defendants or other parties shall
      be paid by the party at whose instance service is made. Except as provided in
      this section, filing fees and service charges for performing duties of the clerk
      relating to the county court shall be as provided in ss. 28.24 and 28.241.
      Except as otherwise provided in this section, all filing fees shall be retained
      as fee income of the office of the clerk of the circuit court. Filing fees imposed
      by this section may not be added to any penalty imposed by chapter 316 or
      chapter 318.

         (c) A party in addition to a party described in paragraph (a) who files a
      pleading in an original civil action in the county court for affirmative relief
      by cross-claim, counterclaim, counterpetition, or third-party complaint, or
      who files a notice of cross-appeal or notice of joinder or motion to intervene as
      an appellant, cross-appellant, or petitioner, shall pay the clerk of court a fee
      of $295 if the relief sought by the party under this paragraph exceeds $2,500
      but is not more than $15,000 and $395 if the relief sought by the party under
      this paragraph exceeds $15,000. The clerk shall remit the fee if the relief
      sought by the party under this paragraph exceeds $2,500 but is not more
      than $15,000 to the Department of Revenue for deposit into the General
      Revenue Fund. This fee does not apply if the cross-claim, counterclaim,
      counterpetition, or third-party complaint requires transfer of the case from
      county to circuit court. However, the party shall pay to the clerk the
      standard filing fee for the court to which the case is to be transferred.

        (d) The clerk of court shall collect a service charge of $10 for issuing a
      summons or an electronic certified copy of a summons, which the clerk shall
      remit to the Department of Revenue for deposit into the General Revenue
      Fund. The clerk shall assess the fee against the party seeking to have the
      summons issued.

         (e) Of the first $200 in filing fees payable under subparagraph (a)5., $195
      must be remitted to the Department of Revenue for deposit into the State
      Courts Revenue Trust Fund, $4 must be remitted to the Department of
      Revenue for deposit into the Administrative Trust Fund within the
      Department of Financial Services and used to fund the contract with the
      Florida Clerks of Court Operations Corporation created in s. 28.35, and $1
      must be remitted to the Department of Revenue for deposit into the
      Administrative Trust Fund within the Department of Financial Services
      to fund audits of individual clerks’ court-related expenditures conducted by
      the Department of Financial Services. By the 10th day of each month, the
      clerk shall submit that portion of the filing fees collected pursuant to this
      subsection in the previous month which is in excess of one-twelfth of the
      clerk’s total budget to the Department of Revenue for deposit into the Clerks
      of the Court Trust Fund.

        Section 11. Effective January 1, 2020, subsection (2) of section 44.108,
      Florida Statutes, is amended to read:

        44.108   Funding of mediation and arbitration.—
                                             16
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          (2) When court-ordered mediation services are provided by a circuit
        court’s mediation program, the following fees, unless otherwise established
        in the General Appropriations Act, shall be collected by the clerk of court:

          (a) One-hundred twenty dollars per person per scheduled session in
        family mediation when the parties’ combined income is greater than
        $50,000, but less than $100,000 per year;

         (b) Sixty dollars per person per scheduled session in family mediation
        when the parties’ combined income is less than $50,000; or

          (c) Sixty dollars per person per scheduled session in county court cases
        involving an amount in controversy not exceeding $15,000.

        No mediation fees shall be assessed under this subsection in residential
        eviction cases, against a party found to be indigent, or for any small claims
        action. Fees collected by the clerk of court pursuant to this section shall be
        remitted to the Department of Revenue for deposit into the State Courts
        Revenue Trust Fund to fund court-ordered mediation. The clerk of court may
        deduct $1 per fee assessment for processing this fee. The clerk of the court
        shall submit to the chief judge of the circuit and to the Office of the State
        Courts Administrator, no later than 30 days after the end of each quarter of
        the fiscal year, a report specifying the amount of funds collected and
        remitted to the State Courts Revenue Trust Fund under this section and any
        other section during the previous quarter of the fiscal year. In addition to
        identifying the total aggregate collections and remissions from all statutory
        sources, the report must identify collections and remissions by each
        statutory source.

           Section 12. Effective upon this act becoming a law and retroactive to July
        1, 2008, subsection (1) and paragraph (c) of subsection (2) of section 45.035,
        Florida Statutes, are amended to read:

          45.035 Clerk’s fees.—In addition to other fees or service charges
        authorized by law, the clerk shall receive service charges related to the
        judicial sales procedure set forth in ss. 45.031-45.034 and this section:

           (1) The clerk shall receive a service charge of $70, from which the clerk
        shall remit $10 to the Department of Revenue for deposit into the General
        Revenue Fund, for services in making, recording, and certifying the sale and
        title, which service charge shall be assessed as costs and shall be advanced
        by the plaintiff before the sale.

           (2) If there is a surplus resulting from the sale, the clerk may receive the
        following service charges, which shall be deducted from the surplus:

           (c) The clerk is entitled to a service charge of $15 for each disbursement
        of surplus proceeds, from which the clerk shall remit $5 to the Department of
        Revenue for deposit into the General Revenue Fund.
                                              17
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        Section 13. Effective upon this act becoming a law and retroactive to July
      1, 2008, subsection (3) of section 55.505, Florida Statutes, is amended to
      read:

        55.505     Notice of recording; prerequisite to enforcement.—

         (3) No execution or other process for enforcement of a foreign judgment
      recorded hereunder shall issue until 30 days after the mailing of notice by
      the clerk and payment of a service charge of up to $42 to the clerk, from
      which the clerk shall remit $4.50 to the Department of Revenue for deposit
      into the General Revenue Fund. When an action authorized in s. 55.509(1) is
      filed, it acts as an automatic stay of the effect of this section.

        Section 14. Effective upon this act becoming a law and retroactive to July
      1, 2008, paragraphs (b), (d), (e), and (f) of subsection (6) of section 61.14,
      Florida Statutes, are amended to read:

       61.14 Enforcement and modification of support, maintenance, or ali-
      mony agreements or orders.—

        (6)

        (b)1. When an obligor is 15 days delinquent in making a payment or
      installment of support and the amount of the delinquency is greater than the
      periodic payment amount ordered by the court, the local depository shall
      serve notice on the obligor informing him or her of:

        a.    The delinquency and its amount.

        b. An impending judgment by operation of law against him or her in the
      amount of the delinquency and all other amounts which thereafter become
      due and are unpaid, together with costs and a service charge of up to $25,
      from which the clerk shall remit $17.50 to the Department of Revenue for
      deposit into the General Revenue Fund, for failure to pay the amount of the
      delinquency.

        c. The obligor’s right to contest the impending judgment and the ground
      upon which such contest can be made.

        d. The local depository’s authority to release information regarding the
      delinquency to one or more credit reporting agencies.

        2. The local depository shall serve the notice by mailing it by first class
      mail to the obligor at his or her last address of record with the local
      depository. If the obligor has no address of record with the local depository,
      service shall be by publication as provided in chapter 49.

        3. When service of the notice is made by mail, service is complete on the
      date of mailing.
                                              18
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          (d) The court shall hear the obligor’s motion to contest the impending
        judgment within 15 days after the date of filing of the motion. Upon the
        court’s denial of the obligor’s motion, the amount of the delinquency and all
        other amounts that become due, together with costs and a service charge of
        up to $25, from which the clerk shall remit $17.50 to the Department of
        Revenue for deposit into the General Revenue Fund, become a final
        judgment by operation of law against the obligor. The depository shall
        charge interest at the rate established in s. 55.03 on all judgments for
        support. Payments on judgments shall be applied first to the current child
        support due, then to any delinquent principal, and then to interest on the
        support judgment.

          (e) If the obligor fails to file a motion to contest the impending judgment
        within the time limit prescribed in paragraph (c) and fails to pay the amount
        of the delinquency and all other amounts which thereafter become due,
        together with costs and a service charge of up to $25, from which the clerk
        shall remit $17.50 to the Department of Revenue for deposit into the General
        Revenue Fund, such amounts become a final judgment by operation of law
        against the obligor at the expiration of the time for filing a motion to contest
        the impending judgment.

           (f)1. Upon request of any person, the local depository shall issue, upon
        payment of a service charge of up to $25, from which the clerk shall remit
        $17.50 to the Department of Revenue for deposit into the General Revenue
        Fund, a payoff statement of the total amount due under the judgment at the
        time of the request. The statement may be relied upon by the person for up to
        30 days from the time it is issued unless proof of satisfaction of the judgment
        is provided.

          2. When the depository records show that the obligor’s account is
        current, the depository shall record a satisfaction of the judgment upon
        request of any interested person and upon receipt of the appropriate
        recording fee. Any person shall be entitled to rely upon the recording of
        the satisfaction.

          3. The local depository, at the direction of the department, or the obligee
        in a non-IV-D case, may partially release the judgment as to specific real
        property, and the depository shall record a partial release upon receipt of the
        appropriate recording fee.

          4. The local depository is not liable for errors in its recordkeeping, except
        when an error is a result of unlawful activity or gross negligence by the clerk
        or his or her employees.

          Section 15. Effective upon this act becoming a law and retroactive to July
        1, 2008, subsections (2) and (4) of section 316.193, Florida Statutes, are
        amended to read:

          316.193   Driving under the influence; penalties.—
                                              19
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        (2)(a) Except as provided in paragraph (b), subsection (3), or subsection
      (4), any person who is convicted of a violation of subsection (1) shall be
      punished:

        1.    By a fine of:

        a.    Not less than $500 or more than $1,000 for a first conviction.

        b.    Not less than $1,000 or more than $2,000 for a second conviction; and

        2.    By imprisonment for:

        a.    Not more than 6 months for a first conviction.

        b.    Not more than 9 months for a second conviction.

        3. For a second conviction, by mandatory placement for a period of at
      least 1 year, at the convicted person’s sole expense, of an ignition interlock
      device approved by the department in accordance with s. 316.1938 upon all
      vehicles that are individually or jointly leased or owned and routinely
      operated by the convicted person, when the convicted person qualifies for a
      permanent or restricted license. The installation of such device may not
      occur before July 1, 2003.

      The portion of a fine imposed in excess of $500 pursuant to sub-
      subparagraph 1.a. and the portion of a fine imposed in excess of $1,000
      pursuant to sub-subparagraph 1.b., shall be remitted by the clerk to the
      Department of Revenue for deposit into the General Revenue Fund.

        (b)1. Any person who is convicted of a third violation of this section for an
      offense that occurs within 10 years after a prior conviction for a violation of
      this section commits a felony of the third degree, punishable as provided in s.
      775.082, s. 775.083, or s. 775.084. In addition, the court shall order the
      mandatory placement for a period of not less than 2 years, at the convicted
      person’s sole expense, of an ignition interlock device approved by the
      department in accordance with s. 316.1938 upon all vehicles that are
      individually or jointly leased or owned and routinely operated by the
      convicted person, when the convicted person qualifies for a permanent or
      restricted license. The installation of such device may not occur before July
      1, 2003.

        2. Any person who is convicted of a third violation of this section for an
      offense that occurs more than 10 years after the date of a prior conviction for
      a violation of this section shall be punished by a fine of not less than $2,000
      or more than $5,000 and by imprisonment for not more than 12 months. The
      portion of a fine imposed in excess of $2,500 pursuant to this subparagraph
      shall be remitted by the clerk to the Department of Revenue for deposit into
      the General Revenue Fund. In addition, the court shall order the mandatory
      placement for a period of at least 2 years, at the convicted person’s sole
      expense, of an ignition interlock device approved by the department in
      accordance with s. 316.1938 upon all vehicles that are individually or jointly
                                              20
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

        leased or owned and routinely operated by the convicted person, when the
        convicted person qualifies for a permanent or restricted license. The
        installation of such device may not occur before July 1, 2003.

          3. Any person who is convicted of a fourth or subsequent violation of this
        section, regardless of when any prior conviction for a violation of this section
        occurred, commits a felony of the third degree, punishable as provided in s.
        775.082, s. 775.083, or s. 775.084. However, the fine imposed for such fourth
        or subsequent violation may be not less than $2,000. The portion of a fine
        imposed in excess of $1,000 pursuant to this subparagraph shall be remitted
        by the clerk to the Department of Revenue for deposit into the General
        Revenue Fund.

          (c) In addition to the penalties in paragraph (a), the court may order
        placement, at the convicted person’s sole expense, of an ignition interlock
        device approved by the department in accordance with s. 316.1938 for at
        least 6 continuous months upon all vehicles that are individually or jointly
        leased or owned and routinely operated by the convicted person if, at the
        time of the offense, the person had a blood-alcohol level or breath-alcohol
        level of .08 or higher.

          (4) Any person who is convicted of a violation of subsection (1) and who
        has a blood-alcohol level or breath-alcohol level of 0.15 or higher, or any
        person who is convicted of a violation of subsection (1) and who at the time of
        the offense was accompanied in the vehicle by a person under the age of 18
        years, shall be punished:

          (a)    By a fine of:

          1.    Not less than $1,000 or more than $2,000 for a first conviction.

          2.    Not less than $2,000 or more than $4,000 for a second conviction.

          3.    Not less than $4,000 for a third or subsequent conviction.

          (b)    By imprisonment for:

          1.    Not more than 9 months for a first conviction.

          2.    Not more than 12 months for a second conviction.

        For the purposes of this subsection, only the instant offense is required to be
        a violation of subsection (1) by a person who has a blood-alcohol level or
        breath-alcohol level of 0.15 or higher.

        The portion of a fine imposed in excess of $1,000 pursuant to sub-
        subparagraph (a)1. and the portion of a fine imposed in excess of $2,000
        pursuant to sub-subparagraph (a)2. or (a)3, shall be remitted by the clerk to
        the Department of Revenue for deposit into the General Revenue Fund.
                                                21
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        (c) In addition to the penalties in paragraphs (a) and (b), the court shall
      order the mandatory placement, at the convicted person’s sole expense, of an
      ignition interlock device approved by the department in accordance with s.
      316.1938 upon all vehicles that are individually or jointly leased or owned
      and routinely operated by the convicted person for not less than 6 continuous
      months for the first offense and for not less than 2 continuous years for a
      second offense, when the convicted person qualifies for a permanent or
      restricted license.

         Section 16. Effective upon this act becoming a law and retroactive to July
      1, 2008, paragraph (b) of subsection (10) of section 318.14, Florida Statutes,
      is amended to read:

        318.14   Noncriminal traffic infractions; exception; procedures.—

        (10)

        (b) Any person cited for an offense listed in this subsection shall present
      proof of compliance before the scheduled court appearance date. For the
      purposes of this subsection, proof of compliance shall consist of a valid,
      renewed, or reinstated driver license or registration certificate and proper
      proof of maintenance of security as required by s. 316.646. Notwithstanding
      waiver of fine, any person establishing proof of compliance shall be assessed
      court costs of $25, except that a person charged with violation of s.
      316.646(1)-(3) may be assessed court costs of $8. One dollar of such costs
      shall be remitted to the Department of Revenue for deposit into the Child
      Welfare Training Trust Fund of the Department of Children and Families.
      One dollar of such costs shall be distributed to the Department of Juvenile
      Justice for deposit into the Juvenile Justice Training Trust Fund. Fourteen
      dollars of such costs shall be distributed to the municipality, $1 shall be
      remitted to the Department of Revenue for deposit into the General Revenue
      Fund and $ 8 9 shall be deposited by the clerk of the court into the fine and
      forfeiture fund established pursuant to s. 142.01, if the offense was
      committed within the municipality. If the offense was committed in an
      unincorporated area of a county or if the citation was for a violation of s.
      316.646(1)-(3), the entire amount shall be deposited by the clerk of the court
      into the fine and forfeiture fund established pursuant to s. 142.01, except for
      the moneys to be deposited into the Child Welfare Training Trust Fund and
      the Juvenile Justice Training Trust Fund and $3 which the clerk shall remit
      to the Department of Revenue for deposit into the General Revenue Fund.
      This subsection does not authorize the operation of a vehicle without a valid
      driver license, without a valid vehicle tag and registration, or without the
      maintenance of required security.

         Section 17. Effective upon this act becoming a law and retroactive to July
      1, 2008, paragraph (b) of subsection (1) of section 318.15, Florida Statutes, is
      amended to read:

        318.15   Failure to comply with civil penalty or to appear; penalty.—
                                            22
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          (1)

          (b) However, a person who elects to attend driver improvement school
        and has paid the civil penalty as provided in s. 318.14(9) but who
        subsequently fails to attend the driver improvement school within the
        time specified by the court is deemed to have admitted the infraction and
        shall be adjudicated guilty. If the person received a 9-percent reduction
        pursuant to s. 318.14(9), the person must pay the clerk of the court that
        amount and a processing fee of up to $18, from which the clerk shall remit $3
        to the Department of Revenue for deposit into the General Revenue Fund,
        after which additional penalties, court costs, or surcharges may not be
        imposed for the violation. In all other such cases, the person must pay the
        clerk a processing fee of up to $18, from which the clerk shall remit $3 to the
        Department of Revenue for deposit into the General Revenue Fund, after
        which additional penalties, court costs, or surcharges may not be imposed for
        the violation. The clerk of the court shall notify the department of the
        person’s failure to attend driver improvement school and points shall be
        assessed pursuant to s. 322.27.

           Section 18. Effective upon this act becoming a law and retroactive to July
        1, 2008, paragraphs (b) and (c) of subsection (2), paragraph (a) of subsection
        (11), and subsection (18) of section 318.18, Florida Statutes, are amended to
        read:

          318.18 Amount of penalties.—The penalties required for a noncriminal
        disposition pursuant to s. 318.14 or a criminal offense listed in s. 318.17 are
        as follows:

          (2)   Thirty dollars for all nonmoving traffic violations and:

          (b) For all violations of ss. 320.0605, 320.07(1), 322.065, and 322.15(1).
        Any person who is cited for a violation of s. 320.07(1) shall be charged a
        delinquent fee pursuant to s. 320.07(4).

          1. If a person who is cited for a violation of s. 320.0605 or s. 320.07 can
        show proof of having a valid registration at the time of arrest, the clerk of the
        court may dismiss the case and may assess a dismissal fee of up to $10, from
        which the clerk shall remit $2.50 to the Department of Revenue for deposit
        into the General Revenue Fund. A person who finds it impossible or
        impractical to obtain a valid registration certificate must submit an affidavit
        detailing the reasons for the impossibility or impracticality. The reasons
        may include, but are not limited to, the fact that the vehicle was sold, stolen,
        or destroyed; that the state in which the vehicle is registered does not issue a
        certificate of registration; or that the vehicle is owned by another person.

          2. If a person who is cited for a violation of s. 322.03, s. 322.065, or s.
        322.15 can show a driver license issued to him or her and valid at the time of
        arrest, the clerk of the court may dismiss the case and may assess a
        dismissal fee of up to $10, from which the clerk shall remit $2.50 to the
        Department of Revenue for deposit into the General Revenue Fund.
                                               23
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        3. If a person who is cited for a violation of s. 316.646 can show proof of
      security as required by s. 627.733, issued to the person and valid at the time
      of arrest, the clerk of the court may dismiss the case and may assess a
      dismissal fee of up to $10, from which the clerk shall remit $2.50 to the
      Department of Revenue for deposit into the General Revenue Fund. A person
      who finds it impossible or impractical to obtain proof of security must submit
      an affidavit detailing the reasons for the impracticality. The reasons may
      include, but are not limited to, the fact that the vehicle has since been sold,
      stolen, or destroyed; that the owner or registrant of the vehicle is not
      required by s. 627.733 to maintain personal injury protection insurance; or
      that the vehicle is owned by another person.

         (c) For all violations of ss. 316.2935 and 316.610. However, for a violation
      of s. 316.2935 or s. 316.610, if the person committing the violation corrects
      the defect and obtains proof of such timely repair by an affidavit of
      compliance executed by the law enforcement agency within 30 days from
      the date upon which the traffic citation was issued, and pays $4 to the law
      enforcement agency, thereby completing the affidavit of compliance, then
      upon presentation of said affidavit by the defendant to the clerk within the
      30-day time period set forth under s. 318.14(4), the fine must be reduced to
      $10, which the clerk of the court shall retain and from which the clerk shall
      remit $2.50 to the Department of Revenue for deposit into the General
      Revenue Fund.

         (11)(a) In addition to the stated fine, court costs must be paid in the
      following amounts and shall be deposited by the clerk into the fine and
      forfeiture fund established pursuant to s. 142.01 except as provided in this
      paragraph:

       For pedestrian infractions $4, from which the clerk shall remit $1 to the
      Department of Revenue for deposit into the General Revenue Fund.

        For nonmoving traffic infractions $18, from which the clerk shall remit
      $2 to the Department of Revenue for deposit into the General Revenue Fund.

        For moving traffic infractions $35, from which the clerk shall remit $5 to
      the Department of Revenue for deposit into the General Revenue Fund.

        (18) In addition to any penalties imposed, an administrative fee of $12.50
      must be paid for all noncriminal moving and nonmoving violations under
      chapters 316, 320, and 322. The clerk shall remit the administrative fee to
      the Department of Revenue for deposit into the General Revenue Fund.
      Revenue from the administrative fee shall be deposited by the clerk of court
      into the fine and forfeiture fund established pursuant to s. 142.01.

        Section 19. Effective upon this act becoming a law and retroactive to July
      1, 2008, subsections (1) and (2) of section 322.245, Florida Statutes, are
      amended to read:
                                            24
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          322.245 Suspension of license upon failure of person charged with
        specified offense under chapter 316, chapter 320, or this chapter to comply
        with directives ordered by traffic court or upon failure to pay child support in
        non-IV-D cases as provided in chapter 61 or failure to pay any financial
        obligation in any other criminal case.—

           (1) If a person charged with a violation of any of the criminal offenses
        enumerated in s. 318.17 or with the commission of any offense constituting a
        misdemeanor under chapter 320 or this chapter fails to comply with all of the
        directives of the court within the time allotted by the court, the clerk of the
        traffic court shall mail to the person, at the address specified on the uniform
        traffic citation, a notice of such failure, notifying him or her that, if he or she
        does not comply with the directives of the court within 30 days after the date
        of the notice and pay a delinquency fee of up to $25 to the clerk, from which
        the clerk shall remit $10 to the Department of Revenue for deposit into the
        General Revenue Fund, his or her driver license will be suspended. The
        notice shall be mailed no later than 5 days after such failure. The
        delinquency fee may be retained by the office of the clerk to defray the
        operating costs of the office.

           (2) In non-IV-D cases, if a person fails to pay child support under chapter
        61 and the obligee so requests, the depository or the clerk of the court shall
        mail in accordance with s. 61.13016 the notice specified in that section,
        notifying him or her that if he or she does not comply with the requirements
        of that section and pay a delinquency fee of $25 to the depository or the clerk,
        his or her driver license and motor vehicle registration will be suspended.
        The delinquency fee may be retained by the depository or the office of the
        clerk to defray the operating costs of the office after the clerk remits $15 to
        the Department of Revenue for deposit into the General Revenue Fund.

          Section 20. Effective upon this act becoming a law and retroactive to July
        1, 2008, subsections (2) and (4) of section 327.35, Florida Statutes, are
        amended to read:

          327.35     Boating under the influence; penalties; “designated drivers.”—

          (2)(a) Except as provided in paragraph (b), subsection (3), or subsection
        (4), any person who is convicted of a violation of subsection (1) shall be
        punished:

          1.    By a fine of:

          a.    Not less than $500 or more than $1,000 for a first conviction.

          b.    Not less than $1,000 or more than $2,000 for a second conviction; and

          2.    By imprisonment for:

          a.    Not more than 6 months for a first conviction.

          b.    Not more than 9 months for a second conviction.
                                                25
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

      The portion of a fine imposed in excess of $500 pursuant to sub-
      subparagraph 1.a. and the portion of a fine imposed in excess of $1,000
      pursuant to sub-subparagraph 1.b., shall be remitted by the clerk to the
      Department of Revenue for deposit into the General Revenue Fund.

        (b)1. Any person who is convicted of a third violation of this section for an
      offense that occurs within 10 years after a prior conviction for a violation of
      this section commits a felony of the third degree, punishable as provided in s.
      775.082, s. 775.083, or s. 775.084.

        2. Any person who is convicted of a third violation of this section for an
      offense that occurs more than 10 years after the date of a prior conviction for
      a violation of this section shall be punished by a fine of not less than $2,000
      or more than $5,000 and by imprisonment for not more than 12 months. The
      portion of a fine imposed in excess of $2,500 pursuant to this subparagraph
      shall be remitted by the clerk to the Department of Revenue for deposit into
      the General Revenue Fund.

        3. Any person who is convicted of a fourth or subsequent violation of this
      section, regardless of when any prior conviction for a violation of this section
      occurred, commits a felony of the third degree, punishable as provided in s.
      775.082, s. 775.083, or s. 775.084.

      However, the fine imposed for such fourth or subsequent violation may not
      be less than $2,000. The portion of such fine imposed in excess of $1,000 shall
      be remitted by the clerk to the Department of Revenue for deposit into the
      General Revenue Fund.

        (4) Any person who is convicted of a violation of subsection (1) and who
      has a blood-alcohol level or breath-alcohol level of 0.15 or higher, or any
      person who is convicted of a violation of subsection (1) and who at the time of
      the offense was accompanied in the vessel by a person under the age of 18
      years, shall be punished:

        (a)    By a fine of:

        1.    Not less than $1,000 or more than $2,000 for a first conviction.

        2.    Not less than $2,000 or more than $4,000 for a second conviction.

        3.    Not less than $4,000 for a third or subsequent conviction.

        (b)    By imprisonment for:

        1.    Not more than 9 months for a first conviction.

        2.    Not more than 12 months for a second conviction.

      The portion of a fine imposed in excess of $1,000 pursuant to subparagraph
      (a)1. and the portion of a fine imposed in excess of $2,000 pursuant to
      subparagraph (a)2. or subparagraph (a)3., shall be remitted by the clerk to
                                              26
             CODING: Words stricken are deletions; words underlined are additions.
9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

        the Department of Revenue for deposit into the General Revenue Fund. For
        the purposes of this subsection, only the instant offense is required to be a
        violation of subsection (1) by a person who has a blood-alcohol level or
        breath-alcohol level of 0.15 or higher.

           Section 21. Effective upon this act becoming a law and retroactive to July
        1, 2008, subsection (4), paragraph (a) of subsection (9), and paragraph (a) of
        subsection (11) of section 327.73, Florida Statutes, are amended to read:

          327.73   Noncriminal infractions.—

         (4) Any person charged with a noncriminal infraction under this section
        may:

          (a) Pay the civil penalty, either by mail or in person, within 30 days of the
        date of receiving the citation; or,

          (b) If he or she has posted bond, forfeit bond by not appearing at the
        designated time and location.

        If the person cited follows either of the above procedures, he or she shall be
        deemed to have admitted the noncriminal infraction and to have waived the
        right to a hearing on the issue of commission of the infraction. Such
        admission shall not be used as evidence in any other proceedings. If a person
        who is cited for a violation of s. 327.395 can show a boating safety
        identification card issued to that person and valid at the time of the
        citation, the clerk of the court may dismiss the case and may assess a
        dismissal fee of up to $10, from which the clerk shall remit $2.50 to the
        Department of Revenue for deposit into the General Revenue Fund. If a
        person who is cited for a violation of s. 328.72(13) can show proof of having a
        registration for that vessel which was valid at the time of the citation, the
        clerk may dismiss the case and may assess the dismissal fee, from which the
        clerk shall remit $2.50 to the Department of Revenue for deposit into the
        General Revenue Fund.

          (9)(a) Any person who fails to comply with the court’s requirements or
        who fails to pay the civil penalties specified in this section within the 30-day
        period provided for in s. 327.72 must pay an additional court cost of up to
        $20, which shall be used by the clerks of the courts to defray the costs of
        tracking unpaid uniform boating citations, from which the clerk shall remit
        $2 to the Department of Revenue for deposit into the General Revenue Fund.

          (11)(a) Court costs that are to be in addition to the stated civil penalty
        shall be imposed by the court in an amount not less than the following:

          1. For swimming or diving infractions, $4, from which the clerk shall
        remit $1 to the Department of Revenue for deposit into the General Revenue
        Fund.
                                              27
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        2. For nonmoving boating infractions, $18, from which the clerk shall
      remit $12 to the Department of Revenue for deposit into the General
      Revenue Fund.

        3. For boating infractions listed in s. 327.731(1), $35, from which the
      clerk shall remit $25 to the Department of Revenue for deposit into the
      General Revenue Fund.

      Court costs imposed under this subsection may not exceed $45. A criminal
      justice selection center or both local criminal justice access and assessment
      centers may be funded from these court costs.

         Section 22. Effective upon this act becoming a law and retroactive to July
      1, 2008, paragraph (i) of subsection (1) of section 379.401, Florida Statutes, is
      amended to read:

         379.401 Penalties and violations; civil penalties for noncriminal infrac-
      tions; criminal penalties; suspension and forfeiture of licenses and permits.

        (1)   LEVEL ONE VIOLATIONS.—

        (i) A person cited for violating the requirements of s. 379.354 relating to
      personal possession of a license or permit may not be convicted if, before or at
      the time of a county court hearing, the person produces the required license
      or permit for verification by the hearing officer or the court clerk. The license
      or permit must have been valid at the time the person was cited. The clerk or
      hearing officer may assess a $10 fee for costs under this paragraph, from
      which the clerk shall remit $5 to the Department of Revenue for deposit into
      the General Revenue Fund.

        Section 23. Notwithstanding subsection (13) of section 627.7152, as
      created by HB 7065, 2019 Regular Session, subsection (10) of that section is
      effective upon becoming a law.

        Section 24. Effective upon this act becoming a law and retroactive to July
      1, 2008, subsection (1) of section 713.24, Florida Statutes, is amended to
      read:

        713.24    Transfer of liens to security.—

        (1) Any lien claimed under this part may be transferred, by any person
      having an interest in the real property upon which the lien is imposed or the
      contract under which the lien is claimed, from such real property to other
      security by either:

        (a)   Depositing in the clerk’s office a sum of money, or

        (b) Filing in the clerk’s office a bond executed as surety by a surety
      insurer licensed to do business in this state,
                                             28
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

        either to be in an amount equal to the amount demanded in such claim of
        lien, plus interest thereon at the legal rate for 3 years, plus $1,000 or 25
        percent of the amount demanded in the claim of lien, whichever is greater, to
        apply on any attorney’s fees and court costs that may be taxed in any
        proceeding to enforce said lien. Such deposit or bond shall be conditioned to
        pay any judgment or decree which may be rendered for the satisfaction of the
        lien for which such claim of lien was recorded. Upon making such deposit or
        filing such bond, the clerk shall make and record a certificate showing the
        transfer of the lien from the real property to the security and shall mail a
        copy thereof by registered or certified mail to the lienor named in the claim of
        lien so transferred, at the address stated therein. Upon filing the certificate
        of transfer, the real property shall thereupon be released from the lien
        claimed, and such lien shall be transferred to said security. In the absence of
        allegations of privity between the lienor and the owner, and subject to any
        order of the court increasing the amount required for the lien transfer
        deposit or bond, no other judgment or decree to pay money may be entered by
        the court against the owner. The clerk shall be entitled to a service charge for
        making and serving the certificate, in the amount of up to $20, from which
        the clerk shall remit $5 to the Department of Revenue for deposit into the
        General Revenue Fund. If the transaction involves the transfer of multiple
        liens, an additional charge of up to $10 for each additional lien shall be
        charged, from which the clerk shall remit $2.50 to the Department of
        Revenue for deposit into the General Revenue Fund. For recording the
        certificate and approving the bond, the clerk shall receive her or his usual
        statutory service charges as prescribed in s. 28.24. Any number of liens may
        be transferred to one such security.

          Section 25. Effective upon this act becoming a law and retroactive to July
        1, 2008, subsection (3) of section 721.83, Florida Statutes, is amended to
        read:

          721.83    Consolidation of judicial foreclosure actions.—

          (3) A consolidated timeshare foreclosure action shall be considered a
        single action, suit, or proceeding for the payment of filing fees and service
        charges pursuant to general law. In addition to the payment of such filing
        fees and service charges, an additional filing fee of up to $10 from which the
        clerk shall remit $5 to the Department of Revenue for deposit into the
        General Revenue Fund for each timeshare interest joined in that action shall
        be paid to the clerk of court.

           Section 26. Effective upon this act becoming a law and retroactive to July
        1, 2008, paragraph (a) of subsection (6) of section 744.365, Florida Statutes,
        is amended to read:

          744.365    Verified inventory.—

          (6)   AUDIT FEE.—
                                              29
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

         (a) Where the value of the ward’s property exceeds $25,000, a guardian
      shall pay from the ward’s property to the clerk of the circuit court a fee of up
      to $85 from which the clerk shall remit $10 to the Department of Revenue for
      deposit into the General Revenue Fund, upon the filing of the verified
      inventory, for the auditing of the inventory. Upon petition by the guardian,
      the court may waive the auditing fee upon a showing of insufficient funds in
      the ward’s estate. Any guardian unable to pay the auditing fee may petition
      the court for waiver of the fee. The court may waive the fee after it has
      reviewed the documentation filed by the guardian in support of the waiver.

         Section 27. Effective upon this act becoming a law and retroactive to July
      1, 2008, subsection (4) of section 744.3678, Florida Statutes, is amended to
      read:

        744.3678    Annual accounting.—

         (4) The guardian shall pay from the ward’s estate to the clerk of the
      circuit court a fee based upon the following graduated fee schedule, upon the
      filing of the annual financial return, for the auditing of the return:

        (a) For estates with a value of $25,000 or less the clerk of the court may
      charge a fee of up to $20 from which the clerk shall remit $5 to the
      Department of Revenue for deposit into the General Revenue Fund.

        (b) For estates with a value of more than $25,000 up to and including
      $100,000 the clerk of the court may charge a fee of up to $85 from which the
      clerk shall remit $10 to the Department of Revenue for deposit into the
      General Revenue Fund.

        (c) For estates with a value of more than $100,000 up to and including
      $500,000 the clerk of the court may charge a fee of up to $170 from which the
      clerk shall remit $20 to the Department of Revenue for deposit into the
      General Revenue Fund.

       (d) For estates with a value in excess of $500,000 the clerk of the court
      may charge a fee of up to $250 from which the clerk shall remit $25 to the
      Department of Revenue for deposit into the General Revenue Fund.

      Upon petition by the guardian, the court may waive the auditing fee upon a
      showing of insufficient funds in the ward’s estate. Any guardian unable to
      pay the auditing fee may petition the court for a waiver of the fee. The court
      may waive the fee after it has reviewed the documentation filed by the
      guardian in support of the waiver.

        Section 28. Effective upon this act becoming a law and retroactive to July
      1, 2008, subsection (2) of section 766.104, Florida Statutes, is amended to
      read:

        766.104 Medical negligence cases; reasonable investigation required
      before filing.—
                                            30
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
          Ch. 2019-58      LAWS OF
                                156FLORIDA            Ch. 2019-58

          (2) Upon petition to the clerk of the court where the suit will be filed and
        payment to the clerk of a filing fee, not to exceed $42 from which the clerk
        shall remit $4.50 to the Department of Revenue for deposit into the General
        Revenue Fund, an automatic 90-day extension of the statute of limitations
        shall be granted to allow the reasonable investigation required by subsection
        (1). This period shall be in addition to other tolling periods. No court order is
        required for the extension to be effective. The provisions of this subsection
        shall not be deemed to revive a cause of action on which the statute of
        limitations has run.

          Section 29. Effective upon this act becoming a law and retroactive to July
        1, 2008, subsection (1) of section 938.05, Florida Statutes, is amended to
        read:

          938.05 Additional court costs for felonies, misdemeanors, and criminal
        traffic offenses.—

          (1) Any person pleading nolo contendere to a misdemeanor or criminal
        traffic offense under s. 318.14(10)(a) or pleading guilty or nolo contendere to,
        or being found guilty of, any felony, misdemeanor, or criminal traffic offense
        under the laws of this state or the violation of any municipal or county
        ordinance which adopts by reference any misdemeanor under state law,
        shall pay as a cost in the case, in addition to any other cost required to be
        imposed by law, a sum in accordance with the following schedule:

           (a) Felonies $225 from which the clerk shall remit $25 to the Department
        of Revenue for deposit into the General Revenue Fund

         (b) Misdemeanors $60 from which the clerk shall remit $10 to the
        Department of Revenue for deposit into the General Revenue Fund

          (c) Criminal traffic offenses $60 from which the clerk shall remit $10 to
        the Department of Revenue for deposit into the General Revenue Fund

          Section 30. The amendments made by this act to ss. 27.52, 28.24,
        28.2401, 28.241, 34.041, 45.035, 55.505, 61.14, 316.193, 318.14, 318.15,
        318.18, 322.245, 327.35, 327.73, 379.401, 713.24, 721.83, 744.365, 744.3678,
        766.104, and 938.05, Florida Statutes, are remedial and clarifying in nature
        and apply retroactively to July 1, 2008.

          Section 31. The amendments to the jurisdiction of a court made by this
        act shall apply with respect to the date of filing the cause of action,
        regardless of when the cause of action accrued.

          Section 32. Before the 2022 Regular Session of the Legislature, the
        Legislature shall review and consider the results of the analysis submitted
        pursuant to Specific Appropriation 2754 of the 2019-2020 General Appro-
        priations Act regarding the review of the Clerk of Court Processes for the
        purpose of considering the extension or reenactment of provisions in this act
        relating to clerk funding.
                                               31
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9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page
        Ch. 2019-58     LAWS OF156
                                 FLORIDA            Ch. 2019-58

        Section 33. Except as otherwise provided, and except for this section,
      which shall take effect upon becoming a law, this act shall take effect July 1,
      2019.

        Approved by the Governor May 24, 2019.
        Filed in Office Secretary of State May 24, 2019.




                                            32
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Filing Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 153 of
       # 98586259  E-Filed 11/08/2019 09:09:32 AM
                                                156



                 IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                         IN AND FOR PALM BEACH COUNTY, FLORIDA
                              GENERAL JURISDICTION DIVISION


        KDH ARCHITECTURE, INC. a/a/o 921
        EVERGREEN DRIVE and 730
        WHITEMORE, LLC,

              Plaintiff,                        CASE NO.: 50-2019-CA-010125-XXXX-MB
        vs.

        WESTERN WORLD
        INSURANCE COMPANY,

             Defendant.
        ________________________________/

              DEFENDANT’S NOTICE OF SERVING PROPOSAL FOR SETTLEMENT/
                          OFFER OF JUDGMENT TO PLAINTIFF,
                              KDH ARCHITECTURE, INC.

              Defendant, WESTERN WORLD INSURANCE COMPANY, by and through its

        undersigned counsel, and hereby provides notice that on November 8, 2019, it served a

        Proposal for Settlement/Offer of Judgment upon the Plaintiff, KDH ARCHITECTURE,

        INC., pursuant to Florida Statute §768.79 and Florida Rule of Civil Procedure 1.442.




                           [THIS SECTION INTENTIONALLY LEFT BLANK]




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Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 154 of
                                     156



                                      BUTLER WEIHMULLER KATZ CRAIG LLP



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                                      Attorneys for Defendant,
                                      Western World Insurance Company



                               CERTIFICATE OF SERVICE

        I certify that a copy hereof has been furnished to

               Kimesha S. Smith, Esq.
               Insurance Litigation Group, P.A.
               1500 NE 162nd Street
               Miami, FL 33162
               Serrvice@ILGPA.com
               Attorney for Plaintiff,
               Kdh Architecture, Inc. a/a/o 921
               Evergreen Drive and 730
               Whitemore, LLC

        by E-Portal on November 8, 2019.




                                       MAXWELL H. STAPE, ESQ.




                                             2
         Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 155 of
                                              156

                      IN THE CIRCUIT COURT OF THE 15th JUDICIAL CIRCUIT, IN AND FOR
                                      PALM BEACH COUNTY, FLORIDA

                                                                       GENERAL JURISDICTION DIVISION
                                                                        CASE NO.: 50-2019-CA-010125

             KDH ARCHITECTURE INC. a/a/o 921 EVERGREEN
             DRIVE AND 730 WHITEMORE, LLC
                  Plaintiff,

             v.

             WESTERN WORLD INSURANCE COMPANY,
                   Defendant.
             __________________________________________________/
                                      PLAINTIFF’S NOTICE OF FILING JURAT PAGE

                     Plaintiff, KDH Architecture Inc. A/A/O Evergreen Drive and 730 Whitemore, LLC, by

             and through undersigned counsel, and pursuant to Florida Rule of Civil Procedure 1.340, hereby

             serves Notice of Filing Jurat Page.



                                                   CERTIFICATE OF SERVICE

                     I CERTIFY that the foregoing document is being served on November 13, 2019, via an

             automatic email generated by the Florida Courts E-Filing Portal to: Troy Seibert, Esq., Butler

             Weihmuller Katz Craig LLP (tseibert@butler.legal, knelson@butler.legal, msmalls@butler.legal).


                                                           INSURANCE LITIGATION GROUP, P.A.
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                                                           By:     /s/ Faith D. Everett,
                                                                   FAITH D. EVERETT, ESQ.
                                                                   FL Bar No. 96339




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Case 9:20-cv-80170-DMM Document 1-2 Entered on FLSD Docket 02/05/2020 Page 156 of
                                     156
